               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 1 of 213




 1                                                         The Honorable Michelle L. Peterson

 2

 3

 4

 5

 6

 7                                   UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF WASHINGTON
 8
     NEXON KOREA CORPORATION,                       Case No. 2:23-cv-00576-MLP
 9   a Korean Corporation,
                                                    DECLARATION OF
10                                                  EUNG JUN JEON
                             Plaintiff,
11                                                  [Defendants’ Motion To Dismiss On
              v.                                    Grounds Of Forum Non Conveniens,
12                                                  Declarations of Ju-Hyun Cho, Terence
     IRONMACE CO., LTD., a Korean                   Seungha Park, and Aaron J. Moss in
13   Corporation; JU-HYUN CHOI, individually;       Support and [Proposed] Order Filed
     and TERENCE SEUNGHA PARK,                      Concurrently]
14   individually,
15                           Defendants.
16

17

18

19

20

21

22

23

24

25

26

                                                                   GREENBERG GLUSKER FIELDS
      DECLARATION OF EUNG JUN JEON                                 CLAMAN & MACHTINGER LLP
      No. 2:23-CV-00576-MLP                                       2049 Century Park East, Suite 2600
     43223-00002/4856150.2                                          Los Angeles, California 90067
                                                                           (310) 553-3610
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 2 of 213




 1                                  DECLARATION OF EUNG JUN JEON

 2            I, Eung Jun Jeon, hereby declare as follows:

 3                           INTRODUCTION OF PERSON MAKING THE DECLARATION

 4            1.        I am an attorney duly licensed to practice law in the Republic of Korea (“Korea”)

 5   and a partner with the law firm of LIN. The LIN firm represents Ironmace Co., Ltd.

 6   (“Ironmace”), Ju-Hyun Choi (“Choi”), and Terence Seungha Park (“Park”) in connection with

 7   litigation now pending in Korea against Nexon Korea Corporation (“Nexon”). I am submitting

 8   this declaration in support of the Motion to Dismiss for Forum Non Conveniens filed by

 9   Ironmace, Choi, and Park (collectively, “Defendants”) in the above-captioned lawsuit (the “U.S.

10   Litigation”). The facts stated herein are known to me personally, and if called as a witness, I

11   could and would testify competently thereto.

12            2.        I have been practicing law for 19 years in Korea and am knowledgeable about the

13   Korean legal system. I currently work as an attorney at LIN, a Korean law firm, and I am also a

14   registered patent attorney in Korea. I mainly specialize in IP law, IT law, and privacy law. With

15   the foregoing specialization, I am serving in various positions, which include (1) Head of the IP

16   Rights Community Committee at the Seoul Bar Association, (2) Vice President of the Korean

17   Intellectual Property Lawyers’ Association, and (3) Member of the Committee for the

18   Improvement of the Unfair Competition Prevention and Trade Secret Protection Act at the

19   Korean Intellectual Property Office. I have handled more than 100 cases of IP disputes, which

20   mainly dealt with patent, trademark, copyright, and trade secret issues. I am submitting this

21   declaration to explain certain features of the Korean legal system as it pertains to the dispute

22   between Nexon and the Defendants.

23                  BACKGROUND OF KOREAN LEGAL AND JUDICIAL SYSTEM

24            3.        Korea has a written constitution (the “Constitution”) that establishes an

25   independent and impartial judiciary. See Constitution, Chapter V, Articles 101-112. In

26   particular, Article 103 provides that judges shall rule independently according to their conscience
                                                                               GREENBERG GLUSKER FIELDS
      DECLARATION OF EUNG JUN JEON - 1                                         CLAMAN & MACHTINGER LLP
      No. 2:23-CV-00576-MLP                                                   2049 Century Park East, Suite 2600
                                                                                Los Angeles, California 90067
     43223-00002/4856150.2                                                             (310) 553-3610
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 3 of 213




 1   and in conformity with the Constitution and law. Trials and court decisions are generally open to

 2   the public. Constitution, Article 109. Further due process and procedural safeguards are

 3   contained in Korea’s Civil Procedure Act (“KCPA”).

 4           4.        Korea has a three-tiered judicial system. Court cases typically begin at the district

 5   court level and may be appealed to the High Courts and ultimately to the Supreme Court. A

 6   plaintiff begins a case by filing a complaint or an application for relief (for example, for a

 7   preliminary injunction). The Court issues a summons and the service of the summons and the

 8   complaint compels the defendant to respond in court, typically within 30 days.

 9           5.        In civil litigation matters, the parties have the right to pre-trial discovery. This

10   discovery primarily takes place at court hearings, where the parties may request evidence,

11   including testimony, expert, and documentary evidence. The district courts conduct evidentiary

12   hearings, at which the parties are able to provide documentary evidence, testimony, and

13   argument. Korea has an adversarial litigation system and the parties are able to examine

14   witnesses presented by the opposing party.

15           6.        Korean courts can grant various forms of relief to a prevailing party in civil

16   litigation. This relief includes declaratory relief, injunctive relief (both preliminary and

17   permanent), and awards of compensatory damages, damages for pain and suffering,

18   disgorgement of profits or recovery of unjust enrichment, and specific performance. Some

19   statutes, including the Unfair Competition Prevention and Trade Secret Protection Act (the

20   “UCPA”), allow for the recovery of treble damages. Prevailing parties are generally able to

21   recover their attorney’s fees and costs from the other party, as well as pre- and post-judgment

22   interest at statutory rates.

23                           KOREAN COPYRIGHT & TRADE SECRET LAW

24           7.        Korea has a Copyright Act and recognizes a cause of action for copyright

25   infringement. Korea is also a signatory to the Berne Convention for the Protection of Literary

26   and Artistic Works, and Korean courts may apply the copyright laws of other countries under the
                                                                                GREENBERG GLUSKER FIELDS
      DECLARATION OF EUNG JUN JEON - 2                                          CLAMAN & MACHTINGER LLP
      No. 2:23-CV-00576-MLP                                                    2049 Century Park East, Suite 2600
                                                                                 Los Angeles, California 90067
     43223-00002/4856150.2                                                              (310) 553-3610
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 4 of 213




 1   Act on Private International Law where applicable to the allegedly infringing conduct.

 2           8.        The Copyright Act recognizes that the creator of an artistic work has certain

 3   exclusive rights, including the right to exploit and reproduce their work. See Copyright Act,

 4   Chapter II, Articles 16–22. Those who exploit another’s copyrighted work without authorization

 5   may be liable for infringement. Korea recognizes that creative expression in videogames may be

 6   protected by copyright law. See, e.g., Supreme Court decision of June 27, 2019, 2017 Da

 7   212095 (the “King.com decision”).

 8           9.        A plaintiff in a copyright infringement action may obtain many different

 9   remedies. These remedies include preliminary injunctive relief, permanent injunctive relief,

10   monetary damages, and declaratory relief. Monetary damages may be calculated in different

11   ways depending on the facts and circumstances of the case, and may be based on the copyright

12   owner’s lost profits, the infringer’s profits gained from the infringement, a reasonable royalty

13   rate that the copyright owner could have received if the infringing conduct had been properly

14   licensed, or any other reasonable calculation of damages in the discretion of the Court. See

15   Copyright Act, Chapter IX, Article 125. The Copyright Act also provides for “statutory

16   damages” where a work was registered prior to the infringement, which may be up to KRW 10

17   million or up to KRW 50 million in the case of intentional infringement. Id., Article 125-2. As

18   with other civil litigation in Korea, the prevailing party may recover its attorney’s fees and costs.

19           10.       Korea also recognizes a cause of action for trade secret misappropriation under

20   the UCPA. The UCPA defines a trade secret as business information that is not known publicly,

21   is the subject of reasonable efforts to maintain its secrecy, and has independent economic value.

22   UCPA, Chapter I, Article 2. The UCPA prohibits infringement or misappropriation of trade

23   secrets, which includes acquiring trade secrets by improper means or using trade secrets to gain

24   improper benefits while under a contractual obligation to maintain their secrecy, among other

25   things. Id.

26           11.       The UCPA also provides remedies for other acts of unfair competition, including
                                                                             GREENBERG GLUSKER FIELDS
      DECLARATION OF EUNG JUN JEON - 3                                       CLAMAN & MACHTINGER LLP
      No. 2:23-CV-00576-MLP                                                 2049 Century Park East, Suite 2600
                                                                              Los Angeles, California 90067
     43223-00002/4856150.2                                                           (310) 553-3610
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 5 of 213




 1   the unauthorized use of the right holder’s achievements. UCPA, Chapter I, Article 2, Paragraph

 2   1(m).

 3           12.       A plaintiff under the UCPA may obtain injunctive relief and compensatory

 4   damages, which may be calculated based on the plaintiff’s lost profits, the infringer’s profits, a

 5   reasonable royalty rate for use of the trade secret, or any other reasonable amount determined by

 6   the Court. UCPA, Chapter III, Articles 10–11; Chapter IV, Article 14-2. A recent amendment to

 7   the UCPA allows a plaintiff to seek treble damages for misappropriation of trade secrets.

 8                 THE ACTIVE LITIGATION IN KOREA BETWEEN THE PARTIES

 9           13.       The parties to the U.S. Litigation—Nexon, Ironmace, Choi, and Park—are
10   already litigating an identical dispute in the Korean court system. The nature of this dispute is
11   discussed below.
12           14.       On March 31, 2023, Ironmace, through the LIN firm, filed a lawsuit against
13   Nexon in the Suwon District Court in Korea (the “Ironmace Lawsuit”). That lawsuit seeks a
14   judicial declaration that Ironmace’s videogame Dark and Darker does not infringe any copyright
15   that Nexon may have in its so-called “P3 Game.” On April 10, 2023, Ironmace also filed an
16   application for a preliminary injunction against Nexon’s business obstruction. Specifically, it
17   seeks to enjoin Nexon from sending “takedown” notices to third parties, such as Valve
18   Corporation, claiming that Dark and Darker infringes Nexon’s rights. If Ironmace prevails,

19   Nexon will be ordered to withdraw the takedown notice it sent to Valve Corporation under the

20   United States Digital Millennium Copyright Act.

21           15.       On April 14, 2023, Nexon filed a lawsuit against Ironmace, Choi, and Park in the

22   Suwon District Court (the “Nexon Lawsuit”). That lawsuit asserts claims of trade secret

23   misappropriation and copyright infringement against Ironmace, Choi, and Park, and seeks a

24   preliminary injunction restraining them from (among other things) publishing or distributing

25   Dark and Darker.

26           16.       True and correct copies of the parties’ applications for a preliminary injunction,
                                                                              GREENBERG GLUSKER FIELDS
      DECLARATION OF EUNG JUN JEON - 4                                        CLAMAN & MACHTINGER LLP
      No. 2:23-CV-00576-MLP                                                  2049 Century Park East, Suite 2600
                                                                               Los Angeles, California 90067
     43223-00002/4856150.2                                                            (310) 553-3610
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 6 of 213




 1   which set out the parties’ claims in detail, are attached to this declaration as Exhibits 1 and 2,

 2   respectively. These copies are certified English translations of the original Korean documents. I

 3   am familiar with the contents of the original Korean language documents, and these translations

 4   accurately represent their content.

 5           17.       As detailed in the two pleadings, the dispute involves Nexon’s claims that Choi

 6   and Park—former employees of Nexon—acted improperly when they left Nexon and formed

 7   Ironmace. In particular, Nexon alleges that Choi and/or Park misappropriated Nexon’s trade

 8   secrets and have created a game (Dark and Darker) that is substantially similar to and therefore

 9   infringes a game that Nexon was developing (the “P3 Game”). The Nexon Lawsuit states that

10   based on the alleged infringement, Nexon sent a takedown notice under the U.S. Digital

11   Millennium Copyright Act to Valve Corporation to the operator of the Steam gaming platform,

12   and that Dark and Darker is currently suspended from Steam.

13           18.       Ironmace, Park, and Choi strongly dispute the allegations of wrongdoing and

14   expect to fully disprove them and prevail in both the Ironmace Lawsuit and the Nexon Lawsuit.

15           19.       Nexon has been served and has appeared in the Ironmace Lawsuit. Each of

16   Ironmace, Choi, and Park have been served and have appeared in the Nexon Lawsuit. Indeed,

17   the parties have all been actively litigating the lawsuits already.

18           20.       In the Nexon Lawsuit, the parties have already had multiple evidentiary hearings

19   before the Court, including on May 3, May 24 and June 21, 2023. All hearings have now been

20   concluded and both parties may submit additional written evidence to the court until July 19. In

21   the lawsuit so far, Nexon has filed thousands of pages of briefing and evidence, all of which are

22   in Korean. Ironmace has filed similar amounts of briefing and evidence, also in Korean.

23   Ironmace has submitted witness declarations from multiple employees, all of whom reside in

24   Korea and all of which are written in Korean.

25           21.       The evidence that Nexon has submitted includes, by way of example only: copies

26   of Nexon’s employment agreements with Choi, copies of Nexon’s “Acknowledgment about
                                                                            GREENBERG GLUSKER FIELDS
      DECLARATION OF EUNG JUN JEON - 5                                      CLAMAN & MACHTINGER LLP
      No. 2:23-CV-00576-MLP                                                2049 Century Park East, Suite 2600
                                                                             Los Angeles, California 90067
     43223-00002/4856150.2                                                          (310) 553-3610
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 7 of 213




 1   Company IP” signed by Choi and Park, computer logs and internal data from Nexon, emails,

 2   written witness statements, text messages, and transcripts of oral conversations. All of this

 3   material is in Korean.

 4           22.       I understand that the Complaint Nexon filed in the U.S. Litigation references,

 5   among others, the following documents as forming the basis for Nexon’s claims against the

 6   Defendants:

 7                 o “Security Guidelines for Nexon Employees,” effective November 12, 2018;

 8                 o “Security Guidelines for Service and Application Program Development and

 9                     Operations,” effective November 12, 2018;

10                 o “Security Guidelines for Operation of Information System,” effective November

11                     12, 2018;

12                 o “Service Guidelines,” effective June 1, 2007;

13                 o “In-House Security Procedures,” effective November 12, 2018.

14                 o “Acknowledgment about Company IP” signed by Choi

15                 o “Data Protection Agreement” signed by Choi

16                 o “Employment Agreement” signed by Choi

17           23.       Nexon has filed copies of each of these documents in the Nexon Lawsuit, and the

18   documents are written in Korean. Attached as Exhibit 3 are copies of each of these documents

19   as filed by Nexon in the Nexon Lawsuit, in their original Korean language.

20           24.       Also attached as Exhibits 4, 5, and 6 are certified, translated copies of the

21   “Employment Agreement” signed by Choi (Exhibit 4) and the “Acknowledgment about

22   Company IP” signed by Choi (Exhibit 5) and Park (Exhibit 6). I am familiar with the contents of

23   the original Korean language documents, and these translations accurately represent their

24   content. These documents each contain a “forum selection clause” stating that all disputes

25   relating to the agreements shall be exclusively heard before a Korean District Court.

26           25.       The “Acknowledgment about Company IP” is an agreement that establishes the
                                                                              GREENBERG GLUSKER FIELDS
      DECLARATION OF EUNG JUN JEON - 6                                        CLAMAN & MACHTINGER LLP
      No. 2:23-CV-00576-MLP                                                  2049 Century Park East, Suite 2600
                                                                               Los Angeles, California 90067
     43223-00002/4856150.2                                                            (310) 553-3610
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 8 of 213




 1   rights of Nexon and its employee in relation to intellectual property creation activities (works,

 2   developments, demonstrations, inventions, etc.) performed by the employee while working for

 3   Nexon. Nexon signed the agreement with Choi and Park, respectively. Clause 2 of Article 5

 4   (Miscellaneous) of the Acknowledgment about Company IP states that “In the event of a dispute

 5   relating to this Agreement that cannot be resolved by consultation between the parties, any

 6   disputes relating to the agreement shall be submitted to the exclusive jurisdiction of the Seoul

 7   Central District Court as the court of the first instance.” The “Employment Agreement” is the

 8   salary agreement signed by Choi with Nexon and includes the following provisions: obligation to

 9   maintain confidentiality regarding the salary, term of the agreement, benefits, trade secret

10   compliance, and termination of agreement. Clause 4 of Article 7 (Miscellaneous) of the

11   Employment Agreement states that “In the event of a dispute between the parties relating to this

12   agreement, the parties shall attempt to resolve the dispute through mutual consultation. However,

13   if an amicable settlement cannot be reached by the parties, the Seoul Central District Court shall

14   have jurisdiction over the disputes.”

15                             OTHER PROCEDURAL CONSIDERATIONS
16            26.      Even if there were not already active lawsuits being litigated between the parties,
17   it is clear that, as a procedural matter, Nexon could sue Ironmace, Choi, and Park in Korea.
18   Ironmace has its principal place of business in Seongnam, Gyeonggi-do, in Korea. Seongnam is

19   a city near Seoul and is within the geographical jurisdiction of the Suwon District Court.

20            27.      Ironmace is amenable to service of process in Korea, and in particular before the

21   Suwon District Court. I understand that Terence Park and Ju-Hyun Choi both live near Seoul

22   and are therefore amenable to service of process in Korea, and in particular in the Suwon District

23   Court.

24            28.      Nexon also has its principal place of business in Seongnam, Gyeonggi-do, Korea,

25   and so the Suwon District Court is the most convenient place for Nexon to litigate.

26            29.      Korea is a signatory to the Hague Convention of 18 March 1970 on the Taking of
                                                                              GREENBERG GLUSKER FIELDS
      DECLARATION OF EUNG JUN JEON - 7                                        CLAMAN & MACHTINGER LLP
      No. 2:23-CV-00576-MLP                                                  2049 Century Park East, Suite 2600
                                                                               Los Angeles, California 90067
     43223-00002/4856150.2                                                            (310) 553-3610
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 9 of 213




 1   Evidence Abroad in Civil and Commercial Matters. However, Korea has issued a reservation

 2   that a Letter of Request issued for purposes of obtaining pre-trial discovery will not be honored.

 3   This means any subpoena issued by a United States District Court directed to a third-party

 4   residing in Korea will not be enforced by the courts in Korea. By contrast, under Korean law, a

 5   Korean court would be able to compel evidence and testimony from third-party witnesses

 6   residing in Korea.

 7           I declare under penalty of perjury under the laws of the United States of America that the

 8   foregoing is true and correct to the best of my knowledge.

 9           EXECUTED at ___________________, this ___ day of June, 2023
10

11
                                                  _______________________________
12                                                Eung Jun Jeon
13

14

15

16

17

18

19

20

21

22

23

24

25

26
                                                                           GREENBERG GLUSKER FIELDS
      DECLARATION OF EUNG JUN JEON - 8                                     CLAMAN & MACHTINGER LLP
      No. 2:23-CV-00576-MLP                                               2049 Century Park East, Suite 2600
                                                                            Los Angeles, California 90067
     43223-00002/4856150.2                                                         (310) 553-3610
Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 10 of 213




                EXHIBIT 1
                Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 11 of 213
          Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
              Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




                                Application for Temporary Injunction Against
                                 Trade Secret and Copyright Infringement


Obligee              Nexon Korea Corporation
                     7, Pangyo-ro 256beon-gil (Sampyeong-dong), Bundang-gu, Seongnam-si, Korea
                     CEO: Jeong Heon Lee
                     Counsel for Obligee Company
                      Attorney Hyeon Ho Eun
                       (Phone: 02-3703-1068 Mobile: 010-3194-****
                        Email: hheun@kimchang.com)


                      Attorney Min Jeong Park
                       (Phone: 02-3703-4609 Mobile: 010-7469-****
                        Email: minjung.park@kimchang.com)


                      Attorney Cheon Woo Son
                       (Phone: 02-3703-4972 Mobile: 010-3445-****
                        Email: cheonwoo.son@kimchang.com)


                      Attorney Won Kim
                       (Phone: 02-3703-1512 Mobile: 010-8913-****
                        Email: wkim@kimchang.com)


                      Attorney Jin Seok Ju
                       (Phone: 02-3703-1952 Mobile: 010-8898-****
                        Email: jinseok.ju@kimchang.com)


                      Attorney Soo Yong Lee
                      39, Sajik-ro 8-gil, Jongno-gu, Seoul (Naedaemun)
                       (Phone: 02-3703-5820 Mobile: 010-3707-****
                        Email: sooyong.lee@kimchang.com)




                           FOR VIEWING ONLY
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 12 of 213
           Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
               Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




Obligor             1. IRONMACE Co., Ltd.
                       (Main Office: Sampyeong-dong Pangyo Tower Suites 401-402) 16, Pangyo Station Road 192beon-gil,
                       Bundang-gu, Seongnam-si, Korea
                       Corporate Representative: Terence Seungha Park, inside director, a U.S. national

                    2. Ju-Hyun Choi (840119-*******)
                       (Yatap-dong Mokryeonmaeul Hanil Apt. #302-1402) 645, Pangyo-ro, Bundang-gu, Seongnam-si,
                       Korea

                    3. Terence Seungha Park, inside director, a U.S. national
                       (Seocho-dong Seocho Paragon Apt. #1004) 29, Seocho-daero 74-gil, Seocho-gu, Seoul, Korea
                       [Registered address: (Seocho-dong Seocho Paragon Apt. #1007) 29, Seocho-daero 74-gil, Seocho-
                       gu, Seoul, Korea].

Amount in controversy: KRW300,000,000
The gist of the right of conservation: Trade Secret Infringement Injunction Claim



                                                         Purpose of Application

We seek a trial judgment that:
1. Obligor IRONMACE Co., Ltd. shall not make the game (released under the title “Dark and Darker”) available to the
general public, nor shall it promote, advertise, adapt, reproduce, distribute, transmit, or provide, assign or license it to
any third party.

2. Obligors shall not use each of the information listed on [Separate Sheet 2] or provide or disclose it to any third party.

3. Obligors shall release from their possession, and cause to be released to the custody of an bailiff authorized by the
Obligee, documents and files relating to each of the information listed on [Separate Sheet 2] that are kept in their homes,
offices, headquarters, branches, sales offices, factories, warehouses, or stored on storage media in their possession or on
computers, mobile phones, or accessible external servers.

4. If Obligor IRONMACE Co., Ltd. violates the order in Paragraph 1, it shall pay Obligee KRW500,000,000 for each
day of the violation.

5. If the Obligors violate the order in Paragraph 2, pay to each Obligee KRW100,000,000 for each day of such violation.

6. The costs of this Application shall be borne by the Obligors.




                    FOR VIEWING ONLY
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 13 of 213


         Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
             Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




                                                       Reason for the Application

I. Status of the Parties

1. Obligee Company


    Obligee NEXON Korea Corporation (hereinafter referred to as “Obligee Company”) is a game company
    established in December 1994, engaged in the production and distribution of game software (Plaintiff’s
    Exhibit 1: Certified Corporate Register of NEXON Korea Corporation). The Obligee Company has been
    providing and servicing various excellent game contents such as “The Kingdom of the Winds,” “MapleStory,”
    and “KartRider.”


2. Obligors and Obligor Company


    Obligor Ju-Hyun Choi and Obligor Terence Seungha Park (hereinafter collectively referred to as the
    “Obligors”) are individuals who were engaged in game development at Obligee Company. Since joining
    Obligee Company on April 16, 2018, Ju-Hyun Choi has been performing duties such as a game development
    director, and since August 2020, he has been performing duties as a director of Obligee Company’s new FPS-
    RPG1 game development project (hereinafter referred to as the “P3 Project” and the game being developed
    through the P3 Project is referred to as the “P3 Game”) as the Team Leader of the new P3 Team in the ROOT
    office of Obligee Company’s development headquarters.




                     FOR VIEWING ONLY
1   FPS stands for First-Person Shooter, which is a combat game played from the perspective of the character in the game (first-person
    perspective), and representative games include “Sudden Attack” by Obligee Company, “Special Force” by Dragonfly, and “Overwatch”
    by Blizzard. RPG stands for Role-Playing Game, which is a game in which players control a character assigned to them, and
    representative games include “MapleStory” by Obligee Company, “Lost Ark” by Smilegate, and “Diablo” by Blizzard.




                                                                                                                                            1/39
                                 39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

     Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
         Law Firm                Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                              02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 14 of 213


        Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
            Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




From December 2020 to June 2021, Obligor Ju-Hyun Choi unauthorizedly leaked more than 11,000 materials,
including build files2 and source code3, which are core trade secrets related to Obligee Company’s P3 Game,
and furthermore engaged in acts of malfeasance in office, such as asking P3 Team members to leave the company.
Obligor Ju-Hyun Choi’s actions caused Obligee Company to suffer tremendous damage, including the
suspension of the P3 Project, and Obligor Ju-Hyun Choi was dismissed from Obligee Company around July
2021.


Obligor Terence Seungha Park4 joined Obligee Company on May 1, 2020, and has been working on game
planning and other tasks since then, and has been working on development as a subgroup lead (“Part Lead”) of
the P3 Project. Obligor Seung Ha Park left from Obligee Company on August 10, 2021, shortly after Obligor
Ju-Hyun Choi departed from Obligee Company, and on October 20, 2021, he established Obligor IRONMACE
Co., Ltd. (hereinafter referred to as the “Obligor Company”) to operate the game software production and
distribution business like Obligee Company, and took office as the corporate representative of the Obligor
Company (Plaintiff’s Exhibit 2: IRONMACE Certified Copy of the Corporate Register).


As such, the Obligors were part of the Obligee Company’s ‘P3 Team,’ which left the company around July 2021
- August 2021, and are now all part of the Obligor Company.




                 FOR VIEWING ONLY
2   “Build files” refer to the process of converting a game into an actual executable form. The build file is responsible for converting the
    source code into an executable file that a computer can understand. A build file contains all the files needed to run a game and is
    typically used when selling or distributing a game. Build files can also store various settings that game creators need when running
    their game. For example, the game resolution, graphics quality, audio settings, and more can be preset and automatically applied when
    the game runs. Build files are one of the most important steps in the game creation process and are essential when it comes time to
    running of the game.

3   Source code is the set of instructions that make up a computer program, usually written in text format. In game creation, source code
    contains the functionality and logic needed to implement a game. Source code is the foundation for creating a game, and it contains
    the instructions for implementing all of the game’s features. For example, it includes features such as game character movement,
    collision detection, interaction, and UI design. These features are written in source code using a programming language.

4   Obligor Terence Seung Ha Park is a United States citizen, hereinafter referred to as “Obligor Seung Ha Park.”




                                                                                                                                              2/39
                                  39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

      Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
           Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                               02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 15 of 213

         Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
             Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




    On the other hand, Obligor Company is a company established on October 20, 2021, and is a corporation
    registered with the Seongnam District Court of Suwon for the purpose of ‘game software development, supply
    and service business, etc.’ (Plaintiff’s Exhibit 2: IRONMACE Certified Copy of the Corporate Register), and
    it is understood that about 10 members of the P3 Team, including Obligors, are affiliated with Obligor
    Company.


II. The importance and urgency of this case


1. Obligor Ju-Hyun Choi unauthorizedly leaked more than 11,000 key trade secrets related to Obligee
     Company’s P3 Project, which Obligor used and consulted for their reference to create a Dark and
     Darker Game that is extremely similar to the P3 Game in an unusually short period of time, and then
     they are now attempting to release it.


    The Obligee Company has been developing the P3 Game with a huge amount of cost, effort, and time. The
    P3 Project started the Prototyping stage in August 2020, and in recognition of its potential for success, it
    entered the Headquarters Test on April 26, 2021, the Milestone Review on April 29, 2021, the Pre-Production
    stage on May 11, 2021, and the Kickoff as a formal project in June 2021.5 In particular, Obligee Company
    has conducted several evaluations of the P3 Game through its development strategy team (a separate
    department outside of the P3 Team), and has communicated to the P3 Team that the results are positive and
    that it will expand the team size.




                            FOR VIEWING ONLY
5   Internally at Obligee Company, we divide game development into the following stages.
     1. Pitching: Making a proposal to start a new project
     2. Prototyping: A step to validate the project’s potential for success.
     3. Pre-Production: The stage in which the project’s formal code is issued and development costs begin to accumulate; the stage in
     which the quantitative goals of the project are finalized, and a detailed development plan is formulated.
     4. Production: The stage where you commit full-time staff and development dollars to development.
     5. Post-Production: The first public release (distribution) of the game to users and the final polishing of the game.
     6. Live: When we go live and start to generate revenue.


                                                                                                                                            3/39
                                39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

    Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
         Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                             02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 16 of 213


          Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
              Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




     Under these circumstances, Obligor Ju-Hyun Choi intensively leaked, without authorization, source code
     related to the P3 Project during the period from May 31, 2021 to June 23, 2021, and coaxed the members of
     the P3 Team to leave the company en masse and create a similar game during the period from June 23, 2021
     to October 25, 2021. The Obligors subsequently departed from the Obligee Company and established the
     Obligor Company for the purpose of developing game software, etc., on October 20, 2021.


     Obligor developed the Dark and Darker Game at a breakneck pace6 without ever going through the game
     planning phase, which could even takes several years or more in case of longer development, and released
     the first test7 via “Steam”8 in August 2022, just nine months after its founding (Plaintiff’s Exhibit 3 at
     1: Steam announcement regarding the first test of Dark and Darker), and released a highly refined Dark and
     Darker Game in late September 2022. (Plaintiff’s Exhibit 3 at 2: Steam announcement regarding Dark and
     Darker 2nd Test; Plaintiff’s Exhibit 3-2: Screen shot capture from Pungwollyang’s broadcast about Dark and
     Darker). However, the Dark and Darker Game is very similar to the P3 Game, not only in its basic story,
     genre, and concept, but also in its specific components.




                        FOR VIEWING ONLY


6   It’s like going straight to build the foundation of a huge building without going through the steps of creating a blueprint.
7A gaming-related platform operated by Valve Corporation in the United States that allows users to purchase and manage games, as
well as provide community features such as chat and broadcasting.
8   These are tests that are run to test game performance, balance, etc., and to get ratings and feedback from users.

                                                                                                                                                4/39
                                    39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

        Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
             Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                                 02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
           Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 17 of 213

    Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
        Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




  The Obligors and the Obligor Company created the Dark and Darker Game by misappropriating the Obligee
  Company’s trade secrets, which were unauthorizedly leaked by Obligor Ju-Hyun Choi (as discussed later, this
  constitutes an act of infringement of the P3 Game’s work product and an act of unfair competition by
  unauthorized use of a work product).


  The most challenging part of game development is arguably the initial planning phase, where the core goals
  of the entire game, such as theme, settings, and worldview, are envisioned, and the gameplay and fun elements
  that run through them are validated. The games serviced in the market are the ones that have survived this
  grueling process and that is why they are now available to users. Far too many projects are abandoned because
  they can’t withstand the limitations of time, money, and other resources required to endure the reiterative
  process of trial and error during this initial planning phase.


  As employees of the Obligee Company, the largest game company in Korea, the Obligors had been developing
  the P3 Game with a wealth of support and stability within the walls of the Obligee Company. As the P3 Game
  was nearing the end of its planning phase, the Obligors became convinced of the marketability of the P3 Game
  and wanted to leave the Obligee Company and create a game that was very similar to the P3 Game and hog
  the huge profits to themselves alone. To this end, they leaked materials related to the P3 Project, encouraged
  team members to leave the company en masse, and actually formed a new entity, Obligor, which utilized and
  referenced the early planning stages that had been conducted within Obligee Company, and in approximately
  nine months, a period of time that would have been impossible without doing so, created a highly refined
  Dark and Darker Game (extremely similar to the P3 Game), conducted user testing, and is now about to
  release it.




2. Obligee Company has suffered great losses, while the Obligors and the Obligor Company are on the
  verge of releasing the game and acquiring illegal profits, so urgent action is required about this.




        FOR VIEWING ONLY
                                                                                                                                              5/39
                               39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

   Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
        Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                            02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 18 of 213


        Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
            Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




    In July 2021, the Obligee Company filed a criminal complaint against Obligor Ju-Hyun Choi for infringement
    of trade secrets, etc., and applied for a provisional seizure. All of the provisional seizures were granted and
    enforced (Plaintiff’s Exhibit 4: Provisional Seizure Decision against Obligor Ju-Hyun Choi), and on March
    2023. In early March of 2023, the seizure and search was carried out by issuing a warrant from the
    Seongnam Branch Court of the Suwon District Court (Plaintiff’s Exhibit 5: Yonhap News Agency article
    dated March 8, 2023 - Police seize and search IRONMACE, ‘Suspected of leaking Nexon project’). On March
    3, 2023, Obligee Company also filed a provisional seizure against Obligor Seung Ha Park for infringement
    of trade secrets, which was also cited and enforced (Plaintiff’s Exhibit 6: Obligor Seung Ha Park provisional
    seizure decision). In addition, Obligee Company requested a takedown under the U.S. Digital Millennium
    Copyright Act9 from Valve Corporation of the United States, the operator of Steam, and Valve Corporation
    accepted the request, and the Dark and Darker Game is currently suspended from Steam (Plaintiff’s Exhibit
    7: ZDNet article dated March 27, 2023 - Dark and Darker Game Shut Down on Steam).


    Nonetheless, the Obligor Company is rushing to release the game with no regard for the issues raised, legal
    actions, etc., regarding the Obligee Company’s unlawful conduct to move forward, and is announcing that it
    will soon conduct additional tests (Plaintiff’s Exhibit 8-1 and 8-2: Obligor Company’s announcement
    regarding additional tests). In addition, the Obligor Company filed a lawsuit against the Obligee Company
    for copyright infringement confirmation and business obstruction prohibition on March 31, 2023 in the Suwon
    District Court without any proper contents (1 of Plaintiff’s Exhibit 9: Obligor Company’s Complaint), and
    filed an application for a temporary injunction against business obstruction on April 10, 2023 (2 of Plaintiff’s

    Exhibit 9: Obligor Company’s Application for Temporary Injunction).




                           FOR VIEWING ONLY
9   Digital Millennium Copyright Act (DMCA)




                                                                                                                                            6/39
                                39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

    Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
         Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                             02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 19 of 213

        Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
            Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




     What the Obligor Company is doing is ignoring the law and trying to make money by offering Dark and
     Darker Game that were created by infringing the Obligee Company’s trade secrets (there are similar platforms
     outside of Steam, and it’s not hard for the Obligor Company to set up its own infrastructure, so the Obligor
     Company can release Dark and Darker Game at any time).


     The Obligors have previously stated that they will “provide early access10 to the Dark and Darker Game
     starting April 2023,” and have already conducted four rounds of testing (Plaintiff’s Exhibits 10-1 and 10-2:
     Article related to Dark and Darker Game development progress), meaning that the Dark and Darker Game
     is very close to release, imminent just around the corner. The Obligee Company have suffered tremendous
     harm as a result of Obligor Ju-Hyun Choi’s unauthorized leaks, including being forced to terminate the P3
     Project; rather, the Obligors are seeking to gain illegal profits by forcibly pushing on the production and
     release of the Dark and Darker Game, which contains all of the key components of the P3 Game, despite the
     ongoing criminal complaint and investigation against Obligor Ju-Hyun Choi (as if they had lawfully taken
     over by succeeding to the P3 Project).


3. This is an important case that is bound to have a significant impact on not only the domestic
     game industry, but also all cultural industries.


     If the Obligors’ and Obligee Company’s behavior is deemed acceptable, game developers will be able to work
     on a game project with a company, with an abundant infrastructure and support, with no risk, and then, when
     they think the project is going to be successful, they will be able to secretly leak project-related materials,
     have the development team leave en masse, and then produce and release the same game that infringes their
     trade secrets in order to reap the fruits of their labor; and this type of behavior will become rampant and
     pervasive.



                                FOR VIEWING ONLY
10   Early Access: A service that lets you play games before they’re fully developed.


                                                                                                                                             7/39
                                 39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

     Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
          Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                              02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
           Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 20 of 213

    Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
        Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




 Once that unfolds, the damage to a game company will be indeed staggering. It will be impossible to trust
 game developers to carry out projects, internal agitation and conflict will be rampant, and there will be a
 pervasive perception that it is better to hijack a third-party project than to develop a game on their own at
 great expense and risk of failure for a long period of time. Furthermore, this symptom will not be limited to
 the game industry, but will appear in the entire content industry, which is produced with a large number of
 people and costs, and it is crystal clear that the Korean content industry, which has been growing a lot, will
 not grow anymore and will stagnate.


 In addition to the legal aspects of trade secret infringement, copyright infringement, etc., this case is also very
 important from the point of view of the huge damage to the Obligee Company as well as the healthy growth
 of the Korean content industry.




III. How This Has Unfolded


1. Obligee Company’s P3 Project


 Obligee Company started Project P to develop a new FPS-RPG genre game in August 2020, and the Obligors
 worked as members of the P Team dedicated to the above P Project.




                   FOR VIEWING ONLY
                                                                                                                                        8/39
                            39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

 Kim & Chang                Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
    Law Firm                Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                         02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
                Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 21 of 213


         Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
             Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




     A P3 Game has a basic storyline of “a bunch of adventurers hear rumors of great riches to be had, so they
     form a band (“party”)11, enter a dangerous dungeon12 with monsters, and escape alive with valuable
     loot” and has the following specific features (internal source for P3 Games; more specific game details later).


                    Category                                                                      Contents
       Fall     into     the     genre      of Basically a competition between users (Player vs Player).
       PvPvE13                                     However, it is also a genre that requires players to fight against the
                                                   environment (e.g., monsters).
       FPS      and     RPG       elements When defeating an opponent, you have to aim and hit them, not just show
       coexist                                     them an attack to take them down (FPS genre), and you have to grow and
                                                   progress through the adventure by acquiring items (RPG elements).
       Where the game starts, etc.                 Multiplayer game, with parties of up to 3 people, and the ability to interact
                                                   with other players in taverns and more.
       Class (Profession)                          Based on a fantasy setting, the game will feature a total of six classes:
                                                   Fighter, Barbarian, Wizard, Cleric, Rogue, and Ranger, each with unique
                                                   features/abilities, and users will choose to play as one of the six classes.


     Obviously, at the time of the P3 Project, there were no published games with all of these characteristics,
     and as of today, we know of no such games other than the Obligor Company’s Dark and Darker Game.




                       FOR VIEWING ONLY
11
     A party is a group of players of different or the same class and level who work together to accomplish the same goal.
12
     A dungeon is a type of map, often found in role-playing game (RPG) games, that refers to an underground labyrinth. Dungeons are represented as
     dangerous areas with many monsters and buried treasure, and can take many forms, including caves, man-made structures, forests, mountain passes,
     etc., [Source: Wikipedia]
13
     It stands for Player vs Player vs Environment.



                                                                                                                                              9/39
                                   39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

     Kim & Chang                   Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
           Law Firm                Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                                02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 22 of 213


       Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
           Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




     Obligee Company assigned more than 20 dedicated employees to the P3 Project and invested at least KRW1.1
     billion in development costs alone from August 2020 to May 2021 (Plaintiff’s Exhibit 11: Obligee Company’s
     investment in the P3 Project). However, about the end of June 2021, Obligee Company found that Obligor
     Ju-Hyun Choi, the team leader of the P3 Team, unauthorizedly leaked key materials such as game build files
     and source code of the P3 Game, and the P3 Project is currently halted because of that reason.


2. Unauthorized leaks of P3 Game build files, source code, etc., by Obligor Ju-Hyun Choi


     Obligor Ju-Hyun Choi unauthorizedly leaked materials such as build files and source code, which are core
     trade secrets related to Obligee Company’s P3 Game, between December 2020 and June 2021.


     Despite the fact that the Obligee Company are strictly prohibited from releasing materials related to each
     project they undertake to develop new games (see Plaintiff’s Exhibits 12-1 through 12-5: Security Regulations
     of Each Obligee Company), Obligor Ju-Hyun Choi engaged in the practice of siphoning off key deliverables
     of the P3 Project for his own private use, and unauthorizedly leaked an enormous amount of P3 Project-
     related materials (hereinafter, the Obligee Company’ information contained in the above materials is referred
     to as the “Subject Trade Secret Information”)14, totaling 11,602 pieces (Plaintiff’s Exhibit 15: Complete List
     of Materials Leaked by Obligor Ju-Hyun Choi).




                         FOR VIEWING ONLY
14    More specifically, ① Obligor Ju-Hyun Choi unauthorizedly leaked 2,747 P3 Project build files from the Obligee Company
     Company’s Jenkins server to his personal server located in Seosan City (hereinafter referred to as the “Seosan Personal Server”) from
     April 4, 2021 to June 18, 2021 [Exhibit 1: Log record of file transfer from Jenkins server to Ju-Hyun Choi account (eeetree); Exhibit
     2: eeetree.com domain account information]; ② From April 7, 2021 to May 11, 2021, Mr. Choi unauthorizedly leaked 1,719 P3
     Project build files to a personal server built on his home PC (hereinafter referred to as the “home personal server,” and the Seosan
     personal server and the home personal server are collectively referred to as the “personal server in this case”). ③ In addition, Obligor
     Ju-Hyun Choi unauthorizedly leaked source code, artifacts, and other materials related to the P3 Project to his Seosan personal server
     on a total of 20 occasions during the period from May 31, 2021 to June 23, 2021 (Exhibit 14: Obligor Ju-Hyun Choi’s external GIT
     server access log).


                                                                                                                                                 10/39
                                     39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

        Kim & Chang                  Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
              Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                                  02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com

                                                                                                                                                 2/39
                                     39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

        Kim & Chang                  Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 23 of 213


       Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
           Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




     In July 2021, Obligee Company learned of the above facts and requested Obligor Ju-Hyun Choi to return the
     Subject Trade Secret Information (Plaintiff’s Exhibit 16: Obligee Company’s proof of content dated July 9,
     2021)15, but Obligor Ju-Hyun Choi refused to do so and deleted all materials on his personal server, and
     even took elaborate measures to prevent forensic analysis (Plaintiff’s Exhibit 17: Disciplinary Committee
     Transcript dated July 12, 2021). Furthermore, from June 23, 2021 to July 25, 2021, Obligor Ju-Hyun Choi
     conducted one-on-one interviews with all members of the P3 Team (with Obligor Seung Ha Park present on
     occasion), during which he encouraged the P3 Team members saying “Let’s go out and develop a game similar
     to the P3 Game,” and also mentioned attracting outside investments.


     As such, Obligor Ju-Hyun Choi unauthorizedly leaked Obligee Company’s trade secrets outside of the
     designated location, even though he was obligated to keep Obligee Company’s trade secrets confidential as
     an employee of Obligee Company. Obligor Ju-Hyun Choi himself failed to deny this unauthorized leak
     (Plaintiff’s Exhibit 17: Disciplinary Committee Transcript dated July 12, 2021), and as a result, Obligor Ju-
     Hyun Choi was subjected to a disciplinary action dismissed from Obligee Company around July 2021
     (Plaintiff’s Exhibit 18 at 1: Obligor Ju-Hyun Choi Personnel Card).




                        FOR VIEWING ONLY


15   As discussed later in Section 3, the Obligee Company had no choice but to suspend the P3 Project if additional leaks to third parties
     were discovered, so it was urgent (even more than the legal response to Obligor Ju-Hyun Choi) for the Obligee Company to
     confirm whether the P3 Project materials had been leaked, and asked Obligor Ju-Hyun Choi not to delete the relevant materials
     so that it could find out whether additional leaks had occurred.


                                                                                                                                                 11/39
                                    39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

       Kim & Chang                  Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
            Law Firm                Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                                 02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com

                                                                                                                                                 2/39
                                    39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

       Kim & Chang                  Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
            Law Firm                Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
         Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 24 of 213


 Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
     Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




      [Plaintiff’s Exhibit 17: Disciplinary Committee Transcript dated July 12, 2021 (excerpt)]

  Dae Hwon Kim: No, I was asking, did you copy that? The build will automatically go there too, …
  Ju-Hyun Choi: The builds are automatically uploaded, right, because we wanted to deploy. This is
          also something that I asked Yong Ik Jung, and it was very slow for people to download from
          outside, I mean, if downloaded through Teams by those working from home. But of course,
          this is the first problem. In a way, people working from home downloading the build and
          testing it was something for efficiency, but now I think people here will say that of course
          you guys should have done it by remote connection. And like I said, that’s my fault, but the
          process was so slow that I had to transmit it over FTP to be able to test it, and I’m sure
          everyone on the team is aware of that, because if I’m going to test it at 2:00 and I’m now
          going to kick off a test mode to proceed, downloading comes in and take time, and we end
          up starting at 2:30. That happened a lot, quite a lot, quite frequently. So, people would say
          like, “Oh, it’s so slow, it’s so inconvenient, it’s so slow. And we kept saying that a lot, so
          we tried to figure out how to fix it, and that’s what we did because there’s no support that
          we can get from outside the company.
  Dae Hwon Kim: It’s not like that we don’t have support, but we’ve been telling you not to do it,
          security-wise. It’s all about tradeoffs.
  Ju-Hyun Choi: That was a mistake on my part. Like I said a moment ago, I was too greedy and I
          was too complacent about security.
                                                  (skipped here)




               FOR VIEWING ONLY

                                                                                                                                      12/39
                           39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

Kim & Chang                Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com                                                     K
    Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                        02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com

                                                                                                                                       2/39
                           39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

Kim & Chang                Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
                                                                                                                                              K
    Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                        02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
           Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 25 of 213

     Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
         Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




    Dae Hyeon Kang: Wouldn’t it be clearer to just open that up so we can be sure?
    Ju-Hyun Choi: As to me giving it to you now, I can do it now, but I’ve already deleted everything,
                   but if you want to see that, at least, even that, then, I can give you that. I’ve already cleaned
                   up all my personal equipment, all the computers that were used there. There’s nothing
                   left, from my point of view.


                                                                 (skipped here)


    Dae Hwon Kim: From the audit, did you say anything to Mr. Joo about what it would mean if he were
                   to remove this material?
    Jung-Young Lee: Yes, we do.
    Dae Hwon Kim: What did you say?
    Jung-Young: I mentioned that it could be seen as an attempt to spoil evidence, and I mentioned
                   that the server itself would have to be given to us without any data being manipulated
                   or deleted.
    Dae Hwon Kim: So you deleted it even though you’d heard enough about it?
    Ju-Hyun Choi: I didn’t think of it as spoilation of evidence.




3. Establishment of the Obligor Company and unveiling of the Dark and Darker Game


 Due to Obligor Ju-Hyun Choi’s refusal to return the Subject Trade Secret Information and deletion thereof,
 the Obligee Company was unable to determine whether the Subject Trade Secret Information had been further
 leaked to a third party, and the P3 Project was discontinued because the Obligee Company was unwilling to
 take the risk of someone obtaining the above information and releasing a game similar to the P3 Game first,
 thus preempting the market.




                           FOR VIEWING ONLY                                                                                               13/39
                               39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

   Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
        Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                            02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com

                                                                                                                                           2/39
                               39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

   Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
        Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 26 of 213


        Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
            Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




     Subsequently, Obligor Seung Ha Park also departed from the Obligee Company on August 9, 2021 (Plaintiff’s
     Exhibit 18-2: Obligor Seung Ha Park Personnel Card), and (i) the Obligor Company was formed on October
     20, 2021, shortly after the Obligors’ departure, and (ii) the Obligors all work for the Obligor Company
     (Plaintiff’s Exhibit 19 at 2: Business Card of Obligor Ju-Hyun Choi), and (iii) the game unveiled by the
     Obligor Company on August 19, 2022, called Dark and Darker, bears a striking resemblance to the P3
     Game, not only in its basic story, genre, and concept, but also in its specific game components and even
     in many of its images, as discussed in more detail later.


     Obligor unveiled the Dark and Darker Game less than a year after its establishment, while the P3 Game was
     unveiled on August 5, 2021, merely with a short video of about 35 seconds to some reporters, but no specific
     planning contents, artwork16, source code, etc., were revealed at all, and17, until now, no game with the
     same concept and genre as the P3 Game has been released. Nevertheless, since the two games are
     extremely similar, it is clear that Obligor used or consulted for their reference the planning documents,
     planning contents, artwork, source code, etc., of the P3 Game. As the Obligee Company feared, the Obligor
     Company, through Obligor Ju-Hyun Choi, fraudulently obtained and used the Obligee Company’s Subject
     Trade Secret Information.




                   FOR VIEWING ONLY
16   Art Resources refer to elements such as graphics, images, animations, sounds, etc., that are used in your game, and which greatly
     determine the quality and impression of your game.
17   The Obligee Company told reporters that they were only allowed to “capture and use images.”


                                                                                                                                                  14/39
                                      39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

          Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
               Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                                   02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
          Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 27 of 213

     Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
         Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




IV. Right of Conservation - Trade Secret Infringement Injunction Claim


1. Legal Principles regarding the Use of Misappropriated Trade Secret


  The “use” of a trade secret is an act that can be specifically identified as an act that directly or indirectly
  uses the trade secret in business activities, such as by using it in business activities such as the
  production and sale of goods, or by using it in research and development projects, according to the
  original purpose of the trade secret (Supreme Court decision on June 9, 1998 98 Da 1928). The act of using
  a trade secret includes not only producing a product by simply copying a technology that is a trade
  secret, but also saving time and money in product development, such as reducing trial and error or
  omitting necessary experiments by referring to another person’s trade secret (Supreme Court decision
  on September 10, 2017 Da 34981). In other words, it is the position of the legal authority that even mere
  “consulting” to a trade secret “for a reference” can constitute use by misappropriation.




2. The trade secret nature of the Subject Trade Secret Information and Obligor Ju-Hyun Choi’s
duty of confidentiality


  Any materials related to the Obligee Company, such as game build files and source code materials related to
  the P3 Project, have been produced with the resources and expenses of the Obligee Company and are
  important assets of the Obligee Company to which the Obligee Company retains the rights. In particular, in
  the field of games, materials such as game build files and source code of projects in the process of
  development are core trade secrets that must never be leaked to the outside world.


  In addition, Obligee Company has effectively implemented technical, administrative, and physical security
  measures for information in accordance with security regulations such as various security guidelines and
  information protection regulations, and has thoroughly implemented security measures for materials related
  to P3 Projects.




                       FOR VIEWING ONLY
                                                                                                                                               15/39
                                 39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

     Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
          Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                              02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
           Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 28 of 213


    Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
        Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




 In other words, the Subject Trade Secret Information relating to the P3 Project constitutes a trade secret
 of the Obligee Company that is economically useful, nonpublic, and managed to keep it confidential.

 As an employee of the Obligee Company, Obligor Ju-Hyun Choi is obligated to keep the important assets and
 trade secrets of these companies secret, and not to disclose or divulge them to any third party or use them for
 purposes other than company business or for the benefit of third parties, both during his employment and after
 his departure. Obligor Ju-Hyun Choi’s obligations are also set forth in the Information Protection Pledge
 signed by Obligor Ju-Hyun Choi, as well as the Information Protection Regulations, Security Guidelines, and
 Annual Salary and Employment Agreement (Plaintiff’s Exhibit 20:1: Information Protection Pledge of Ju-Hyun
 Choi; Plaintiff’s Exhibit 20:2: Annual Salary and Employment Agreement of Ju-Hyun Choi).

              [Plaintiff’s Exhibit No. 20 at 1: Information Protection Pledge of Ju-Hyun Choi (Excerpt)]
       2. I will not access any information or facilities that the Company has not expressly authorized me to
       access, and I will comply, without fail, with the Company’s regulations, guidelines, procedures, etc., related
       to information protection (hereinafter referred to as the “Information Protection Policy”), and if necessary
       to protect the Company’s trade secrets, its scope will include the Internet, telephone, electronic documents
       (including email, messenger, fax contents and information sent and received, etc., I accept that the
       Company may impose certain restrictions or controls on the use of communication facilities such as e-
       mail, messenger, fax, and electronic documents (hereinafter referred to as “electronic documents, etc.”),
       and I consent that the Company may impose such controls in compliance with the applicable procedures
       only in cases that fall within the purposes set forth in the Company’s Information Protection Policy.


   [Plaintiff’s Exhibit 20, Exhibit 2: Ju-Hyun Choi’s Annual Salary and Employment Agreement (Excerpt)]
       Section 5 (Obligation to Maintain Trade Secrets, etc.)
       (1) Employee shall not disclose the Company’s confidential information acquired during their employment
       to third parties, neither during their employment nor after departure.
       The employee shall not bring a third party’s trade secrets or the Company’s trade secrets into the Company
       or take it out of the Company without the permission of the right holder.



3. Trade secret infringement by Obligor Ju-Hyun Choi

 Obligor Ju-Hyun Choi didn’t just unauthorizedly leak the Subject Trade Secret Information, he suggested that
 everyone on the P3 Project team leave the company and develop a game similar to P3, which they did, creating
 a Dark and Darker Game that was very similar to P3.




                            FOR VIEWING ONLY
                                                                                                                                              16/39
                                39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

   Kim & Chang                  Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
        Law Firm                Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                             02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 29 of 213


          Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
              Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




     In light of these circumstances, it is clear that Obligor Ju-Hyun Choi had the purpose of obtaining unfair
     profits or causing damage to Obligee Company by leaking and referring to the Subject Trade Secret
     Information, which involved Obligee Company’s resources, efforts, and expenses, to develop a game similar
     to the P3 Game.


     As such, even though Obligor Ju-Hyun Choi had an obligation to keep the Subject Trade Secret Information
     secret in his relationship with Obligee Company, he violated that obligation for unjust purposes, leaked the
     Subject Trade Secret Information to a private server that was easily accessible from the outside, and
     developed the Dark and Darker Game with Obligor Seung Ha Park and others using the Subject Trade
     Secret Information in order to obtain dishonest profits, as described later in Paragraph 4. These acts
     constitute trade secret infringement under Article 2, Subparagraph 3(e) of the Act on Prevention of Unfair
     Competition and Protection of Trade Secrets (hereinafter referred to as the “Unfair Competition Prevention
     Act”)18 .




4. Trade secrets infringement by Obligor Seung Ha Park and the Obligor Company – with a focus on the
     similarities between the Dark and Darker Game and the P3 Game




     Obligor Seung Ha Park was on the same P3 Team as Obligor Ju-Hyun Choi, and was well aware that the
     Subject Trade Secret Information was a trade secret of the Obligee Company and should not be leaked to the
     outside world, and that Obligor Ju-Hyun Choi had engaged in unauthorized leak of trade secrets.




                   FOR VIEWING ONLY
18   Article 2 (Definitions) As used in this Act, the following terms have the following meanings.
     3.”Trade secret infringement” means an act that falls under any of the following subparagraphs.
     D. The act of using or disclosing a trade secret for the purpose of obtaining unfair profits or causing damage to the holder of the trade
     secret by a person who is obligated to keep the trade secret under a contractual relationship, etc.


                                                                                                                                              17/39
                                   39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

      Kim & Chang                  Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
            Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                                02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
        Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 30 of 213


   Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
       Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




Nevertheless, Obligor Park and Obligor Company acquired the build files, source code, etc., of
the P3 Project, which are the trade secrets and core assets of Obligee Company, from Obligor
Ju-Hyun Choi, and then used (consulted) them (for their reference) to develop the “Dark and
Darker” game, which is very similar to the P3 Game, which constitutes trade secret infringement
under Article 2, Subparagraph 3(e) of the Unfair Competition Prevention Act.


As explained earlier, in light of the facts, among others, that (1) Obligor developed the Dark and
Darker Game only about nine months after its establishment, despite being a new company with no
resources; (2) the P3 Game is very similar to the Dark and Darker Game, even though the details of
the P3 Game have never been disclosed and there has never been a game with the same concept and
genre as the P3 Game, the P3 Game and Dark and Darker Game are very similar, especially in
terms of design elements such as characters, to the extent that it is difficult to bring them into
existence without consulting Obligee Company’s materials for their reference; and (3) that the
contents of the P3 Game can be fully understood from the materials leaked by Obligor Ju-Hyun Choi,
it is clear that Obligor Seung Ha Park and the Obligor Company have fraudulently acquired and used
Obligee Company’s trade secrets leaked by Obligor Ju-Hyun Choi.


Users have also reacted to comment that “It takes a lot of time to just build a worldview from scratch
and brainstorm, so it doesn’t make sense to alpha test it in less than a year” that “the quality of
the game is too perfect for saying that it have been made in a year” and that “Dark and Darker
looks a lot like P3” or “it’s exactly the same” (Plaintiff’s Exhibit 21 at 1 through 5: Users’ Reactions
to Dark and Darker).




                FOR VIEWING ONLY
                                                                                                                                       18/39
                            39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

 Kim & Chang                Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
     Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                         02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 31 of 213


    Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
        Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




 [Plaintiff’s Exhibits 21-1, 21-2, and 21-3: User Reactions to Dark and Darker Game - Development Period]

(Plaintiff’s Exhibit 21-1)

Other responses included, “It takes a lot of time to build a worldview from scratch and brainstorm, and it
doesn’t make sense to alpha test it in less than a year,” and “We should lean on not just code issues but also
whether the conceptual framework of the game is also stolen.”


(Plaintiff’s Exhibit 21-2)

                         The quality of the game was too perfect for saying that it has been made in a year.
                         Battlegrounds, which went through a similar process of short-term development, asset purchases,
  RetsuP
                         etc.
                         I used to bust servers day in day out.. lol, lol

                         If they wanted to claim that they made it in a year, they should have had a little more fluff, but they
                         didn’t, so there’s that, no wiggle room. lol



(Plaintiff’s Exhibit 21-3)




     More videos              These days, for larger projects, the
                              The planning phase takes freaking long
   Playback (k)

                             like a game with 5 billion, 10 billion won
    More videos              In some cases, during the course of developing just 1 project,




                             You get upended several times, meaning that it takes
    More videos




                             Several years to build it.
   More videos               But now




                    FOR VIEWING ONLY
                                                                                                                                        19/39
                               39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

 Kim & Chang                   Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
       Law Firm                Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                             02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
           Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 32 of 213


 Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
     Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




           [Plaintiff’s Exhibit 21-4: User Reactions to the Dark and Darker Game - Similarities]

            Dark and Darker, it’s a lot like this game.
     ㅇㅇ(223.62)




    A similar genre game formerly known as Nexon Project P3
    I thought it was in development and then canceled, is it actually
    related?


Hello Everyone                                  It’s indeed exactly the same lol
everyone

           Pm


                                                                   OMG




                       FOR VIEWING ONLY
                                                                                                                                       20/39
                           39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

Kim & Chang                Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
    Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                        02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
         Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 33 of 213


  Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
      Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




        [Plaintiff’s Exhibit 21-5: User Reactions to the Dark and Darker Game - Similarities]

              Knowled
              gePedia




                     Comparing not only the game’s features, but also the images that still exist on the web,



               Knowled
               gePedia




                                 It’s easy to see the similarities between Dark and Darker and Project P3.




The Dark and Darker Game and the P3 Game are similar in a fair number of ways, but the following are some of the
more notable similarities (please refer to the descriptions in [Separate Sheet 1] for more specific details)




                    FOR VIEWING ONLY

                                                                                                                                21/39
                          39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

Kim & Chang               Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
   Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                       02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 34 of 213


     Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
         Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




A. Design Elements: Characters in both games have a total of six classes (occupations), all of which are
    completely identical: “Barbarian, Cleric, Fighter, Wizard, Rogue, and Ranger,” and furthermore, the design
    and features of each class are very similar (Dark and Darker Game Character Images Plaintiff’s Exhibits
    22-1 through 22-6).


                                        <Comparing characters between two games>
                                  P3 Games                                                    Dark and Darker Game




                   FOR VIEWING ONLY
                                                                                                                                      22/39
                               39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

   Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
        Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                            02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
        Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 35 of 213


  Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
      Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




                FOR VIEWING ONLY
                                                                                                                                23/39
                         39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

Kim & Chang              Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
   Law Firm              Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                      02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
         Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 36 of 213

  Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
      Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




                                     <Other design comparisons between the two games
                              P3 Games                                                     Dark and Darker Game




              FOR VIEWING ONLY
                                                                                                                                24/39
                          39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

Kim & Chang               Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
   Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                       02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
           Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 37 of 213


      Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
          Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




B. Specific game elements: The introductory text of the P3 Game, the genre and concept of the P3 Game, the
    specific game rules, and the characteristics of each character are information that can be found in the P3
    Game planning documents and have not been disclosed externally, but the introductory text, genre and
    concept, and specific game rules of the Dark and Darker Game are very similar to the P3 Game, as shown
    in the table below.


                                <What both games have in common>
              Category                                      Contents
        Belongs to the PvPvE Basically, it’s a game where you compete against each other (Player
        genre                vs Player), but players also have to confront the environment
                             (Environment, e.g., monsters, etc.).
        FPS     and      RPG When defeating an opponent, you have to aim and hit them, not just
        elements coexist     show them an attack to take them down (FPS genre), and you have to
                             grow and progress through the adventure by acquiring items (RPG
                             elements).
        Game Structure       It has a multi-level inverted pyramid structure, and when the game
                             starts, users are randomly placed on the edge of the top level.




                   FOR VIEWING ONLY

                                                                                                                                      25/39
                               39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

   Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
        Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                            02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 38 of 213


        Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
            Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




                    Category                                  Contents
            Where the game Multiple players can join and form parties of up to three, and interact
            starts, etc.       with other players in taverns and more.
            Class (Profession) Based on a fantasy setting, the game will feature a total of six classes:
                               Fighter, Barbarian, Wizard, Cleric, Rogue, and Ranger, each with
                               unique features/abilities, and users will choose to play as one of the
                               six classes.
            其他                 Set in a dark, brick-based dungeon, with a configuration that makes
                               heavy use of torches. Similar to the way potions (restorative
                               medicines) are carried on your back to help you see in the dark and the
                               effects of buffs when they are acquired. In addition, all interactions
                               with in-game objects such as chests and doors are cast19, and equipping
                               and replacing equipment takes a certain amount of time.


     As such, Obligor Seung Ha Park (and the Obligor Company) were well aware that the Subject Trade Secret
     Information was the trade secret of the Obligee Company and should not be leaked to the outside world, and
     that Obligor Ju-Hyun Choi had engaged in unauthorized leak of trade secrets, After obtaining the build files,
     source code, etc., of the P3 Project, which are the trade secrets and core assets of the Obligee Company, from
     Obligor Ju-Hyun Choi, he used them to develop a game called “Dark and Darker” that is very similar to the
     P3 Game, which constitutes an infringement of trade secrets under Article 2, Paragraph 3 of the Unfair
     Competition Prevention Act.




                             FOR VIEWING ONLY
19   Casting means that a specific action must be applied for a “certain amount of time” to achieve the desired effect. For example, if a
     user wants to open a chest to get an item, pressing a specific button in front of the chest once is not enough to open the chest; the user
     must press a specific button in front of the chest for several seconds to open the chest.




                                                                                                                                           26/39
                                    39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

        Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
             Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                                 02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
           Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 39 of 213

    Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
        Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




V. Right of Conservation - Copyright Infringement Injunction Claim

1. Creative expressions protected by copyright law


 Article 2, Subparagraph 1 of the Copyright Act defines a work as a “creative work expressing human thought
 or eapplication.” In other words, in order to be recognized for its originality, it must be a creative expression,
 and it suffices insofar as it is distinguishable from the existing works of other authors (Supreme Court
 Decision 94 Do 2238, November 14, 1995).


                                  [Supreme Court decision 94 Do 2238 Nov. 14, 1995]

              “In order for a work to be protected under the Copyright Act, it must be a work of
              authorship falling within the scope of literary, academic, or artistic works (Article 2,
              Subparagraph 1 of the Copyright Act), and as such, its originality is a requirement, but
              originality here does not refer to originality in the full sense of the word. In order to
              fulfill this requirement, it is sufficient if the work is endowed with the characteristic
              of being the product of the author’s own mental effort and is distinguishable from the
              existing works of other authors.”




2. Criteria for determining copyright infringement of game works


 The Supreme Court has made a clear statement on the copyright infringement of game works and game works
 (also known as “game works”) in its decision of June 27, 2019, 2017 (hereinafter referred to as the “King.com
 decision”).




                   FOR VIEWING ONLY

                                                                                                                                     27/39
                              39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

  Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
       Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                           02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
          Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 40 of 213

  Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
      Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




In the King.com decision, the Supreme Court stated the legal principles that in determining whether a game
is creative, “it is certainly necessary to consider not only the originality of each of the components that
make up the game, but also whether the components, as they are selected, arranged, and combined in
the process of technical implementation according to a certain production intention and scenario, come
together as a whole to the extent that the game itself has a creatively original personality that is distinct
from other games and has arrived at the level of deserving protection as a work.”


In particular, by explicitly referring to “rules” and their selection, arrangement, and combination in the
determination of substantial similarity where only expression is to be judged, the court recognized that game
rules, once embodied, can become expressions, not just remaining in the realm of ideas.




                             [Supreme Court decision 2017 Da 212095, June 27, 2019].

               The Defendant’s Game used the same selection, arrangement, and combination
               of key technically implemented components as the Plaintiff’s Game, based on the
               creative production intent and scenario of the Plaintiff's Game, by introducing the
               Hero Mode, Battle Levels, Egg Collection Rules, Special Space Rules, Bucket
               Rules (Stump Rules), Seed and Droplet Rules (Elf and Mushroom Rules), and
               Interference Rules in the same order as the Plaintiff’s Game.




The King.com decision was a stretching judgment rather than categorizing game rules as ideas, and judged
the originality of the game based on the integral set of components represented in the plaintiff’s game,
and ultimately overturned the trial court’s decision denying copyright infringement and upheld the defendant’s
copyright infringement of the plaintiff’s game.




                      FOR VIEWING ONLY
                                                                                                                                  28/39
                           39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

Kim & Chang                Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
    Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                        02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
           Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 41 of 213

     Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
         Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




  3. Dark and Darker Game is a complete and intentional copy of key elements of the P3 Game.

  The P3 Game is a game work protected by the Copyright Act because the selection, arrangement, and
  combination of various components in the process of technically implementing Obligee Company’s
  production intentions and scenarios gives the game a distinctive character or personality that distinguishes it
  from other games. However, the Dark and Darker Game released by Obligor contains substantial similarities
  in the selection, arrangement, and combination of the main components of the P3 Game, which constitutes
  intentional imitation and plagiarism.




A. Creative Originality in P3 Games




  P3 Games are based on a story arc where a bunch of adventurers hear a rumor of great riches, form a band
  (“party”), enter a dangerous dungeon with monsters, and escape alive with valuable loot.


  Players form teams of a certain number of people, with multiple teams competing in a single game (Player
  vs Player), all the while battling monsters in a dark dungeon or trying to stay alive against a gathering
  poisonous cloud (Player vs Environment).




                FOR VIEWING ONLY


                                                                                                                                   29/39
                            39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

 Kim & Chang                Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
     Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                         02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
        Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 42 of 213


   Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
       Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




In other words, users of P3 Games are essentially exposed to a sense of urgency due to threats from other
users or monsters, and P3 Games have a variety of components that amplify this sense of urgency and make
them more fun to play.




    (1) P3 Games allow multiple players to participate in a single game and form parties (alliances) of up to
         three players. At this time, each user/party can observe what classes or equipment other users/parties
         are utilizing in the tavern, and consider their strategy when encountering them in advance.


    (2) The dungeons in the P3 Game have a multi-level inverted pyramid structure. When the game starts,
         users are randomly placed at the edge of the top level of the dungeon. Each user then explores the
         interior of the dungeon to obtain loot, and after obtaining loot on a particular floor, the user can
         choose to move to the next floor and attempt to obtain greater loot, or to be satisfied with their
         performance so far.



    (3) When users are dueling with other users or monsters, they cannot simply press the attack button to
         attack the opponent, but must aim and hit the opponent accurately (an element of the FPS genre). If
         users can kill their opponents with simple controls, the tension of an encounter can be relaxed, but
         the pressure of aiming accurately at the opponent in a split-second makes it more difficult to let go
         of the tension.


    (4) Users will grow along with their adventures by acquiring various items (weapons, shields, shoes,
         potions, keys, etc.) that are pre-positioned in the dungeon (RPG genre elements). In other words, if
         a player only seeks safety without making efforts to acquire items, the player will be at a disadvantage
         in competition with other users, so users will constantly take risks and pursue growth.




          FOR VIEWING ONLY
                                                                                                                                 30/39
                           39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

Kim & Chang                Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
    Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                        02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 43 of 213


         Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
             Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




          (5) By setting the game in a dark brick-based dungeon, we’ve dimmed basic vision. Players can carry
              and use torches, or turn pre-placed torches off and on, meaning they’ll be challenged to hunt, battle,
              and find items with limited vision within a dark environment, but they’ll also be able to utilize light
              and darkness to their advantage.

          (6) When users interact with objects in the game, such as boxes and doors, all interactions are cast.
              Because of this feature, users are taking the risk of interacting with objects such as boxes, doors, etc.,
                even though they don’t know when an enemy is going to swoop in.



          (7) Even when users wear or replace the equipment, it is not easy to achieve this with a simple operation
                and takes a certain amount of time. Therefore, for the same reason as (6) above, the component
                about wearing/replacing the equipment increases the tension of users.

          (8) The P3 Game’s professions (classes) consist of ‘Fighter, Barbarian, Cleric, Rogue, Wizard, and
              Ranger,’ and each class has its own unique features. Depending on various situations (one-on-one or
              many-on-many, large space or small space, dark or light, close to each other or far away, etc., each
              class can leverage different advantages, and users should take advantage of them.20




                     FOR VIEWING ONLY


20   For example, Rogue has abilities that specialize in ambush, such as stealth and the inability to generate footsteps when “crouching,”
     so players of Rogue may prefer to fight in dark spaces or complex structures.


                                                                                                                                      31/39
                               39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

 Kim & Chang                   Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
        Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                            02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 44 of 213


       Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
           Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




     The P3 Game belongs to both the PvPvE genre and the FPS-RPG genre at the same time, and games of this
     genre are rare ((3), (4) above), and in addition, the P3 Game contains specific components that maximize the
     characteristics of the game, such as (1), (2), (5)~(8) above, and in addition, when you obtain a potion21, you
     can carry it on your waist, and the potion glows when you are in the dark, Buffs 22 have a bubble-like visual
     effect when acquired, and can restore health when resting in front of a campfire; Skeleton Soldiers, Skeleton
     Archers, Spiders, Flying Insects, and Wraiths, Cave Trolls, etc., are used as rank-and-file monsters; and
     Wraiths, Cave Trolls, etc., are used as boss-level monsters.


     The above components are selected, arranged, and combined according to the scenario intended by the game
     developer based on the basic story and concept of the P3 Game. The organic relationship of the components
     selected, arranged, and combined as above has a great impact on the user’s experience, and the user can feel
     the tension and fun amplified by the organic relationship of each component, and the organic relationship of
     these components is not found in other prior games. It is not necessary for these components to be
     functionally implemented, so in a sense, P3 Games are game creations with distinctive features and
     personalities that are distinctly different from other games.




B. Substantial similarities between the P3 Game and the Dark and Darker Game




     As described in Section IV (and in [Separate Sheet 1]), the Dark and Darker Game published by Obligor
     contains all of the above components of a P3 Game.




                     FOR VIEWING ONLY
21   In games, potions typically refer to items that restore or enhance a player’s health, magic, stamina, or other states.
22
     In games, a buff is a temporary increase in a character’s or item’s stats.




                                                                                                                                                 32/39
                                       39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

           Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
                Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                                    02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 45 of 213

         Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
             Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




     In particular, the visual design of each character, their features and their balance, the overall atmosphere of
     the dungeon, the application of each class, the shape of the torch, the hand gestures during the casting process,
     and the types and shapes of monsters are extremely similar, making it difficult for users to distinguish between
     the two games.


     Obligors may have argued that each of these components existed in other games, but none of them were
     selected, arranged, and combined in a “P3 Game-like manner. Most importantly, the King.com decision
     rejected the approach of decomposing components or abstracting them into higher-level concepts to determine
     creativity. The King.com decision found copyright infringement by not abstracting from the components
     of the plaintiff’s game, but by determining the creativity of the game based on the integral set of individual
     elements that distinguish it from prior games.


     As such, the P3 Game and the Dark and Darker Game are recognized as substantially similar.




4. Sub-conclusion


     As shown above, the Obligors and the Obligor Company, without any authorization and without obtaining
     the permission or understanding of the Obligee Company, are infringing the copyright of the P3 Game held
     by the Obligee Company by creating, reproducing, distributing, and transmitting the Dark and Darker Game
     that is substantially identical and similar to the P3 Game held by the Obligee Company, and the Obligee
     Company has the right to seek an injunction against such acts (Article 123 of the Copyright Act).23




                    FOR VIEWING ONLY
23
     Even if, for the umpteenth time, the creativity of the components asserted by the Obligee Company were negated, at a minimum,
     copyright infringement would be found for the visual design of each character as described in [Exhibit 1].




                                   39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

       Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
            Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                                02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com

                                   39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

       Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
            Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
           Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 46 of 213


   Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
       Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




VI. Right of Conservation - Right to claim injunction against unauthorized use of work
product (practice of unfair competition)

 Article 2, Subparagraph 1(m) of the Unfair Competition Prevention Act (hereinafter referred to as
 “Subparagraph 1(m) of the Unfair Competition Prevention Act”) is a new provision in Article 2, Subparagraph
 1(j) of the Unfair Competition Prevention Act, as amended by Act No. 1163 of July 30, 2013, which is a
 general provision to protect intangible achievements with emerging economic value and to make up for the
 failure of the legislator to define all acts of unfair competition, in order to regulate unfair competition in a
 timely manner to reflect changing notions of trade.


 Specifically, Subparagraph 1(m) of the Unfair Competition Prevention Act requires that (1) the performance
 must have been created with substantial investment or effort; (2) the other party must use the performance
 for its own business without authorization; (3) the use must be contrary to fair commercial practices or
 competitive order; and (4) economic interests must be infringed by the unauthorized use.


 In relation to ‘achievements, etc.’ (requirement (1) above), the Supreme Court has consistently held in recent
 judgments that Subparagraph 1(m) of the Unfair Competition Prevention Act is a provision to protect rights
 holders from new types of infringement, and therefore its scope should be interpreted broadly, as there are
 no restrictions on the types of ‘achievements, etc.’ and it may cover new types of outputs that were difficult
 to protect under conventional intellectual property laws (Supreme Court decision 2016 Da 276467, March 26,
 2020; Supreme Court decision 2017 Da 217847, July 9, 2020; Supreme Court decision 2020 Da 220607, July
 23, 2020; Supreme Court decision 2021 Da 310873, April 28, 2022, and others). In addition, the Supreme
 Court has held that in order for a method to constitute a “method contrary to fair commercial practices or
 competitive order” (requirement (3) above), it is necessary to comprehensively consider whether the right
 holder and the infringer are currently in competition or are likely to be in competition in the near future,
 whether such performance can be substituted in the market by the infringer’s goods or services, and whether
 there is a likelihood of confusion among consumers or traders (Supreme Court decision 2016 Da 276467,
 March 26, 2020).




                      FOR VIEWING ONLY
                                                                                                                                   34/39
                            39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

 Kim & Chang                Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
     Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                         02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
          Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 47 of 213


    Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
        Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




 In this case, (i) Obligee Company’s P3 Game’s design content, components, and their organic combination
 constituted a substantial investment and effort, involving more than 20 dedicated employees and more than
 1.1 billion won in development costs; (ii) Obligors used Obligee Company’s performance for their own
 business without authorization; (iii) Obligors established a competing company, Obligor, and then
 attempted to preempt the market by unveiling and releasing a Dark and Darker Game that is very similar to
 the P3 Game, which is a substitute for the P3 Game, and such conduct by the Obligors constitutes a method
 contrary to fair commercial practices or competitive order; and (iv) as a result of the Obligors’
 unauthorized use, the Obligee Company is no longer able to maintain the P3 Project and will have to bear the
 damages caused by the discontinuation of the P3 Project without recovering any of the resources and expenses
 it has invested in the P3 Project, thereby infringing the staggering economic interests of the Obligee
 Company.


 Therefore, these acts of the Obligors constitute an act of unauthorized use of the Work Product (Unfair
 Competition Prevention Act) under Subparagraph 1(m) of the Unfair Competition Prevention Act, and the
 Obligee Company has the right to seek Injunction against such acts (Article 4 of the Unfair Competition
 Prevention Act).




VII. The Necessity for Conservation


 Obligor Ju-Hyun Choi unauthorizedly leaked Obligee Company’s Subject Trade Secret Information to his
 personal server without Obligee Company’s authorization and destroyed relevant evidence.




            FOR VIEWING ONLY
                                                                                                                                  35/39
                           39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

 Kim & Chang               Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
    Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                        02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
          Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 48 of 213


   Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
       Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




Furthermore, Obligors solicited all 21 members of the P3 Team to leave the Obligee Company. In fact,
Obligors founded the Obligor Company shortly after leaving Obligee Company, and the Obligor Company
developed the Dark and Darker Game, which is very similar to the P3 Game. In addition to the Obligors,
about 10 members of the P3 Team are now identified as working for the Obligor Company.


Based on these facts, it appears that the Obligors were preparing to launch a game very similar to the P3 Game
based on the design of the P3 Game and the Subject Trade Secret Information even before they left the Obligee
Company, so the Obligors’ actions not only constitute trade secret infringement, copyright infringement, and
unauthorized use of a work product, but the bad faith of their actions and the severity of the infringement are
so great that it is necessary to prohibit them. If these acts are not prohibited quickly and the Obligor Company
is allowed to reap huge profits from the release of the Dark and Darker Game, it will not only inflict huge
damages on the Obligee Company and demoralize the remaining employees of the Obligor Company, but it
will also set a wrong precedent for the entire game industry and cultural industry, which will seriously affect
the public welfare.


In particular, the need to prevent the release of the Dark and Darker Game is even greater now that the Obligor
Company has already completed the fourth round of testing since the game was unveiled on August 19, 2022,
and is scheduled to imminently release the game in early access in April 2023 after the fifth round of testing.




              FOR VIEWING ONLY

                                                                                                                                    36/39
                             39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

Kim & Chang                  Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
     Law Firm                Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                          02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
          Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 49 of 213


    Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
        Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




 Even if the Obligee Company files a lawsuit against the Obligors and the Obligor Company and wins the case
 in the future, given the long period of time that will have already elapsed between the time the judgment is
 finalized and the Obligors and the Obligor Company’s trade secret infringement activities are not urgently
 enjoined through a temporary injunction in this case, the Obligee Company’s damages will become even
 greater and the Obligee Company will suffer irreparable harm.


 In addition, because the Obligors and the Obligor Company are likely still in possession of the Subject Trade
 Secret Information that was leaked by the Obligee Company, there is still the possibility that they may oce
 again provide the Subject Trade Secret Information to other competitors of the Obligee Company. Accordingly,
 if the Obligors and Obligee Company disclose or use the materials listed on [Separate Sheet 2] (Plaintiff’s
 Exhibit 15, which was unauthorizedly leaked by Obligor Ju-Hyun Choi), they will have a tremendous benefit
 of overcoming the trial and error that Obligee Company went through to create the Subject Trade Secret
 Information, whereas Obligee Company will suffer significant harm to its business, including loss of
 competitiveness in the marketplace, as well as damages from the leak of its trade secrets to competitors, and
 there is a strong need to enjoin the use and disclosure of these trade secrets.




VIII. The Necessity for Bailiff’s Custody and Indirect compulsory execution



 As previously stated, there is a significant risk that the Obligors and the Obligor Company will use and
 disclose the leaked and fraudulently obtained [Separate Sheet 2] Listed Trade Secrets, including by providing
 them to other competitors of the Obligee Company. Therefore, there is an urgent need to release the Obligors
 and the Obligor Company from possession of the [Separate Sheet 2] Listed Trade Secrets and the respective
 storage media on which they are stored, and to place them in the custody of a bailiff to be appointed by the
 Obligee Company. We therefore respectfully request that the temporary injunction in this case exclude the
 “obligor custody and bailiff public posting” type of temporary injunction issued in other injunction cases.




             FOR VIEWING ONLY                                                                                                      37/39
                            39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

 Kim & Chang                Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
     Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                         02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
         Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 50 of 213


   Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
       Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




In addition, even if a temporary injunction is granted in this case, in the absence of an indirect compulsory
execution order, there is a very high risk that a serious violation of the temporary injunction could occur
within a short period of time, effectively neutralizing the temporary injunction itself. Therefore, it is
imperative that an indirect compulsory execution order be issued at the same time to effectively secure the
effectiveness of the temporary injunction in this case.


Therefore, in order to effectively secure the effectiveness of the temporary injunction in this case, which seeks
to enjoin the Obligors and the Obligor Company from infringing trade secrets, it is urgently necessary to not
only enjoin the Obligors and the Obligor Company from committing the above acts, but also to simultaneously
issue an indirect compulsion order to prevent the Obligors and the Obligor Company from committing further
violations by requiring them to pay compensation in an appropriate amount for each violation.


The amount of damages that Obligee Company will suffer as a result of Obligors’ and Obligor Company’s
trade secret infringement, copyright infringement, and unauthorized use of the Work Product in this case,
which should be sufficient to deter Obligors’ and Obligor Company’s violations, In consideration of the
Obligee Company’s cost of developing the Subject Trade Secret Information, and the illegality and gravity of
the Obligors’ and the Obligee Company’s acts, it is appropriate to impose at least KRW500,000,000 per day
for each day that the Obligor Company violates Paragraph 1 of the Application, and at least KRW100,000,000
per day for each day that the Obligors and the Obligor Company violate Paragraph 2 of the Application.




         FOR VIEWING ONLY


                                                                                                                                   38/39
                            39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

Kim & Chang                 Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
     Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                         02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
          Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 51 of 213

    Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
        Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




 However, the Obligee Company wishes to avoid a delay in the temporary injunction decision in this case due
 to a dispute over the amount of the indirect compulsion, so we will submit to your tribunal’s decision on the
 amount of the indirect compulsio as appropriate.




IX. Conclusion


 In this case, we believe that the right of conservation is recognized and the need for conservation is sufficient.
 In view of the aforementioned circumstances, we hope that you will make a decision on the temporary
 injunction as stated in the Purpose of Application as soon as possible.


 Furthermore, the Obligee Company is ready to provide the security collateral ordered by your court. As a
 method of providing collateral, we request permission to provide collateral by submitting a document
 concluding a payment guarantee contract with a surety insurance carrier pursuant to Article 19, Paragraph 3
 of the Civil Execution Act and Article 122 of the Civil Procedure Act.




             FOR VIEWING ONLY


                                                                                                                                     39/39
                              39, Sajik-ro 8-gil, Jongno-gu, Seoul, Korea (zip code) 03170

   Kim & Chang                Tel: 02-3703-1114 Fax: 02-732-7935 E-mail: lawkim@kimchang.com
       Law Firm               Direct line: 02-3703-1512 (Attorney Won Kim) wkim@kimchang.com
                                           02-3703-8506 (Byung Kwan Choi, Office Manager) zbkchoi@kimchang.com
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 52 of 213

      Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
          Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




                                                                 Exhibits

1.    Plaintiff’s Exhibit 1                 Nexon Korea Corporation, Certified Corporate Register

2.    Plaintiff’s Exhibit 2                 Ironmace, Certified Copy of its Corporate Register

3.    1 of Plaintiff’s Exhibit 3            Steam announcement for the first round of Dark and Darker testing

4.    2 of Plaintiff’s Exhibit 3            Steam Announcement for the second round of Dark and Darker testing

5.    3 of Plaintiff’s Exhibit 3            Screen shot capture from Pungwollyang’s broadcast about Dark and Darker
6.    1 of Plaintiff’s Exhibit 4            Decision of provisional seizure against Obligor Ju-Hyun Choi (2021 Kadan 62245)

7.    2 of Plaintiff’s Exhibit 4            Decision of provisional seizure against Obligor Ju-Hyun Choi (2021 Kadan 62246)

8.    3 of Plaintiff’s Exhibit 4            Decision of provisional seizure against Obligor Ju-Hyun Choi (2021 Kadan 62247)

9.    Plaintiff’s Exhibit 5                 Yonhap News Agency, March 8, 2023 - Police seize Ironmace, ‘suspected of leaking Nexon

                                            project’

10.   Plaintiff’s Exhibit 6                 Decision of provisional seizure against Obligor Seung Ha Park

11.   Plaintiff’s Exhibit 7                 ZDNet Korea article from March 27, 2023 - Steam shutdown of Dark and Darker Game

12.   Plaintiff’s Exhibit 8-1               Announcement of additional testing by Obligor Company

13.   Plaintiff’s Exhibit 8-2               Announcement of additional testing by Obligor Company

14.   Plaintiff’s Exhibit 9-1               Complaint of Obligor Company (Suwon District Court 2023 Gahap 13599 case)

15.   Plaintiff’s Exhibit 9-2               Obligor Company temporary injunction application (Suwon District Court 2023 Kahap 10122

                                            case)

16.   Plaintiff’s Exhibit 10-1              Articles on the development of the Dark and Darker Game

17.   Plaintiff’s Exhibit 10-2              Articles on the development of the Dark and Darker Game

18.   Plaintiff’s Exhibit 11                Obligee Company’s investment specifics in P3 Project

19.   Plaintiff’s Exhibit 12-1              Obligee Company’s Security policy (Code of Conduct)

20.   Plaintiff’s Exhibit 12-2              Obligee Company Security Policy (Life Security Guidelines for Nexoners)

21.   Plaintiff’s Exhibit 12-3              Obligee Company’s Security Regulations (information system operation security procedure)

22.   Plaintiff’s Exhibit 12-4              Obligee Company’s Security Regulations (Security Guidelines for Information System

                                            Operation_v1.1)

23.   Plaintiff’s Exhibit 12-5              Obligee Company’s security policy (internal security procedure)

24.   Plaintiff’s Exhibit 13-1              Log record of file transfer from Jenkins server to Ju-Hyun Choi’s account (eeetree)

25.   Plaintiff’s Exhibit 13-2              eeetree.com domain account information

26.   Plaintiff’s Exhibit 14                Logs of access to an external GIT server by Obligor Ju-Hyun Choi

27.   Plaintiff’s Exhibit 15                Full list of materials leaked by Obligor Ju-Hyun Choi

28.   Plaintiff’s Exhibit 16                Content-certified postal mail dated July 9, 2021 from Obligee Company

29.   Plaintiff’s Exhibit 17                Transcript of the July 12, 2021 Disciplinary Committee Meeting

30.   Plaintiff’s Exhibit 18-1              Obligor Ju-Hyun Choi Personnel Card

31.   Plaintiff’s Exhibit 18-2              Obligor Seungha Park Personnel Card




           FOR VIEWING ONLY
             Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 53 of 213
           Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
               Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




 32.   Plaintiff’s Exhibit No. 19            Business card of Obligor Ju-Hyun Choi
 33.   Plaintiff’s Exhibit 20 at 1.          Information Protection Pledge by Ju-Hyun Choi
 34.   Plaintiff’s Exhibit No. 20 at 2.      Ju-Hyun Choi’s Annual Salary and Employment Agreement
 35.   Plaintiff’s Exhibit No. 21 at 1.      User reactions to the Dark and Darker Game
 36.   Plaintiff’s Exhibit No. 21 at 2.      User reactions to the Dark and Darker Game
 37.   Plaintiff’s Exhibit 21 at 3.          User reactions to the Dark and Darker Game
 38.   Plaintiff’s Exhibit 21 at 4.          User reactions to the Dark and Darker Game
 39.   Plaintiff’s Exhibit 21 at 5.          User reactions to the Dark and Darker Game
 40.   Plaintiff’s Exhibit 22 at 1.          Dark and Darker Game Barbarian character image
 41.   Plaintiff’s Exhibit 22 at 2.          Dark and Darker Game Cleric character Image
 42.   Plaintiff’s Exhibit 22 at 3.          Dark and Darker Game Fighter character image
 43.   Plaintiff’s Exhibit 22 at 4.          Dark and Darker Game Wizard character image
 44.   Plaintiff’s Exhibit 22 at 5.          Dark and Darker Game Rogue character Image
 45.   Plaintiff’s Exhibit No. 22 at 6.      Dark and Darker Game Ranger character image
 46.   Plaintiff’s Exhibit No. 23            Barbarian image search results
 47.   Plaintiff’s Exhibit No. 24 at 1.      Dark and Darker Game Barbarian described
 48.   Plaintiff’s Exhibit No. 24 at 2.      Dark and Darker Game Cleric described
 49.   Plaintiff’s Exhibit No. 24 at 3.      Dark and Darker Game Fighter described
 50.   Plaintiff’s Exhibit No. 24 at 4.      Dark and Darker Game Wizard described
 51.   Plaintiff’s Exhibit No. 24 at 5.      Dark and Darker Game Rogue described
 52.   Plaintiff’s Exhibit No. 24 at 6.      Dark and Darker Game Ranger described
 53.   Plaintiff’s Exhibit No. 25            Introduction to the Dark and Darker Game
 54.   Plaintiff’s Exhibit No. 26            Dark and Darker Game screenshot capture for torches


                                                              Appendices
1.     Separate Sheet 1 - Similarities between the Two Games
2.     Litigation Power of Attorney
3.     Certified Corporate Register (NEXON Korea)
4.     Certified Corporate Register (IRONMACE)

                                                                April 14, 2023

                                                                                                                    Counsel for Obligee Company

                                                                                                                           Attorney Hyeon Ho Eun

                                                                                                                          Attorney Min Jeong Park

                                                                                                                         Attorney Cheon Woo Son




                     FOR VIEWING ONLY
                Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 54 of 213

       Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
           Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




                                                                                                                                    Attorney Won Kim

                                                                                                                                  Attorney Jin Seok Ju

                                                                                                                               Attorney Soo Yong Lee

To the attention of Suwon District Court




                    FOR VIEWING ONLY
           Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 55 of 213

     Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee;
         Submitted at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time cut off] on [MM DD cut off] in 2023




[Separate Sheet 2] Trade secrets of Obligee Company leaked by Obligor Ju-Hyun Choi


/P3/P3GameDedicatedServer_452/P3Game/Binaries/Win64/P3GameServer.exe
/P3/P3GameDedicatedServer_452/P3GameServer.exe
/P3/P3GameDedicatedServer_452/Manifest_NonUFSFiles_Win64.txt
/P3/P3GameDedicatedServer_452/Manifest_DebugFiles_Win64.txt
/P3/P3GameDedicatedServer_452/Engine/Content/SlateDebug/Fonts/LastResort.ttf
/P3/P3GameDedicatedServer_452/Engine/Content/SlateDebug/Fonts/LastResort.tps
/P3/P3GameDedicatedServer_452/Engine/Binaries/ThirdParty/Windows/WinPixEventRuntime/x64/WinPixEventRuntime.dll
/P3/P3GameDedicatedServer_452/Engine/Binaries/ThirdParty/Vorbis/Win64/VS2015/libvorbisfile_64.dll
/P3/P3GameDedicatedServer_452/Engine/Binaries/ThirdParty/Vorbis/Win64/VS2015/libvorbis_64.dll
/P3/P3GameDedicatedServer_452/Engine/Binaries/ThirdParty/PhysX3/Win64/VS2015/PxPvdSDKPROFILE_x64.dll
/P3/P3GameDedicatedServer_452/Engine/Binaries/ThirdParty/PhysX3/Win64/VS2015/PxFoundationPROFILE_x64.dll
/P3/P3GameDedicatedServer_452/Engine/Binaries/ThirdParty/PhysX3/Win64/VS2015/PhysX3PROFILE_x64.dll
/P3/P3GameDedicatedServer_452/Engine/Binaries/ThirdParty/PhysX3/Win64/VS2015/PhysX3CookingPROFILE_x64.dll
/P3/P3GameDedicatedServer_452/Engine/Binaries/ThirdParty/PhysX3/Win64/VS2015/PhysX3



                                                                                                                                           1/322
           Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 56 of 213




                      CERTIFICATION OF TRANSLATION
                                                         and
                                               DECLARATION


State of California           )

                              )          S. S.

Los Angeles County            )




         I, Soomi Ko, the undersigned, declare that I am a duly certified Korean Court Interpreter
         approved by the United States District Courts, certified by the State of California and the Los
         Angeles County Superior Courts, with competent knowledge of Korean and English, and that
         I have truthfully and correctly translated for Nexon Korea Corporation v. Ironmace Co., Ltd.,
         et al., Case No. 2:23-cv-00576-MLP (W.D. Wash.) from Korean to English and that the said
         translation is, to the best of my knowledge and belief, a true and correct translation. I further
         declare that I am neither counsel for, related to, nor employed by any of the parties, and that I
         have no financial or other interest in the outcome of any action related to this translation. I
         declare that the foregoing is true and correct.

                                          Description of Translated Documents

                                  Nexon’s Application for Temporary Injunction



Executed on June 6, 2023




Soomi Ko

California State Certified Court Interpreter
#300732
(213) 999-7848(Cell)
soomi@komartin.com
www.komartin.com


                                    Ko & Martin Certified Interpreters and Translators
                                    Specializing in Korean and Chinese Languages
Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 57 of 213




                EXHIBIT 2
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 58 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




        Application for Temporary Injunction Against Business Obstruction


Obligee                  Ironmace Co., Ltd. (Corporate Registration No.: 131111-0648617)
                         (Sampyeong-dong Pangyo Tower Suites 401-402) 16, Pangyo Station Road 192beon-gil,
                         Bundang-gu, Seongnam-si, Korea
                         Corporate Representative: Terence Seungha Park, inside director, a U.S. national


                         Counsel for Obligee
                            LIN, a Law Corporation
                            (Seocho-dong G5 Central Plaza Suite 326) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul, Korea
                            Attorneys handling this case: Yong Gap Kim, Dong Hwan Shin, Jae Gu Lee, Jang Hoon Han
                              (Tel: +82-2-3477-8695 Fax: +82-2-3477-8694)


Obligor                  Nexon Korea Corporation (Corporate Registration No.: 110111-3320241)
                         7, Pangyo-ro 256beon-gil (Sampyeong-dong), Bundang-gu, Seongnam-si, Korea
                         CEO: Jeong Heon Lee


Amount in controversy: KRW100,000,000
The gist of the right of conservation: Business Obstruction Injunction Claim, etc.



                                                             Purpose of Application
We seek a decision that:
1. Obligor shall not engage in any acts listed in [Separate Sheet] that interferes with Obligee’s “Dark and
Darker” game service business.
2. The bailiff shall publicly post the purpose of Paragraph 1 in an appropriate manner.
3. If Obligor violates the order set out in Paragraph 1, Obligee shall pay Obligor KRW1,000,000,000 per
violation.
4. The costs of litigation shall be borne by the Obligor.




                      FOR VIEWING ONLY
                Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 59 of 213



Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




 Table of Contents

 Application Purpose ---------------------------------------------------------------------------------- 1
 Reason for Application --------------------------------------------------------------------------------------------------1
 I. Status of the Parties ------------------------------------------------------------------------------------------------- 1

   1. Obstruction of business by Obligor ---------------------------------------------------------------------------- 1

   2. Infringement of legally protectable goodwill and damage to credence and reputation ------- 4

 III. The Unreasonableness of Obligor’s “P3 Game” Copyright Infringement Claims ------------------ 6

   1. Summary of Obligor’s claim for copyright infringement ------------------------------------------------6

   2. Unreasonableness of Obligor’s alleged infringement of the “P3 Game” program copyright

         (the aspect of identical filename) ----------------------------------------------------------------------------- 7

   3. Unreasonableness of alleged infringement of copyright related to character design ----------- 10

       A. Summary of Obligor warning letter allegations --------------------------------------------------------------- 10

        B. Characters from medieval or ancient fantasy worlds that appear in prior works -------------------------- 11

        C. Comparison with prior works -------------------------------------------------------------------------------------- 14

       D. Sub-conclusion ------------------------------------------------------------------------------------------------------ 17

   4. Unreasonableness of copyright infringement claims related to Setting / Structural Design - 18

       A. Summary of Obligor warning letter Allegation ---------------------------------------------------------------- 18

        B. Comparison with prior works ----------------------------------------------------------------------------------- 19

        C. Sub-conclusion ------------------------------------------------------------------------------------------------------ 21

   5. Unreasonableness of copyright infringement claims related to Key Concept (Genre, Storyline,

        Detailed Elements of the Games) ------------------------------------------------------------------------------- 21

       A. Summary of Obligor warning letter Allegations -------------------------------------------------------------- 21



                               Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
        LIN, a Law
         Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 60 of 213




Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




  B. Game Description ---------------------------------------------------------------------------------------------------- 24
  C. Comparison of individual Characteristics ------------------------------------------------------------------------- 25
  D. Whether the combination of the above features creates a character or personality that distinguishes
          the game from other games -------------------------------------------------------------------------------------- 32
  E. Characterization and personality of “Dark and Darker” --------------------------------------------------------- 33
  H. Sub-conclusion --------------------------------------------------------------------------------------------------------- 34
6. Sub-conclusion

IV. Unreasonableness of Trade Secret Infringement Claim



                                                                                                                                                          35

V. Necessity for Conservation                                                                                                                             37

1. It is clear that Obligee’s obstruction of business, such as its takedown request to Steam, will

     continue and be repeated --------------------------------------------------------------------------------------                                      37

2. Online service providers such as Valve are likely to stop publishing Obligee games if there

     Is behavior such as this takedown request ---------------------------------------------------------------- 38

3. Given the need for the timely release of Obligee’s game and Obligee’s financial condition, it is clear

     that Obligee will suffer irreparable harm as a result of the cease-and-desist request of this case

     ---------------------------------------------------------------------------------------------------------------------------                          39-

4. Sub-conclusion ---------------------------------------------------------------------------------------------------------                               39

VI. Jurisdiction ------------------------------------------------------------------------------------------------------------ 40

VII. Supplementary discussions - How it has happened -------------------------------------------------------- 40

 1. Introduction----------------------------------------------------------------------------------------------------------- 40

 2. How Obligor proceeded with “LF Project” ---------------------------------------------------------------                                               43

 3. How Obligor proceeded with “P3 Project”----------------------------------------------------------------- 45

 4. How Obligor proceeded with disciplinary termination of Ju-Hyun Choi ----------------------- 46

 5. How Obligor aborted “P3 Project” and how the Obligee company was formed ------------                                                                  48
                           Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
     LIN, a Law
     Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619
                  Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 61 of 213




Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




      6. How Obligee proceeded with “Dark and Darker” ------------------------------------------------- 49

      7. Smashing hit of “Dark and Darker” ----------------------------------------------------------------- 50

      8. How Obligor proceeded with business obstruction using warning letter and takedown --- 51

      9. Sub-conclusion --------------------------------------------------------------------------------------------- 53

      VIII. Conclusion -------------------------------------------------------------------------------------- 54

   Exhibits ---------------------------------------------------------------------------------------------------------- 55

   Appendices ------------------------------------------------------------------------------------------------------------------ 56




                                Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
          LIN, a Law
          Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619
                   Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 62 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




                                                              Reason for this Application


    I. Status of the Parties

       Obligee, founded on October 20, 2021, is a company engaged in the game software development, supply, and
       service business, and is the right holder that developed the game “Dark and Darker” and holds all rights,
       including copyrights, related to it. Obligee uploaded the game to a game publishing platform called Steam for
       a test run, and during the test run, the game gained sensational popularity like a whirlwind among Steam users
       around the world, with approximately 2 million unique users (see Exhibit 1, Dark and Darker Box Office
       Records) and approximately 100,000 concurrent users, making Dark and Darker a game that was destined for
       massive box office success upon release. Obligee is now fully prepared to release Dark and Darker, and was
       planning to release the game on Steam and other gaming platforms, but Obligor’s business obstruction has
       made this impossible to accomplish now.


       Obligor is a company established in December 1994, engaged in the production and distribution of game
       development software, etc., and conducted a game development project named “P3” around August 2020
       (hereinafter referred to as the “P3 Project,” and the game that was to be developed in the “P3 Project” is
       referred to as the “P3 Game”), and discontinued the “P3 Project” around July 2021.


    II. Right of Conservation


      1. Business obstruction by the Obligor


       When the game “Dark and Darker” became a huge hit among Steam users around the world, which even
       Obligee could not even have predicted, Obligor suddenly sent a warning letter to the executives and
       employees of the Obligee (Terence Seungha Park and Ju-Hyun Choi, who are not parties to this Application)
       through a large American law firm on March 23, 2023, stating that the reproduction, distribution, transmission,
       etc., of Obligee’s “Dark and Darker” infringes Obligor’s copyright.




                    FOR VIEWING ONLY
                             Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
       LIN, a Law
       Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 63 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




        In particular, the warning letter to non-party Ju-Hyun Choi was sent to Ju-Hyun Choi’s home. In the warning
        letters, Obligee alleged that Obligee must cease and desist from reproducing, distributing, transmitting, and
        otherwise infringing on Obligor’s copyrights in the “Dark and Darker” game and remove the test version of
        the game from Steam (see warning letters 1 and 2 in Plaintiff’s Exhibits 2-1 and 2-2). Below are Obligor’s
        demands as set forth in the warning letters received by Obligee’s executives and employees.


               Excerpt from page 4 of Obligor’s warning letter dated March 23, 2023 (Plaintiff’s Exhibit 2-1)
          1. Immediately cease and desist all further development, testing, production, reproduction,
          publishing, provision, distribution, transmission, display, performance, advertising, licensing, and
          sale of the materials and the game created from the misappropriation and infringement, including
          the removal of all test version from Steam;
          2. Preserve all evidence related to Dark and Darker and to all related acts that Ironmace has done for
          the creation of Dark and Darker, as described above;
          3. explain how you and Ironmace intend to return and/or dispose of any confidential and proprietary
          information of Nexon that you have in your possession; and
          4. Provide a written assurance, within one week of receipt of this letter, that Ironmace has taken the
          requested steps.




        In addition, on March 22, 2023, one day before sending the above warning letter, Obligor sent a Notice of
        Copyright Infringement ... and Misappropriation of Trade Secrets to Valve Corporation, a non-party U.S.
        corporation (hereinafter referred to only as “Valve”), which operates the Steam platform, alleging that “Dark
        and Darker” infringes Obligor’s copyright and demanding that “Dark and Darker” be taken down (Plaintiff’s
        Exhibit 2: Notice of Copyright Infringement on Steam).




                               FOR VIEWING ONLY
                                 Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
           LIN, a Law
           Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                             2
                       Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 64 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




             Excerpt from page 2 of Obligor’s Notice of Copyright Infringement to Steam dated March 22, 2023
                                                  (Plaintiff’s Exhibit 3).
             Based on our investigation, Dark and Darker appears to have been built and developed using trade secrets as
             well as copyrighted information copied and stolen from Nexon. Under U.S. law, Ironmace’s actions constitute,
             among other violations, misappropriation of Nexon’s trade secrets such as source codes, art resources, build
             files, and other company intellectual propeπy under the Defend Trade Secret Act (the “DTSA”) and
             infringement of copyrighted materials such as Literary Work (e.g., source codes), Works of Visual Arts (e.g.,
             character designs), and Motion Picture IAV Work (e.g., Playtest video) under the Copyright Act.


           At Obligor’s request, Valve took down a link to a webpage on Steam where Obligee was preparing to launch
           the Dark and Darker game, so that game users could no longer access the Dark and Darker game page.


           Notably, Obligee has not taken any legal action to date alleging copyright infringement by Obligor, other than
           filing a lawsuit in 2021 against Obligee employee non-party Ju-Hyun Choi alleging trade secret infringement,
           because Obligor knows better than anyone that Obligee’s “Dark and Darker” game does not infringe Obligor’s
           copyright. In other words, Obligor is sneakily obstructing Obligee’s business by sending warning letters, etc.,
           to third parties while avoiding legal disputes.1


           Obligor’s actions are clearly intentional torts (business obstruction) in that they have no objective basis other
           than Obligee’s suspicions and speculations about copyright infringement. In its warning letter, Obligor
           provides a lengthy explanation of the basis for its alleged copyright infringement, but as shown in “III. The
           Unreasonableness of Obligor’s “P3 Game” Copyright Infringement Claim,” below, it is all one-sided
           allegations without any rational basis.




                               FOR VIEWING ONLY
       1   Prior to this application for a temporary injunction, Obligee filed a lawsuit against Obligor for confirmation of copyright non-
           infringement and injunction against business obstruction (Suwon District Court 2023 Gahap 13599), which is a mainstream lawsuit
           to confirm that Obligee’s game does not infringe Obligor’s copyright.



                                  Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
            LIN, a Law
            Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619

                                                                                                                                                                              3
                      Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 65 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




           2. Infringement of legally protectable goodwill and damage to credence and reputation

           Copyright is a quasi-property right, and the Copyright Act provides that the copyright holder has the exclusive
           and unrestricted right to exercise the moral rights of the author set forth in Articles 11 through 13 and the
           copyright property rights set forth in Articles 16 through 22 of the Act. Obligee’s “Dark and Darker” game is
           a copyrighted work and an achievement made by Obligee with considerable investment and effort, and
           Obligee has the right to freely conduct business activities utilizing such “Dark and Darker” game, which is a
           right worthy of protection under the law. Therefore, if another person interferes with Obligee’s free business
           activities using the “Dark and Darker” game, resulting in a direct infringement of Obligee’s interests, it is a
           tort under civil law, and Obligee may seek to prohibit or prevent the business obstruction.2




                             FOR VIEWING ONLY
       2   See Supreme Court decision 2008 Ma 1541 on Aug. 25, 2010. Prior to the enactment of Article 2 of the Unfair Competition Prevention
           Act, it was held that “the act of unauthorizedly using for one’s own business, contrary to common decency or the order of fair
           competition, the achievements built by a competitor with considerable effort and investment, in order to gain unfair profits and infringe
           the competitor’s legally protectable interests, constitutes an unfair competition act and an illegal act under civil law, It is difficult to
           expect the effectiveness of victim relief by only ordering monetary compensation due to the continuation of the above unauthorized
           use, and it will be said that if the victim’s interest is greater when comparing and bridging the interests of the victim protected by the
           injunction against unauthorized use and the disadvantage of the perpetrator caused by it, the injunction or prevention of the act can be
           claimed.” The court ruled that if an act that infringes on a bond right rather than a real right is established as an illegal act that infringes
           on legal interests, it is of course possible to claim injunction or prevention of the act.




                                   Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
              LIN, a Law
              Corporation          Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619



                                                                                                                                                                               4
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 66 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




        In addition, with regard to whether a person who has been infringed by an act that lowers his or her social evaluation,
        such as honor or credit, can seek damages in tort and also recognize a claim for exclusion or prevention of the
        infringement, the court held that “honor is a very important protective legal interest along with life and body, and the
        right to honor as a right of personality is said to be a right that has exclusivity as in the case of real rights, Honor, which
        is an objective evaluation of a person’s character, virtue, reputation, credit, and other personal values received from
        society, is an exclusive right, just as in the case of property rights, and a person who has been illegally infringed on his
        or her honor may seek damages or disposition to restore his or her honor, but due to its nature, it is difficult to fully
        recover the damage through remedies (such as monetary compensation or disposition to restore honor) after it has been
        infringed, and it is difficult to expect the effectiveness of the damage transfer, In the case of an infringement of a
        personality right, the right to an injunction, such as suspension or prevention of infringement, is recognized as a
        preliminary (preventive) remedy, and effective enforcement of a judgment ordering an omitted obligation is necessary
        if, at the time of the conclusion of the arguments in the proceedings concerning the omitted obligation, there is a
        possibility that the obligor will violate the obligation within a short period of time even if the right to enforcement
        (execution) is established, and the appropriate amount of compensation to be ordered under Article 261 of the Civil
        Enforcement Act can be calculated in the judgment proceedings, In the adjudication proceedings concerning the omitted
        debt, the court may also order certain compensation in the event that the obligor defaults on the debt in the future in
        accordance with the above-mentioned statute,” thus making it clear that the right to honor, as a type of personal right, is
        entitled to a claim for non-infringement and even indirect compulsion, just like a real right (Supreme Court decision 93
        Da 40614 on April 12, 1993; Supreme Court decision 2003 Ma 1477 on January 17, 2005, and other cases).


        As described above, Obligor’s sending of copyright infringement warning letters to the homes of Obligee’s employees,
        as well as Valve, the operator of the Steam platform on which the “Dark and Darker” game is scheduled to be released,
        alleging copyright infringement of Obligee without reasonable grounds, and the takedown of links to the “Dark and
        Darker” game webpage, have caused Obligee to suffer staggering damage to its business utilizing the copyright and
        other rights of the “Dark and Darker” game, including an unexpected delay in the release of the “Dark and Darker” game.
        In addition, Obligor’s act of sending a letter claiming copyright infringement to a third party is also damaging Obligee’s
        credence, reputation, and other intangible values.




                           FOR VIEWING ONLY
                                 Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
          LIN, a Law
          Corporation            Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                             5
                       Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 67 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




          Obligor’s behavior as described above constitutes a civil law tort that simultaneously interferes with the free
          conduct of business and damages intangible values such as Obligee’s credence and reputation, and Obligee
          may seek to enjoin or prevent Obligor from engaging in such flagrant misconduct.



     III. The Unreasonableness of Obligor’s Allegation of “P3 Game” Copyright Infringement

         1. The gist of Obligor’s allegations of copyright infringement

          The gist of Obligor’s argument, based on the contents of the warning letter (Plaintiff’s Exhibits 1 and 2), is
          that (i) the filenames of 2,338 resources listed in the warning letter [Exhibit C] are identical between the Dark
          and Darker game and the “P3 Game “program, and (ii) the Character Design, Setting, Structural Design, and
          Key Concept listed in the warning letter [Exhibit D] are identical.3


          A game work is a composite work that combines a literary work, a musical work, an artistic work, a visual
          work, and a computer program work. A computer game or mobile game includes characters, items, and
          wallpapers that respond to certain scenarios and game rules through the operation of the game user, a computer
          program that technically operates the game, and visuals implemented through the game, It is a work that is
          organically combined, and (i) in addition to considering the creativity of each of the components that
          constitute the game, (ii) as the components are selected, arranged, and combined in the process of being
          technically implemented according to a certain production intention and scenario, they are combined as a
          whole to the extent that the game itself is protected as a work with a creative personality that is distinct from
          other game works.4




                                 FOR VIEWING ONLY
     3
         Because the copyright infringement allegations in each warning letter (Plaintiff’s Exhibits 2-1 and 2-2) and the Notice of Copyright Infringement to Steam (Plaintiff’s Exhibit
          3) are identical, for convenience, we will discuss the unreasonableness based on the Obligor’s allegations in the warning letter to Ironmace (Plaintiff’s Exhibit 1-1).
     4
         See Supreme Court decision 2017 Da 212095, dated June 27, 2019.




                                   Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
          LIN, a Law
          Corporation              Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619


                                                                                                                                                                                     6
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 68 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




        The allegations in the Obligor warning letter are extremely abstract, making only formal assertions of
        similarity between certain elements, such as that some files have the same “filename,” or that “Character,”
        “Setting and Structure,” and “Key Concept” are similar, but making no allegations as to the specific basis for
        the similarity, the selection and arrangement of the elements, or how the allegedly similar elements are
        creatively original compared to the prior work. Moreover, the individual components that Obligor claims are
        similar are all based on tropes that a medieval fantasy game would inevitably adopt, leaving no room for the
        author’s creatively original individuality to be recognized in the first place. Obligor’s claim is tantamount to
        asserting Obligor’s rights to the entirety of the first-person perspective dungeon game.


        Below, we will specifically explain that (i) the identicality of some filenames cannot be a basis for copyright
        infringement, (ii) the components that Obligor claims to be similar in the warning letter are all components
        that have no room for creatively original individuality when compared to the prior work, and (iii) “Dark and
        Darker” is a completely separate work because it selects and arranges different components under different
        production intentions and scenarios than “P3 Game.”


       2. The unreasonableness of Obligor’s alleged copyright infringement of the “P3 Game”
       program (the aspect of identical filename)


        It is not clear from Obligor’s warning letter to Third Parties that Obligor is claiming copyright in the “P3
        Game” program, but based on the entirety of the filename allegation, it appears that Obligor is alleging the
        sameness or similarity between the source code of Obligee’s Dark and Darker program and the source code
        of the “P3 Game” program.




                              FOR VIEWING ONLY
                                Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
          LIN, a Law
          Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619


                                                                                                                                                                            7
                   Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 69 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




        Obligor’s only evidence in this regard is that some of the filenames of the “Dark and Darker” and “P3 Game”
        programs are identical. In order to establish copyright infringement, the source code of the “P3 Game”
        program must first be identified as a creative expression that is protected under copyright law, and there must
        be a substantial similarity between the source code of the “P3 Game” program and the source code of the
        “Dark and Darker” program. In particular, as shown below, Obligor already knows why some of the file
        names of the two games are identical, but it intentionally conceals this fact in order to allege copyright
        infringement.


        First of all, a resource “filename” is not a programmatic work per se, as the Obligor warning letter allegation
        itself suggests, as it is simply a name that identifies a file, not the source code itself.5


        Specifically, 1,306 of the 2,338 resource files for which Obligor challenges identical filenames are files that
        are automatically generated when using “Unreal Engine,” and 950 of the remaining 1,032 resource files are
        files that are naturally identical because they were all purchased and used commercial assets sold on Unreal
        Engine’s Marketplace (see Plaintiff’s Exhibit 4 for a list of the 950 resource filenames purchased from Unreal
        Marketplace).




                         FOR VIEWING ONLY
    5   A “resource file” is a file that, in addition to the source code, contains various images, menu layouts, and other information needed for
        the program to work.



                              Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
         LIN, a Law
         Corporation          Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                          8
                   Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 70 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




        Furthermore, “P3 Game” and “Dark and Darker” are two very different games that share only a medieval
        fantasy world, but they were developed by the same director, Ju-Hyun Choi, and many of the same team
        members. In program development, where collaboration is highly valued, it’s especially important to establish
        uniform practices among team members, such as following the same coding and file naming conventions, so
        that one developer’s coding style and habits don’t become unrecognizable to other developers.


        In particular, because game development using Unreal Engine often utilizes commercially available assets
        that are sold as commodities, the manufacturer of Unreal Engine, Epic Games, Inc, a non-party U.S.
        corporation (hereinafter referred to as “Epic Games”), has directly provided naming conventions for resource
        filenames and recommends that they be named accordingly (see Plaintiff’s Exhibit 5, Unreal Engine Naming
        Conventions).6


                                              See Unreal Engine Naming Conventions (Plaintiff’s Exhibit 5) at p. 1



               As you work on your projects in Unreal Engine (UE), you may find that the list of assets in the Content
               Browser gradually grows. This can unnecessarily increase the number of variations of the assets you
               are tweaking, or cause confusion due to overly similar asset names. For example, if you have a folder
               named “Soldier” with Blueprints, text, and models in it, and they all have the word “Soldier” in their
               names, it can be difficult to tell them apart from each other with a simple list.

               For large projects, it’s a good idea to establish a common naming convention for individual assets early
               on in development, so that the development team can find files more easily and avoid conflicts and
               confusion. The naming conventions below reflect how Epic Games names assets in sample projects,
               such as in-camera VFX production testing.




                               FOR VIEWING ONLY
    6   https://docs.unrealengine.com/5.0/ko/recommended-asset-naming-conventions-in-unreal-engine-projects/



                                 Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
          LIN, a Law
           Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                             9
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 71 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




                         Examples of filename naming according to Unreal Engine naming conventions
          Blueprint (BP_) + Arrow (Arrow) => BP_Arrow ([Exhibit D] p. 33)
          Material (M_) + Base (Base) => M_Base ([Exhibit D] p35)


         So, with the exception of (i) the 1,306 resource files that are automatically generated when using Unreal
         Engine and (ii) the 1,032 resource files that are identical because we used commercial assets purchased from
         the Market, the remaining 82 resource filenames (41 of which are exactly the same, as the same filename
         generates two files with different extensions7) are only identical because we followed Unreal Engine’s naming
         conventions in using words that are commonly used in FPS or fantasy games (Arrow, Fireball, Walk, Crouch,
         etc.).


         After all, given the fact that only 82 resource filenames out of a total of approximately 75,000 resource files
         in the Obligee’s game (about 0.1%) are identical to those in Obligor, and that this is the result of applying the
         naming conventions provided by Unreal Engine, the fact that some resource filenames are identical is not
         even a circumstantial fact that could establish similarity between the “Dark and Darker” program work and
         the “P3 Game” program work.




    3. Unreasonableness of copyright infringement claims related to character designs


        A. The gist of the Obligor warning letter allegations


         First, it is unclear whether the Obligor warning letter’s allegation of similarity between the characters in the
         “P3 Game “is (i) an allegation that the characters themselves are a separate work from the P3 Game, or (ii) a
         allegation of similarity as a component of the P3 Game’s work.




                       FOR VIEWING ONLY
    7   For example, “BP_Arrow.uasset” and “BP_Arrow.uexp”




                              Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
        LIN, a Law
         Corporation          Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                          10
                      Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 72 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




            In order for the characters in “Dark and Darker” to be recognized as similar to the characters in “P3 Game”
            under copyright law, there must be “the author’s creatively original personality revealed in the visual
            representation of the person, animal, etc.’s appearance, behavior, etc.” and there must be a recognized
            similarity between the forms of creative expression.8


            However, (i) the characters that Obligor claims to be similar in the “P3 Game” and “Dark and Darker” are all
            visual representations of elements that people recognize as typical of classes in a typical medieval or ancient
            fantasy world, in order to make them as familiar as possible, and they do not have any creatively original
            personalities that contrast with the Prior Works, (ii) the fact that the “P3 Games” and “Dark and Darker”
            feature six classes - Barbarian, Ranger, Rogue, Wizard, and Fighter - is also typical of medieval or ancient
            fantasy games and does not constitute an element of creatively original individuality as a game work.


           B. Characters from a medieval or ancient fantasy world that appear in prior works


            Dungeons & Dragons is considered to be the first role-playing game and the first to introduce a medieval
            fantasy world into gaming. Since then, many games have been inspired by the world, game rules, etc., of
            Dungeons & Dragons, and the characters within the medieval fantasy world of Dungeons & Dragons have
            become archetypal and have been used in various works, including games, novels, and movies.




                               FOR VIEWING ONLY
       8   See Supreme Court decision 2007 Da 63409 on Feb. 11, 2010.




                                  Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
             LIN, a Law
             Corporation          Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                              11
                       Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 73 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




            While Dungeons & Dragons has seen many iterations, with the fifth edition recently released in 2014, the
            basic concept of “adventurers working together to explore dungeons (dungeons), suffering hardships and
            gaining treasure and experience” remains the same (see Plaintiff’s Exhibit 6, Dungeons & Dragons_Tree
            Wiki).


            In Dungeons & Dragons, which was first released in 1974, adventurers choose one of eleven classes and role-
            play a character based on that class (see Plaintiff’s Exhibit 7 at 1, Dungeons & Dragons Class
            Descriptions_Wikipedia, et al.


                    Profession (Class)                                                                    Features9
                Barbarian                            The Barbarian is a playable character class in the Dungeons & Dragons fantasy
                                                     role-playing game. The class was introduced in 1985 and has undergone several
                                                     evolutions in subsequent editions of the game. It is considered the archetypal
                                                     warrior, using brute strength and primal rage to excel in battle.
                Bard (Bard)                          A bard is traditionally defined as “a poet, especially one who writes passionate,
                                                     lyrical, or epic poetry.” In the fantasy tabletop role-playing game Dungeons &
                                                     Dragons, the bard is a playable class that centers on the idea of accessing magic
                                                     through some form of artistic expression.
                Cleric                               The cleric is one of the standard character classes playable in the Dungeons &
                                                     Dragons fantasy role-playing game. The cleric is a well-rounded character, skilled
                                                     in combat and skilled in the use of divine magic (necromancy). Clerics are powerful
                                                     healers due to the many healing and curing spells available to them. Endowed with
                                                     divine powers over life and death, they can also repel or control undead creatures.
                Druid                                Druids use nature-themed magic. Unlike clerics, druids have no special powers
                                                     over the undead and, in some versions, cannot use metal armor. Druids have the
                                                     unique ability to change into various animal forms and a variety of other traits that
                                                     help them in their natural environment.




                            FOR VIEWING ONLY
        9   This is an English translation of the Dungeons & Dragons Class Description (Plaintiff’s Exhibit 7-2).




                                  Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
             LIN, a Law
             Corporation          Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                              12
                      Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 74 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




               Fighter                               The fighter is one of the standard character classes playable in the Dungeons &
                                                     Dragons fantasy role-playing game. A fighter is a versatile, weapon-oriented
                                                     warrior who uses skill, strategy, and tactics to fight. The fighter is a general and
                                                     broad class. Individual fighters come from a variety of backgrounds and styles. A
                                                     bodyguard, an adventurer, a former soldier, an invading bandit king, or a master
                                                     swordsman are all fighters, but they come from different classes and backgrounds
                                                     and often have very different personalities, goals, and sides in a conflict.
               Monk                                  In Dungeons & Dragons, monks are fantasy martial artists who specialize in
                                                     unarmed combat.
               Paladin                               Paladins are holy knights and divine spellcasters who wage crusades in the name
                                                     of goodness and order.
               Ranger                                The Ranger is one of the standard character classes playable in most editions of the
                                                     Dungeons & Dragons game. Rangers are skilled woodsmen/woodworkers and
                                                     often lived as hermits.
               Rogue                                 The rogue, or thief, is one of the standard character classes playable in most editions
                                                     of the Dungeons & Dragons fantasy role-playing game. The Rogue is a versatile
                                                     character capable of stealthy combat and nimble tricks. Rogue is stealthy and agile,
                                                     and in early editions was the only official base class in the Player’s Handbook that
                                                     could find and disarm traps and pick locks. Rogues can also “sneak attack”
                                                     (“backstab” in earlier versions) enemies who are caught off guard or surprised,
                                                     dealing extra damage.
               Sorcerer                              Sorcerers are masters of arcane magic, which is generally the most powerful form
                                                     of D&D magic, although they are weak in close combat. A Sorcerer’s magical
                                                     abilities are innate, not studied or bargained for.
               Enchantress (Warlock)                 Warlocks gain their powers through the influence of supernatural beings such as
                                                     demons or spirits; they are either born with these powers or gain them through a
                                                     corrupted pact that turns their souls into dark fonts of bizarre power. Warlocks do
                                                     not cast spells, but instead use spell-like abilities called “invocations.”
               Wizard                                The wizard is one of the standard character classes in the Dungeons & Dragons
                                                     fantasy role-playing game. Wizards use arcane magic and are considered less
                                                     effective in close combat than other classes.

          This distinction between classes with unique characteristics has become a staple of not only Dungeons &
          Dragons, but of many other fantasy games, novels, and movies. Of these classes, Fighter, Cleric, Rogue,
          Ranger, and Wizard, which appear in both the “P3 Game “and Dark and Darker, are all described as “one of
          the standard character classes” and are therefore integral to the fantasy world.




                                  FOR VIEWING ONLY
                                Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
          LIN, a Law
          Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                            13
                      Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 75 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




          The classes in “P3 Games” and “Dark and Darker” are also composed of typical elements of classes in
          medieval fantasy worlds that appear in prior works that everyone recognizes, without any of the author’s
          creatively original personality showing through.


       C. Comparison to prior works


          The Prior Character Works (Plaintiff’s Exhibit 8) include visual representations of characters with typical
          characteristics of “Barbarian,” “Cleric,” “Fighter,” “Wizard,” “Rogue,” and “Ranger.”


          Below is a comparison of the visual representations of the characters listed in Exhibit 8 to the visual
          representations of the characters in “P3 Game” and “Dark and Darker,” which are recognized as archetypal
          images in numerous games, novels, movies, and other works.


            (1) Barbarian
                              Prior work                                 P3 Game Character                            Dark and Darker Characters




                Typically characterized by a large, muscular build, axe, iron helmet, and beard, reminiscent of
                a Viking warrior.




                             FOR VIEWING ONLY
                                  Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
            LIN, a Law
            Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619



                                                                                                                                                                              14
                     Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 76 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




          (2) Cleric
                            Prior work                                  P3 Game Character                           Dark and Darker Characters




              Typical features include chainmail, white clothing, and maces, reminiscent of the Crusades.




           (3) Tanker (Fighter)
                            Prior work                                  P3 Game Character                           Dark and Darker Characters




              Typical features include plate armor, swords, helmets, and shields reminiscent of medieval knights.




                          FOR VIEWING ONLY
                               Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
         LIN, a Law
         Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619



                                                                                                                                                                           15
                   Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 77 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




         (4) Wizard
                          Prior work                                  P3 Game Character                           Dark and Darker Characters




            Appearance reminiscent of an elderly scholar, with typical features including a top hat, robes,
            and cane.



        (5) Thief (Rogue)
                    Prior work                                        P3 Game Character                           Dark and Darker Characters




            Characterized by hoods, leather or cloth clothing, daggers, and swift movements reminiscent of
            an assassin or thief.




                          FOR VIEWING ONLY
                               Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
         LIN, a Law
         Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                           16
                       Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 78 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




            (6) Ranger
                              Prior work                                 P3 Game Character                            Dark and Darker Characters




                Typical features include bows, hoods, and leather or cloth clothing reminiscent of archers like
                Robin Hood.



           It’s fair to say that the archetypal traits of medieval fantasy characters have been used in countless games,
           novels, and movies, leaving little room for the author’s creatively original personality to shine through.


           Rather, we find that the characters in “P3 Game” and “Dark and Darker” are entirely separate works, with
           differences in posture, appearance, props, colors of clothing, and shapes of weapons that allow room for
           creatively original personalities to emerge.


       D. Sub-conclusion


           The common elements between the characters in “P3 Games” and “Dark and Darker” are merely the typical
           traits of medieval or ancient fantasy characters from decades ago, and there is nothing in common between
           them that leaves room for the author’s creatively original personality to shine through.




                             FOR VIEWING ONLY
                                  Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
            LIN, a Law
            Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619



                                                                                                                                                                              17
                     Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 79 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




        Obligor’s claim that the characters in “Dark and Darker” infringe the character copyrights in “P3 Games” is
        the same claim that the characteristic elements of typical medieval or ancient fantasy world characters used
        decades ago are Obligor’s work, which is itself an unsupported claim.




     4. Unreasonableness of copyright infringement allegations related to Setting / Structural Design


       A. The gist of the Obligor warning letter allegations


        The gist of Obligor’s warning letter allegation is that there is a similarity between the “P3 Game “and Dark
        and Darker in that they both “have a horrifying atmosphere with brick dungeons and elements such as torches
        to emphasize the dark and horrifying atmosphere,” as shown in the image comparison below. However, this
        is a one-sided allegation by Obligor, and as you can see in the image below, the images of both games share
        the Cleric idea of a torch illuminating a dark dungeon, but there is no similarity in the images themselves.

                                        P3 Games                                                                     Dark and Darker




                        FOR VIEWING ONLY
                             Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
       LIN, a Law
       Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                         18
                     Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 80 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




      B. Comparison to prior works


         The word “dungeon” itself means “dungeon in a citadel” and has been depicted in countless games, novels,
         and movies, including Dungeons & Dragons, as a brick-lined dungeon where monsters live and treasure is
         hidden. The lack of light and the need to use torches or magic to see inside the dungeon is just one of the
         characteristics of a typical dungeon.


         Below are some images of what a typical “dungeon” looks like from various preceding games, novels, movies,
         etc.


                                     The game ‘Panteon’ (Plaintiff’s Exhibit 8, see Panteon introduction)




                                                                    (blank margin for picture insertion)




                           FOR VIEWING ONLY
                                 Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
           LIN, a Law
           Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                             19
                     Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 81 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




                        Wallpapers provided by ‘WallpapersCraft’ (see Plaintiff’s Exhibit 9: WallpapersCraft)




                                          The game ‘Castle Torgeath’ (see the article about the 10th scabbard, Castle Torgeath)




                                FOR VIEWING ONLY
                             Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
       LIN, a Law
       Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619



                                                                                                                                                                         20
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 82 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




        As shown in the above prior work, the typical characteristics of a place called a “dungeon” include “dark
        bricks,” a “dark and scary atmosphere,” and a “torch to light the way.” In addition, a search of the search
        portal Google or the video platform Youtube under the keyword “dungeon” reveals numerous games that
        visually express the idea of “exploring a dark and frightening dungeon with a torch to illuminate the view”
        (see Exhibit 12, Prior work in Dungeon Settings).


    C. Sub-conclusion


        The components of a “dungeon” that are common to both “P3 Game” and “Dark and Darker” are just features
        of a typical “dungeon” and do not constitute the author’s creatively original personality.


        This part of the argument is also unsupported by the argument that the expressive forms depicted in the
        archetypal “dungeon” look in numerous prior works should be protected as Obligor’s work.



    5. Unreasonableness of copyright infringement allegations related to Key Concept (Genre,
    Storyline, Detailed Elements of the Games)

      A. The gist of the Obligor warning letter allegations


        Reading between the lines of the Obligor warning letter allegations, it is understood that similarities exist
        between the “game description” and “genre, starting point, character classes, and other elements” below, such
        that “P3 Game” and “Dark and Darker” are substantially similar works.




                          FOR VIEWING ONLY
                               Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
         LIN, a Law
         Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                           21
                       Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 83 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




             (1) Game Description
                Description of “P3 Game                    Despite the great danger, lots of adventurers flock to uncharted dungeons
                                                           because they hear rumors of great riches to be had.

                                                           [English trans.: Despite the danger, many adventurers venture into the
                                                           unknown dungeon after hearing rumors of great fortune in the dungeon].

                                                           Adventurers form parties with trusted members and embark on a
                                                           perilous journey towards dark, dangerous dungeons.

                                                           [English trans.: Adventurers form a party with other trusted members
                                                           and venture into the dark and dangerous dungeon].

                                                           They may encounter giant monsters there and be in danger, or they may
                                                           find precious spoils.

                                                           [English trans.: They may find themselves in danger upon encountering
                                                           giant monsters or discover valuable loot / treasure.].

                                                           If you make it out of the dungeon alive, free of traps, monsters, other
                                                           players, and a myriad of other dangers, you get to keep everything you
                                                           have gained.

                                          [English trans.: You can keep everything you have plundered if you
                                          escape the dungeon safely and avoid countless dangers such as traps,
                                          monsters, and other players].
                 Description of “Dark and Unfathomable fortunes await the brave and the foolish willing to delve
                 Darker                   into the devastated depths of an ancient citadel.


                                                           Band together with your friends and use your courage, wits, and cunning
                                                           to uncover mythical treasures, defeat gruesome monsters, while staying
                                                           one step ahead of other devious treasure-hunters.


                                                           Once you’ve plundered your riches, now comes the hard part, getting
                                                           out alive




                               FOR VIEWING ONLY
                                   Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
             LIN, a Law
             Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619



                                                                                                                                                                               22
                      Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 84 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




           (2) Characteristics
                      Category                                           Detail
              Belong to PvPvE genre   This genre of game requires users to basically compete with each other
                                      (Player vs Player), but also to fight the in-game environment (e.g.,
                                      monsters).
               Has both the FPS and Users cannot defeat other users only with a simple attack sign, and
               RPG elements           have to aim and shoot other users to defeat them (FPS genre).
                                      Moreover, users grow stronger as they obtain various items, and go on
                                      adventures (element of an RPG).
               Game’s starting point, 16 users participate in one game. The game starts from selecting
               etc.                   characters at the tavern where a user can communicate with other
                                      users.
               Character Class        Consists of the Barbarian, the Cleric, the Tanker (Fighter), the Rogue
                                      (Thief), the Wizard, and the Ranger
               Other                  The background setting of the both games is a dungeon made up of
                                      dark bricks. The games have torch-related features, and they offer a
                                      fixed attack pattern for each type of weapons. In the both games, user
                                      interaction with in-game objects such as boxes and doors are available
                                      in the form of casting, and certain amount of time is required to equip
                                      or replace equipment.


          But, there are 173 games on Steam alone that combine characteristics of the “PvP,” “PvE,” “FPS,” and “RPG”
          genres, with classes that have been standard in medieval fantasy worlds since Dungeons & Dragons, and the
          ability to talk to users in taverns, such as Slasher’s Keep, ‘Monomyth,’ ‘Project Zomboid,’ and the ‘Vermintide’
          series, and countless other games of all genres have weapons with set attack patterns and game objects that
          can be utilized through casting, so this isn’t even a specific game feature.




                           FOR VIEWING ONLY
                                   Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
            LIN, a Law
             Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                               23
                     Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 85 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




         Furthermore, the taverns in the “P3 Game “and Dark and Darker are different in visual presentation and
         function, Dark and Darker has character selection in a different scene than the tavern, and the game was
         played with 9 players at the time of testing, and currently has different player limits for different types of
         dungeons (9, 11, 16, or 18 players, and so on), so the mere fact that the game has a tavern cannot be considered
         a similar part of the game.


         In the end, the elements that Obligor claims are similar to “P3 Game” and “Dark and Darker” are merely
         “features that a game should have” and cannot be said to be the characteristics of a “P3 Game,” let alone a
         work of authorship. Below, we will clarify that all of the similar elements of Obligor’s allegations, which can
         be found in numerous games through a simple search, are also implemented in prior games.


      B. Game Description


         As you can see from the “Game description” itself in the Obligor warning letter, both “P3 Game” and “Dark
         and Darker” use different language and sentences to express the same idea, which is “the archetypical epitome
         of the oldest and most popular scenario: four or five adventurers team up to enter a cave inhabited by monsters,
         suffer all sorts of hardships, and emerge with treasure and experience.


                                    “Dungeons & Dragons” Namuwiki description (Plaintiff’s Exhibit 5)

                           ∨ 1. Overview
                           An RPG system published in the 1970s by TSR in the United States. It is often referred to by the
                           abbreviation D&D. Technically, it’s “Dungeons and Dragons,” but the plural s is dropped in
                           Korean.[1]

                           The first RPG to introduce rules to a fantasy world and gamify it. It is the originator of the
                           concept of RPGs, the progenitor and root of all RPGs on the planet. The most famous and most
                           popular TRPG.

                           RPGs are the epitome of the old favorite scenario of a group of adventurers working together to
                           enter a monster-infested cave, suffer through all sorts of hardships, and emerge with treasure and
                           experiential values, and they boast a long list of magic, monsters, and worlds. Worlds include
                           Greyhawk, Dragonlance, and most famously, Forgotten Realms. The well-known Elminster, Drizzt
                           Duarden, hails from Forell.




                         FOR VIEWING ONLY
                                Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
         LIN, a Law
          Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619


                                                                                                                                                                            24
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 86 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




        Considering that the idea itself is not protectable under copyright law, and that even the idea is a common one
        in ancient or medieval fantasy worlds, one cannot arguably say that the “Game Description” of the “P3 Game
        “is Obligor’s work.


     C. Comparing Individual Characteristics


         (1) Previous games in the PvPvE, FPS, and RPG genres


        The Obligor warning letter’s similarity argument based on genre similarity is like arguing that action movies
        from the point of view of the main character are similar works.


        On Steam, an online platform where games from all over the world are published, a search for games that
        include the genres “PvP,” “PvE,” “FPS,” and “RPG” yields 173 games, as shown below.


                                         STEAM genre search results (see Plaintiff’s Exhibit 13: Steam genre search results)




                               FOR VIEWING ONLY
                              Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
        LIN, a Law
        Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                          25
                     Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 87 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




           (2) Game’s starting points, etc.


           The Obligor warning letter alleges that both the “P3 Game” and “Dark and Darker” feature 16 players in the
           game, and that players can communicate with other players in a tavern and select a character of their choice.


           However, the tavern has been depicted as a place for adventurers to recruit companions, plan their adventures,
           and more since the game “Dungeons & Dragons” decades ago.10


                     ‘Dungeons & Dragons’ The Gamer community post (see Plaintiff’s Exhibit 14 for a tavern posting)




                 If you’ve played Dungeons & Dragons for any length of time, you know of the cliche trope that is “The
                 Party Meets In A Tavern.” It’s a classic; a group of strangers are all lumped together somehow at a local
                 tavern, be it through a job or a fight, and that is how the party starts their adventure.




                                 FOR VIEWING ONLY
      10   In The Lord of the Rings, the movie based on Tolkien’s novel, Frodo meets Aragorn in a tavern to begin his journey, and in The
           Hobbit, Thorin meets Gandalf in a tavern to begin his journey.
                                Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
           LIN, a Law
           Corporation          Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619



                                                                                                                                                                            26
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 88 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




        Both “P3 Game” and “Dark and Darker” have in common that the background of a tavern appears before
        entering a dungeon in the game progression sequence, but in “P3 Game,” the character is selected in a tavern
        represented in a 3D space, while in “Dark and Darker,” a tavern made of 2D is used as a background to
        provide only UI menus and to provide chat functions by providing party channels, trading channels, and
        meeting house channels. “P3 Game” and “Dark and Darker” only share the idea of a typical medieval fantasy
        world where a tavern is used as a place to go before exploring dungeons, and there is no similarity in the
        visual representation of the tavern, the in-game functions of the tavern, or any other phenotype.


        In addition, “Dark and Darker” has had a player count of 9, not 16, since the time of alpha testing, and this is
        not fixed, but varies by game space, such as “Goblin Cave” (9 or 11 players) and “Forgotten Castle” (16 or
        18 players). This ability for multiple players to participate in a game simultaneously is one of the most popular
        aspects of the gameplay in the PvP genre, and the fact that a certain number of players can participate in a
        game is not a component of the creative personality of a game work.


        (3) Character Class


        As mentioned earlier, the concept of classes in Dungeons & Dragons has since spawned a myriad of games,
        novels, movies, and more.


        One game called “Plarium” describes “Fighter,” “Rogue,” “Magician (Wizard),” “Ranger,” and “Cleric” as
        classes commonly found in RPGs, with “Fighter” being a class that uses swords, axes, and other melee
        weapons, and “Barbarian” being a more offensive class, and “Warrior” being a class that balances offense and
        defense (see Plaintiff’s Exhibit 15, Plarium RPG Class Description).




                               FOR VIEWING ONLY
                              Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
        LIN, a Law
        Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619



                                                                                                                                                                          27
                     Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 89 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




         Many games set in ancient or medieval fantasy worlds utilize the concept of archetypal classes, and the six
         classes in “P3 Game” and “Dark and Darker” also utilize the concept of classes, as is, that are an integral part
         of traditional medieval fantasy worlds.


         After all, the classes in “P3 Game” and “Dark and Darker” are all just no more than an integral part of the
         medieval fantasy world, so the fact that “P3 Game” has six classes, such as “Fighter,” that already existed in
         prior games is unlikely to be protected as a work of authorship.


         (4) Other features


         The Obligor warning letter alleges that both “P3 Game” and “Dark and Darker” share common features such
         as “dungeons surrounded by dark brickwork,” “the use of torches,” “weapons with fixed patterns,” “the
         concept of casting chests and doors that can be manipulated by the user,” and “the fact that it takes a certain
         amount of time to replace equipment.”


           (i) We’ve already said that a ‘dungeon’ is, by definition, a ‘dungeon in a citadel surrounded by dark
         brickwork’.


           (ii) The Presence of fixed attack patterns for each weapon is something that almost all games adopt. For
         example, a weapon called ‘knife’ can have three attack patterns: 1) slashing diagonally, 2) stabbing, and 3)
         slashing in a different direction from the first attack. “P3 Game” and “Dark and Darker” are similar to other
         FPS games in that they have fixed attack patterns for each weapon, but the types of weapons and the
         appearance of the fixed attack patterns for each weapon are all different. Among the earlier FPS dungeon
         crawlers, “Slasher’s Keep” has two fixed attack patterns for the “hatchet” weapon.




                               FOR VIEWING ONLY

                               Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
         LIN, a Law
         Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619



                                                                                                                                                                           28
                     Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 90 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




                                                Captured gameplay footage from ‘Slasher’s Keep’.11
                        First Swing (lower left diagonal)                                             Second Swing (Right Horizontal)




          The game ‘Vermintide 2’ also has fixed patterns for different weapons, such as axes, swords, bows, spears,
          staves, etc., The image below shows the ‘Halberd’ in ‘Vermintide 2,’ which has three fixed, generic attack
          patterns.



                                                           Captured gameplay footage from ‘Vermintide 2’.12
                            First Swing                                        Second Swing                                             Third Stab
                        (lower left diagonal)                               (lower right diagonal)                                       (Forward)




                         FOR VIEWING ONLY
     11   See Youtube video; https://www.youtube.com/watch?v=tzc1yE0AIjY&t=2133s
     12   See Youtube video; https://www.youtube.com/watch?v=8ufs8YrHqR0


                               Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
          LIN, a Law
          Corporation          Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619



                                                                                                                                                                           29
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 91 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




          In addition, (iii) the use of casting to communicate with elements such as boxes and doors in the game, and
          (iv) the need for a certain amount of time to replace equipment are features that most games (e.g., Project
          Zomboid) have, except for some games that emphasize speed through fast game progression, and cannot be
          said to be unique to “P3 Game.”



                                                    ‘Monomyth’ gameplay video capture photo13




                               Run the pulley through the ‘F’ key, and watch it take a certain amount of time.




                          FOR VIEWING ONLY

     13   See Youtube video; https://www.youtube.com/watch?v=_lkr-Y9kgPo


                           Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
     LIN, a Law
     Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619



                                                                                                                                                                       30
                      Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 92 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




                                                     “New World” gameplay video capture photo14




                                   Opening a box via the ‘F’ key and watching it take a certain amount of time.



                                              Capturing gameplay footage from ‘Project Zomboid’.15




                       A certain amount of time is spent wearing a piece of equipment called a “Black Digital Watch.




                               FOR VIEWING ONLY
       14
            See Youtube video; https://www.youtube.com/clip/Ugkx3uYFhQXInJKjAK5BLHfjJuEz4vTGe5ZJ
       15   See Youtube video; https://www.youtube.com/watch?v=4W1oOprhVgo&t=354s


                                 Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
            LIN, a Law
            Corporation          Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619


                                                                                                                                                                             31
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 93 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




      D. Whether the combination of the above features creates a character or personality that distinguishes it from
      other games.


        When you combine all of the features of the “P3 Game” claimed by Obligor in the warning letter, the “P3
        Game” is nothing more than an implementation of the battle royale system that was released years ago and is
        still very popular today, such as “Battlegrounds” and “Fortnite,” where only one player or team survives by
        competing against other players, in a medieval fantasy world.


        As described later, the “P3 Game” is a game developed by the Obligor company that began development
        around August 2020 and ceased development around July 2021 due to an unexplained unilateral decision by
        management.


        “P3 Game” reflects only the primitive idea of applying the then-popular battle royale style of “Battlegrounds”
        and “Fortnite” to a medieval fantasy world, and does not reflect any features or personalities that distinguish
        it from other game works other than the implementation of typical “PvPvE,” “FPS,” and “RPG” genre
        gameplay.


        Rather, as described in the following Paragraph, “Dark and Darker” is not a “one-time battle royale” aimed
        at the survival of the last one or one team, but an “extraction shooter” aimed at the escape of several people
        or several teams under certain conditions, and introduces concepts such as “escape route,” “magical
        attribution method,” “currency,” and so on, It introduces concepts not found in other battle royale games and
        adopts the same medieval fantasy world as “P3 Game,” but the number and types of weapons available to
        each class, the composition of the dungeon, the types of monsters appearing in the dungeon, the design and
        function of the tavern, and the abilities of each class are all developed differently from “P3 Game.”


        In other words, “Dark and Darker” has features and structure that are different from other games, while “P3
        Game” does not have any creative individuality that distinguishes it from its predecessors. The formal
        similarities between “P3 Game” and “Dark and Darker” are merely similarities between components that all
        games that implement the PvPvE genre within a medieval fantasy world have.




                          FOR VIEWING ONLY
                                  Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
            LIN, a Law
            Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619


                                                                                                                                                                      32
                     Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 94 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




        E. Features and personality of “Dark and Darker”

         “Dark and Darker” has features and personalities that distinguish it from other games, including “P3 Game,”
         as shown below.



                                    P3 GAME and more games of this genre                                                       Dark and Darker
           Game rules,            Start each game with the same basic items                               Extraction Shooter-style, escape wins
           how it                 on hand                                                                 concept (not necessarily 1 person or 1 team
           works                                                                                          escaping)
                                  One-time Battle Royale System
                                                                                                          If you enter a dungeon equipped with an
                                                                                                          item that belongs to you, and escape from
                                                                                                          the dungeon using the blue portal with an
                                                                                                          item obtained inside the dungeon or an
                                                                                                          item stolen from an opponent, the item
                                                                                                          becomes yours, and you can take it with
                                                                                                          you to the next game, store it in your
                                                                                                          warehouse, or trade it with other players
                                                                                                          online for in-game currency.
           Character              Presence of three simple basic attributes                               Taking a cue from tabletop RPGs like
           Stats                  with a base of “100,” which is the standard                             Dungeons & Dragons, it’s based on a
                                  set by most video games                                                 number from 0 to 20.

                                                                                                          Five basic properties are intricately
                                                                                                          interrelated

                                                                                                          Redesigned physical and magical damage
                                                                                                          calculation formulas, armor calculation
                                                                                                          formulas, and each attribute’s calculation
                                                                                                          formula based on stats.




                            FOR VIEWING ONLY
                               Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
         LIN, a Law
         Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                           33
                     Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 95 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




           Growth                 No growth system.                                                      Level system allows characters to grow up
           System                                                                                        to 20 levels
           Class Skills           Fixed, uneditable form of class technology                             There are many editable skills and perks

           Inventory              Simple inventory structure with one item                               Complex inventory structures where a
                                  taking up one space, common in modern                                  single item takes up multiple spaces in the
           (Belongings            FPS games (like Fortnite).                                             old Diablo style
           space)
           Magic                  How Magic is Attributed to Spellbook                                   How magic is attributed to player
           Attribution            Items                                                                  characters
           Structure
                                  Flip through the bookshelves with mouse                                When selecting magic, press Q or E to
                                  clicks when selecting magic                                            bring up the Radial UI and move your
                                                                                                         mouse to select items, commands, emotes,
                                                                                                         etc., familiar from typical FPS games.
           Magnetic               Poison gas randomly fills each room and                                Translucent, circular circle structure found
           Field                  floods the map                                                         in typical battle royale games
           Systems
           Other                  No escape portal system                                                Presence of an escape portal system
           features               No merchant system                                                     Presence of a merchant system
                                  No player-to-player trading system                                     Presence of a player-to-player trading
                                  Items have no random attributes                                        system
                                  No difficulty system for monsters                                      Items have random attributes
                                                                                                         Monsters have a difficulty system


        E. Sub-conclusion



         “P3 Game” reflects only the abstract idea of a single-player battle royale genre of “PvPvE,” “FPS,” and “RPG”
         within a medieval fantasy world and has no personality or characteristics that distinguish it from other games,
         whereas “Dark and Darker” has personality and characteristics that distinguish it from other games, including
         “P3 Game.




                              FOR VIEWING ONLY
                                   Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
             LIN, a Law
             Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                               34
                     Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 96 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




         The components of “P3 Game” and “Dark and Darker” that Obligor alleged to be similar in the warning letter
         cannot be protected as works of authorship, and even among the components, “Dark and Darker” cannot be
         considered similar in form because it is designed differently from “P3 Game” in terms of specific
         configurations (different selection, arrangement, and combination) to give users a great sense of achievement
         and fun.


        6. Sub-conclusion


         The Obligor warning letter allegation that “P3 Game” and “Dark and Darker” are similar works is itself an
         unsupported allegation based solely on the genre similarities of “PvPvE,” “FPS,” and “RPG” in a “medieval
         fantasy world.


      IV. Unreasonableness of Trade Secret Infringement Claims


         Obligor’s claims are based solely on malicious speculation that Ju-Hyun Choi misappropriated Obligor’s
         trade secrets through the conduct described below [Exhibit B] in the warning letter (Plaintiff’s Exhibit 2) and
         that Obligee used those trade secrets to develop “Dark and Darker.”


                                                      Content of the Warning Letter [Exhibit B]
           Ju-Hyun Choi unlawfully transferred and disclosed approximately 11,602 files of the data related to the
           P3 Project

           - From April 2021 to June 18, 2021, 2,747 build files for the P3 Project were unlawfully transferred
           from the Nexon’s Jenkins server to Ju-Hyun Choi’s (“Choi”) private server located in Seosan without
           obtaining authorization.

           - From April 7, 2021 to May 11, 2021, 1,719 build files for the P3 Project were unlawfully transferred
           to Choi’s private server built on a home PC without obtaining authorization.

           - From May 31, 2021 to June 23, 2021, the data related to the P3 Project, including source code and art
           resources, were unlawfully transferred to Choi’s private server in Seosan without obtaining
           authorization on over 20 instances.




                                 FOR VIEWING ONLY
                                   Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
            LIN, a Law
             Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619



                                                                                                                                                                           35
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 97 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




        As described later, when Ju-Hyun Choi was working on the P3 Project at Obligor, he used an external server
        that Obligor allowed him to use in order to efficiently work on the project while working from home due to
        the coronavirus outbreak.


        Ju-Hyun Choi had already deleted all information on the external server when Obligor proceeded with
        disciplinary dismissal proceedings under the pretext of him using the external server around July 2021, and
        no information related to the “P3 Project” had been leaked.


        Obligee developed “Dark and Dusk” independently with a blank slate, including planning the development
        roadmap, opening servers, setting milestones, etc., In the process of developing “Dark and Darker,” no
        materials related to the “P3 Project” were used, and Obligor’s warning letter does not provide any evidence
        that Obligee acquired or used Obligor’s trade secrets other than possible infringement of Ju-Hyun Choi’s trade
        secrets. In particular, Obligor’s claim against Ju-Hyun Choi for injunction against infringement of trade
        secrets, etc., was filed, According to the transcript of the Disciplinary Committee submitted in the Claim
        (Seoul Central District Court 2021 Gahap 560907), Ju-Hyun Choi had already deleted Obligor’s source codes
        from an external server before the date of the Disciplinary Committee meeting (July 12, 2021) (Plaintiff’s
        Exhibit 16: Ju-Hyun Choi Transcript), and the company Obligee was established on October 20, 2021, more
        than three months later (see Obligee Certified Copy of the Corporate Registry).


        In the investigation of Ju-Hyun Choi pursuant to Obligor’s complaint, law enforcement raided Obligee’s
        offices on two separate occasions, but no Obligor source code was found on Obligee’s premises. Furthermore,
        Obligee has already provided law enforcement with all materials created during the development of “Dark
        and Darker,” as described below, and insofar as it is possible to reveal the truth that Obligee did not use
        Obligor’s information or data at all while developing “Dark and Darker,” in this proceeding, the Obligee is
        willing to submit the roadmap, milestones, coding history, etc., and all other materials related to the
        development of “Dark and Darker.”




                       FOR VIEWING ONLY
                                  Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
            LIN, a Law
            Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619


                                                                                                                                                                              36
                      Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 98 of 213

Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




          The investigative agency that is currently investigating Ju-Hyun Choi’s alleged violation of the Unfair
          Competition Prevention Act (leakage of trade secrets, etc.) has obtained all materials in the possession of
          Obligee and its employees. Obligee rather hopes that a thorough investigation will reveal the truth that there
          is nothing in these materials related to the P3 Project and that no information from Obligor was used in the
          development of “Dark and Darker” (see Plaintiff’s Exhibits 17 and 18, respectively).


       V. The Necessity for Conservation


        1. It is clear that acts of business obstruction, such as request for a take-down of Obligee on
            Steam, will continue and be repeated

          As we have seen above, Obligor has been pursuing various means, including civil suits and lawsuits, against
          only one individual, Ju-Hyun Choi, who is in a relatively vulnerable position in the legal dispute.


          Specifically, on July 9, 2021, Obligor sent content-certified postal mail to request not to infringe on trade
          secrets [Plaintiff’s Exhibit 19: content-certified postal mail (Obligor - Ju-Hyun Choi)], and on August 2, 2021,
          a criminal complaint was filed with the Gyeonggi Southern Police Agency for violation of the Act on
          Prevention of Unfair Competition and Protection of Trade Secrets (leakage of trade secrets, etc.) and violation
          of the Act on Aggravated Punishment, etc., of Certain Economic Crimes (embezzlement) (see Plaintiff’s
          Exhibit 16: 210802 Criminal Complaint). In addition, on August 20, 2021, the Obligor filed a lawsuit for
          injunction and damages for infringement of trade secrets with the Seoul Central District Court 2021 Gahap
          560970 (see Plaintiff’s Exhibit 20: Obligor Trade Secret Infringement Injunction Claim Complaint).


          Meanwhile, when the Obligee’s game was play-tested on Steam and was expected to generate significant
          sales, with more than 2 million registered users, Obligor sought to prevent the release of the Obligee’s game
          altogether, and on On March 22, 2023, Obligor filed a copyright infringement notice with online service
          provider Valve and a takedown request (“Takedown Request”), and on March 23, 2023, Obligor sent warning
          letters to Obligee employees (see Plaintiff’s Exhibit 2: Copyright Infringement Notice to Steam).




                            FOR VIEWING ONLY
                                    Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
              LIN, a Law
              Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                                37
                     Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 99 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




        It is clear that Obligor’s actions against third parties, such as Valve, including its request to discontinue this
        case, have damaged Obligee’s reputation and obstructed its business activities.


        In response to Obligor’s reckless legal response, Obligee responded through a position statement dated March
        26, 2023, to the effect that it does not constitute copyright infringement and does not constitute infringement
        of trade secrets, and also provided attachments consistent with the response. As such, Obligee has responded
        to Obligor several times and requested the cessation of obstruction of business activities.


        Ultimately, based on Obligor’s conduct to date, it is clear that Obligor is not merely asserting trade secret
        infringement against Ju-Hyun Choi, but will continue or repeat its unlawful and unfair means to completely
        prevent Obligee from doing business at all. In particular, it is clear that if Obligee releases “Dark and Darker”
        on other platforms in the future, Obligor will seek to prevent the release of Obligee’s games, such as the
        cease-and-desist request in this case, by suing online service providers on platforms where Obligee’s games
        may be released and asking them not to offer Obligee’s games.


      2. Online service providers, such as Valve, are highly likely to stop publishing Obligee games if there is conduct
            such as this takedown request.


        In the case of conduct such as the cease and desist request in this case, it is likely that an online service
        provider would remove the Obligee’s game from the online service provider’s platform upon Obligor’s
        request to cease reproduction and transmission in order to avoid or reduce its liability under Section 512(a)
        of the U.S. Digital Millennium Copyright Act. In fact, upon receiving the cease and desist request, Valve
        immediately took down the Obligee’s game and notified Obligor.




                      FOR VIEWING ONLY
                             Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
       LIN, a Law
       Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                               38
                      Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 100 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




          After all, in the face of Obligor’s behavior, such as the cease-and-desist request in this case, it’s hard to expect
          Valve, et al. and online service providers to make a pragmatic decision after taking legal advice on such a
          request and make the game available again.




        3. It is clear that Obligee will suffer irreparable harm as a result of the requested cease and desist, given
              the need for the timely release of Obligee’s game and Obligee’s financial condition


          As mentioned above, Obligee is only a small game developer and cannot distribute or offer its games directly
          but can offer them through other major online service providers. Therefore, if a major online service provider,
          such as Steam, stops offering Obligee’s games through its platform, Obligee will suffer an irreparable impact
          in terms of business operation.


          In particular, in the case of games that combine highly successful elements from existing games, such as the
          Obligee game, it is highly likely that they will be copied by other similar games and it is extremely important
          to release them in a timely manner, and in view of the fact that Obligee, unlike Obligor, is only a small game
          development company and can only continue its business activities through the sale of Obligee games, it is
          necessary to prohibit and prevent Obligor’s illegal and unfair acts as stated in Paragraph 1 of the application.




        4. Sub-conclusion


          Based on these facts, even if the Obligee later wins the underlying lawsuit seeking damages from the Obligor,
          it is unlikely that the Obligee will be able to fully recover its damages through such a reactive remedy, and it
          is difficult to expect the effectiveness of the compensation to cover the actual damage suffered. Therefore, it
          is necessary to seek a cessation and injunction against such infringing activities as a proactive remedy.




                            FOR VIEWING ONLY
                              Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
        LIN, a Law
        Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                          39
                  Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 101 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




    VI. With respect to the Jurisdiction


       On March 31, 2023, Obligee filed a complaint for confirmation of copyright infringement and injunction
       against business obstruction against Obligor in the Suwon District Court 2023 Gahap 13599, and the
       complaint was served on the Obligor on April 4, 2023, and the lawsuit for confirmation of copyright
       infringement and injunction against business obstruction is currently ongoing between Obligee and Obligor
       in the Suwon District Court.


       In the event of a lawsuit regarding copyright, which is an intellectual property right excluding patent rights,
       pursuant to Article 24, Paragraph 1 of the Civil Procedure Act, the Suwon District Court, which is the district
       court where the Suwon High Court with jurisdiction over the Seongnam District Court, which has ordinary
       jurisdiction according to the address of the Obligor (Seongnam City), has territorial jurisdiction, and the
       Suwon District Court also has territorial jurisdiction over a lawsuit in which a claim for confirmation of
       copyright infringement and a claim for injunction against business obstruction are objectively joined in
       accordance with the relevant jurisdictional provisions of Article 25, Paragraph 1 of the Civil Procedure Act.


       Therefore, pursuant to Article 303 of the Civil Enforcement Act, the district court where Obligor’s lawsuit for
       confirmation of copyright infringement and injunction against business obstruction is pending is the
       competent court of jurisdiction for this temporary injunction against business obstruction.


    VII. Supplementary Discourse - How the Case Has Happened


      1. Preface


       To help you understand this case, we’ll explain how Obligor came to engage in conduct to obstruct Obligee’s
       business and damage its reputation and credibility. We will do so by revealing that Obligor’s actions are
       designed to retaliate against the departed employees and to blast Obligee to wither and die, a small gaming
       company that the employees work for.




                      FOR VIEWING ONLY
                                  Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
           LIN, a Law
            Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                              40
                  Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 102 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




       Non-party Ju-Hyun Choi, who participated in the development of “Dark and Darker” at Obligee, also served
       as the development director of the “P3 Project” when Obligor was working on the “P3 Project.”


       When Obligor was conducting the “P3 Project,” Obligor disciplined Ju-Hyun Choi for leaking trade secrets
       by pointing out that Ju-Hyun Choi used an external server, and criminally prosecuted Ju-Hyun Choi for
       violating the Act on Prevention of Unfair Competition and Protection of Trade Secrets (trade secret leakage,
       etc.) on July 7, 2021, and lodged a formal criminal accusation against Ju-Hyun Choi on August 2, 2021.


       However, as described later, Ju-Hyun Choi was forced to work from home during the “P3 Project” due to the
       coronavirus outbreak and efficiency problems of the server within the Obligor company, and inevitably used
       an external server that had been used with the permission of the Obligor company in the past, and during the
       disciplinary dismissal process in or about July 2021, all the content stored on the external server was
       irretrievably deleted, so that when he left the company, he did not have any information related to the Obligor
       company, and no information related to the Obligor was used in the process of developing “Dark and Darker”
       after the Obligee company was established.


       Nevertheless, when Obligee’s “Dark and Darker” received explosively rave interest from users around the
       world during its pre-release testing phase, Obligor sent a warning letter (Plaintiff’s Exhibits 1-1 and 1-2) to
       Ju-Hyun Choi and Terence Seungha Park, respectively, on March 23, 2023, with the purpose of preventing
       Obligee from releasing “Dark and Darker” to the public, and one day before sending the warning letter, on
       March 22, 2023, already abused the takedown procedures of Section 512 of the U.S. DMCA to obstruct
       Obligee’s launching operating of “Dark and Darker” through Steam by sending a takedown notice (Plaintiff’s
       Exhibit 3) to Valve, the operator of Steam, the game publishing platform used by Obligor [sic] for the “Dark
       and Darker” game service.




                      FOR VIEWING ONLY
                                  Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
           LIN, a Law
           Corporation            Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                              41
                     Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 103 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




            However, as noted above, Obligor’s copyright infringement allegations in its warning letter and Takedown
            Notice contain no allegations or proof of (i) what creative expression form “P3 Game “possesses as compared
            to the other games, let alone (ii) any similarity between the creative expression forms, to the extent that there
            is any similarity between the components of “Dark and Darker” and “P3 Game.” The outcome was inevitable
            because they both fall within the “PvPvE,” “FPS,” and “RPG” genres under the “medieval fantasy universe”
            heading.


            Specifically, as will be discussed later, the take-down regime in Section 512 of the U.S. DMCA provides that
            if an online service provider (OSP) takes down a posting in response to a formal notice from a person claiming
            to be the copyright holder that a particular posting infringes their copyright, the OSP is not liable for the
            takedown, even if the claim is found to be without merit.16 .


            The take-down notice system has also been abused to take down posts by innocent publishers at the behest of
            the alleged infringer, as the alleged infringer need only send a formally required take-down notice to the OSP
            and the OSP will take down the post in order to obtain immunity (see Plaintiff’s Exhibit 21, DMCA
            Abuse_Netposts).




                                 FOR VIEWING ONLY
       16    DMCA 512(g)(1)(i) says: “(1) No liability for taking down generally. -Subject to paragraph (2), a service provider shall not be
            liable to any person for any claim based on the service provider’s good faith disabling of access to, or removal of, material or activity
            claimed to be infringing or based on facts or circumstances from which infringing activity is apparent, regardless of whether the
            material or activity is ultimately determined to be infringing.”




                                    Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
               LIN, a Law
               Corporation          Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                                42
                     Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 104 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




          As a small game developer, Obligee had no choice but to publish its “Dark and Darker” game through Steam
          instead of self-publishing. However, after Obligee unilaterally issued a takedown notice to Steam without any
          evidence of copyright infringement, Valve, the operator of Steam, stopped publishing any material related to
          “Dark and Darker,” including Obligee’s test version of “Dark and Darker,” which was published through
          Steam, and Obligee is no longer able to release and service “Dark and Darker” normally through Steam.


          Even if a Korean or U.S. court ultimately decides that "Dark and Darker" does not infringe Obligor’s "P3
          Game" copyright, there will be no users left to play "Dark and Darker" after years of court battles in a game
          market where trends change rapidly.


        2. How Obligor proceeded with the “LF Project”


          In August 2020, Obligor launched the “P3 Project” to develop a dungeon-exploring game in a medieval
          fantasy world, similar to games that already existed. Ju-Hyun Choi, who is currently working at Obligee,
          served as the development director of the “P3 Project” at the time.




                             FOR VIEWING ONLY


                                   Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
             LIN, a Law
             Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                               43
                   Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 105 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




          Ju-Hyun Choi has always had a outstanding knack for game development, even developing games in clubs
          when starting with his time as a solo developer. Ju-Hyun Choi joined Obligor in 2013, but resigned from
          Obligor after less than a year because he felt that his philosophy on games, which was to develop games that
          were challenging, read fast trends, and made people have fun, did not fit with Obligor’s focus on developing
          or distributing games with guaranteed profits. Afterwards, Ju-Hyun Choi joined Tingsoft, a non-party
          company, but returned to Obligor when Obligor acquired Tingsoft in or about April 2018.


          In January 2019, Obligor started a project called “LF” to develop a “roguelike” game.17 Ju-Hyun Choi was
          the general director of the LF Project, and he was making every effort to develop a game that would be fun
          for many people around the world.


          However, Obligor’s management suddenly stopped the “LF Project” around August 2020 without any
          reasonable grounds, and Ju-Hyun Choi was forced to propose a new “P3 Project” to Obligor to develop a
          game in the ‘FPS-RPG’ genre.18 Ju-Hyun Choi lost a lot of trust in Obligor as he experienced months of
          development efforts being wiped out in a single day without any set standards or principles.




     17    A “roguelike” game is a game in which the elements that must be achieved to succeed (clear) the game or the elements that can be
          used to clear the game are randomized (randomized) each time the game is played, and it is a genre that allows players to have fun
          through strategies that reduce the risk of failing to clear the game due to chance factors.

     18    ‘FPS’ is the genre of ‘First Person Shooter’, which refers to the genre of games played in the first-person perspective, and ‘RPG’ is
          the genre of ‘Roll Playing Game’, which refers to the genre of games where the user playing the game takes on a specific role. In
          other words, the ‘FPS-RPG’ genre refers to games in the PRG genre played in the first person.




                                Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
           LIN, a Law
           Corporation          Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                            44
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 106 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




        3. How Obligor proceeded with the “P3 Project”


           In the gaming industry, Ju-Hyun Choi knew exactly what gamers want and how trends cycle, but he also knew
           that gamers want to play games in genres, fictional worlds, and mechanics they’re familiar with, even if those
           games not new. Ju-Hyun Choi also understood that the most important strategy was to release familiar games
           in line with trends and timing.


           Therefore, Ju-Hyun Choi wanted to develop a game that could be played with traditional weapons such as
           swords and staves in a medieval fantasy world, unlike ‘Battlegrounds’ and ‘Overwatch,’ which use firearms
           in a modern civilization or sci-fi world, which were popular at the time of the “P3 Project,” even in the same
           ‘FPS’ genre.


           In particular, Ju-Hyun Choi wanted to develop a “dungeon crawler” game in which players explore dungeons
           for treasure in the world of “Dungeons & Dragons,” a game that is considered a pioneer in medieval fantasy
           and has been the inspiration for a myriad of games that have adopted its worldview.19


           As mentioned earlier, Ju-Hyun Choi’s game development philosophy is that gamers want to play games in
           genres they are familiar with, in fantasy worlds they are familiar with, and in ways they are familiar with, so
           it’s important to make familiar games trendy and available to gamers when they want to play them. With the
           P3 Project, Ju-Hyun Choi wanted to develop a game based on a typical medieval fantasy world, with the kind
           of plot that would be inevitable in a game set in medieval fantasy.




           FOR VIEWING ONLY


      19
           A “dungeon crawler” game is a fantasy game that involves exploring an enclosed space called a dungeon, and the Diablo series, which
           has become a worldwide phenomenon, is considered a “dungeon crawler” game.




                                      Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
                LIN, a Law
                Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                                  45
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 107 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




     4. How Obligor proceeded with their disciplinary termination of Ju-Hyun Choi


          In early 2020, when Obligor was working on the LF Project, the coronavirus pandemic forced most of
          Obligor’s employees to work from home (WFH), including the LF Project team.


          Even prior to WFH telecommuting, it was common in the game development industry to use external servers
          to work from home and at work so that work could continue regardless of location, and this was no different
          at Obligor. Within Obligor, it was known that using external servers to quickly upload, test, and backup
          materials would help us work more efficiently and quickly, and as long as it was done right, it was an accepted
          practice.


          Ju-Hyun Choi is the development director of the “LF Project” and used external servers with Obligor’s
          approval for efficient development, and also used external servers with Obligor’s permission while working
          on the P3 Project.


          Ju-Hyun Choi, who has always had a firm philosophy on game development, often had friction with the
          management of Obligor, who wanted obedient developers. It was important for Ju-Hyun Choi not to miss the
          release timing of the game according to the game industry trend. Therefore, he used the commercial “Unreal”
          engine20 to develop the game quickly through highly refined functional elements, even if the refinement of
          the graphics was somewhat lower, and utilized commercial graphic “assets” 21 for the design resources
          required for the game, enabling fast development at a low cost, even if it meant giving up on the individual
          personality of “P3 Game.”




     20
                                FOR VIEWING ONLY
          An engine that anyone can pay to use
     21   Graphic design output that anyone can pay to use




                                 Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
           LIN, a Law
           Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                             46
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 108 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




         Developing games using commercial engines and off-the-shelf assets like this is a popular approach for many
         game development projects aimed at saving money and reducing development time - for example, the famous
         “PUBG” game was developed that way.


         While there are some parts of the “P3 Project” that went in the direction Ju-Hyun Choi wanted due to his
         strong insistence, Obligor’s management did not hire the right people at the right time, revised the
         development schedule from time to time, implemented a simple dungeon exploration feature with no
         difference from other games, and set a rushed release schedule, and so on and so forth, forcing a development
         direction that Ju-Hyun Choi could not understand.


         As described above, as the P3 Project progressed, the friction between Ju-Hyun Choi and Obligor’s executives
         intensified. In July 2021, Obligor abruptly terminated Ju-Hyun Choi for allegedly leaking trade secrets by
         questioning Ju-Hyun Choi’s use of an external server. Furthermore, Obligor requested full access to the
         external server from Ju-Hyun Choi, but since the external server contained not only Ju-Hyun Choi’s personal
         information but also private materials such as materials that Ju-Hyun Choi had collected from the time he
         first started developing the game, Ju-Hyun Choi irretrievably deleted all materials on the external server,
         including materials used to develop the P3 Project, so that he did not retain any materials related to the P3
         Project through the external server.


         Nevertheless, on August 2, 2021, Obligor filed a criminal complaint against Ju-Hyun Choi with the Gyeonggi
         Southern Police Agency, alleging trade secret infringement, and on August 20, 2021. Seoul Central District
         Court 2021 Gahap 560970, without any assertion or proof of the fact that Ju-Hyun Choi actually leaked
         Obligor’s trade secrets to the outside, as well as what damage was caused to Obligor, and alleged that it
         suffered damage just by way of the fact that Ju-Hyun Choi used an external server while working on the “P3
         Project,” and alleged that it suffered damage, and even received a temporary seizure decision on all asseets
         of Ju-Hyun Choi including real estate, car, etc.




                                  FOR VIEWING ONLY
                                   Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
             LIN, a Law
             Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                               47
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 109 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




      5. How Obligor’s “P3 Project” was discontinued, and Obligee was formed


         Obligor’s management appointed a new person who was obedient to the management in place of Ju-Hyun
         Choi as the development director of the “P3 Project” team after Ju-Hyun Choi was dismissed around July
         2021, and the new development director of the “P3 Project” stopped the “P3 Project” altogether, saying that
         “the existing ‘P3 Game’ has no vision,” and immediately started a new project named “P7” instead of “P3
         Project.”


         At the time of the P3 Project’s demise, “P3 Game” was nothing more than a game that implemented a typical
         Battlegrounds-like battle royale system into the medieval fantasy “FPS-RPG” genre, in which “users choose
         their favorite class from six classes in a medieval fantasy world, and then team up with three other players to
         compete against other teams to explore dungeons and obtain treasure, with only one team surviving at the
         end.


         Obligor’s de facto transition from “P3 Project” to “P7 Project” led to the departure of several members of the
         “P3 Project” team, including the current head of Obligee, who felt that Obligor’s approach to developing and
         releasing a proper game was not feasible.


         Later, Terence Seungha Park, corporate representative of Obligee company, founded Obligee company by
         investing KRW200 million on October 20, 2021, and the team members of “P3 Project” who left Obligor
         company, including Ju-Hyun Choi, joined Obligee company to develop a new game that is familiar to people
         and meets the latest trends, beyond just a typical medieval fantasy ‘dungeon crawler’ game.




                                  FOR VIEWING ONLY
                                  Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
            LIN, a Law
            Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                              48
                   Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 110 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




     6. How Obligee proceeded with “Dark and Darker”


        Unlike the “P3 Project,” which was subject to unintelligible instructions and interferencs from Obligor’s
        management, Obligee’s “Dark and Darker” was able to progress smoothly from the creation of a development
        roadmap to a playable game under Ju-Hyun Choi’s strong leadership and firm development philosophy.


        In particular, the existing P3 Project team members who worked on “Dark and Darker” at Obligee had a good
        chemistry with each other, and although Obligee was not in a good financial situation, using the commercial
        Unreal game engine and off-the-shelf assets allowed them to significantly shorten the development time, hire
        the right people at the right time, and develop the game efficiently and very quickly.


        Obligee is based on a typical medieval fantasy world and has a traditional plot with the typical “warrior,”
        “ranger,” “wizard,” etc., classes that are bound to appear in a game set in a medieval fantasy world, where
        players can explore dungeons using weapons appropriate to their class and gain a sense of accomplishment
        by avoiding or defeating the typical monsters that appear in the dungeons while searching for treasures hidden
        throughout the dungeons.


        In addition, Obligee has adopted the “Extraction Shooter” genre, similar to Escape from Tarkov, which has
        been very popular since the open beta on December 18, 2017, to “Dark and Darker.” This is a so-called
        “medieval pseudo-Tarkov” system in which users team up to explore dungeons in competition with other
        teams, and only the team that finally escapes the dungeon can take the treasures acquired during the dungeon
        exploration and utilize them in the next game. On the other hand, “P3 Game” was a simple “battle royale”
        genre like “Battlegrounds.”




                              FOR VIEWING ONLY
                                  Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
            LIN, a Law
            Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                              49
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 111 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




           As mentioned earlier, “P3 Game” was a typical “one-time battle royale dungeon crawler” game in which
           players explore dungeons under a medieval fantasy world and compete with others to capture treasures,
           whereas “Dark and Darker” introduces the concept of escaping dungeons, the concept of turning treasures
           obtained by escaping dungeons into marketable goods, the concept of continuous rewards for escaping, and
           the method of creating large and complex dungeons by combining small dungeons that are standardized and
           modularized like Lego blocks, By introducing elements that elicit a greater sense of challenge and
           achievement for many people, introducing currency and trading functions that are unfamiliar in the FPS genre,
           and adding new character details, types of weapons available for each class, and magic systems, the game has
           become a new game that is completely different from the “P3 Game.”




      7. The “box office” success of “Dark and Darker”


           Obligee launched a test version of “Dark and Darker” on Steam, a global game publishing platform, in August
           2022, and conducted four public alpha tests until February 202322                                    23
                                                                                                                     .




                         FOR VIEWING ONLY

      22    Unlike Obligor, a large game company with its own game publishing platform, Steam is a platform that allows smaller companies
           like Obligee to upload their games to Steam and make them available to people around the world.

      23    Obligee’s alpha test was a testing method that allowed the public to play a test version of the game in order to fix various bugs before
           the game was released to the public, such as players finding bugs in the game and forwarding them to the developers.



                                    Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
               LIN, a Law
               Corporation          Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                                50
                 Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 112 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




        The alpha test of “Dark and Darker” was a huge success that no one at Obligee, including Ju-Hyun Choi,
        could have predicted (see Plaintiff’s Exhibit 1 and Plaintiff’s Exhibit 22 Dark and Darker “box office”
        numbers). As shown in the Dark and Darker box office article, “Dark and Darker” had 100,000 concurrent
        users and 2 million cumulative users during its alpha test, was the #2 most anticipated game on Steam, and
        had 1.7 million users with “Dark and Darker” on their pre-release wish list. This means that at least 1 million
        Steam users are expected to purchase a copy of “Dark and Darker” in its first year of release.24


   8. Obligor’s business obstruction through warning letter and take-down


        As mentioned above, after “Dark and Darker” became a huge hit among Steam users around the world, which
        even Obligee could not have predicted, Obligor suddenly sent a warning letter through a U.S.-based law firm
        on March 23, 2023, stating that the reproduction, distribution, transmission, etc., of “Dark and Darker”
        infringes Obligor’s copyright (see Exhibit 2, each warning letter). It should also be noted that Obligor had
        already filed a DMCA Section 512 takedown notice against Steam on February 22, 2023, one day before
        sending the above warning letter, and that, regardless of whether “Dark and Darker” and “P3 Game” are
        similar works, Obligor’s formal takedown notice has resulted in the removal of all posts related to “Dark and
        Darker” on Steam.


        However, (i) Obligee developed the “Dark and Darker” game independently without reference to or use of
        any materials created as a result of or in the course of the P3 Project, (ii) resource filenames do not constitute
        programmatic authorship, and both the “P3 Game” and “Dark and Darker” were developed by purchasing
        commercially available assets, which necessarily resulted in the same commercial asset resource filenames;
        and (iii) Obligor’s alleged similarities between the “P3 Game” and “Dark and Darker” are elements that are
        typical of prior games and do not constitute creative expression, which in and of themselves constitute an
        unsupportable allegation that Obligee infringed Obligor’s copyright.




                          FOR VIEWING ONLY
   24   To compare Blizzard’s success story, Starcraft 1 sold about 4.5 million copies in Korea, and Diablo 2 sold about 2 million copies.



                              Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
         LIN, a Law
         Corporation          Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                          51
                 Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 113 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




      Section 512 of the DMCA provides immunity for online service providers (“OSPs”) from copyright
      infringement, allowing OSPs to be immune from liability if they take down a work at the unilateral request
      of a person alleging copyright infringement (DMCA 512(g)(1)).


      In other words, Section 512 of the DMCA allows an OSP to take down a particular posting upon unilateral
      notice from a person alleging that the posting infringes his or her copyright, and immunizes the OSP from
      any damages suffered by the poster as a result of the OSP’s takedown, allowing a claimant of copyright
      infringement to take down a particular post that is being published by an OSP in the course of its relationship
      with the OSP without a court determination or order (like the above-referenced DMCA abuse example
      (Plaintiff’s Exhibit 21) being a result of abusively taking advantage of these features of the DMCA).


      Pursuant to DMCA 512(g)(3)(D), a subscriber to a takedown notice must consent to the jurisdiction of the
      court of the OSP’s domicile when filing a counter-notice in response to a take-down notice, and therefore,
      Obligee will not be able to service “Dark and Darker” through Steam unless and until Steam voluntarily
      resumes posting “Dark and Darker” in a U.S. court of competent jurisdiction in Bellevue, Washington, the
      domicile of Valve Corporation, a U.S. corporation, which is the provider of the Steam service, to determine
      the legality of Steam’s takedown of “Dark and Darker.”




                           FOR VIEWING ONLY

                                Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
          LIN, a Law
          Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                            52
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 114 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




         As mentioned earlier, Obligee was alpha-tested with Steam users from August 2022 to February 2023, and
         was able to gain great popularity with users around the world, including about 100,000 concurrent users and
         about 2 million cumulative users.

         However, given the extremely short gaming trend cycles, it’s obviously clear that Obligor’s business
         obstruciton will result in other games in a similar genre being released first, etc., and that if they miss the right
         time for a full release, they won’t end up making any money in the gaming market.

         As such, Obligor has exploited the situation that Obligee, a small game company, has no choice but to release
         “Dark and Darker” through Steam, which is subject to the U.S. DMCA, knowing full well that Obligor’s
         copyright infringement claims have no basis, and continues to engage in acts of business obstruction to harass
         Obligee, such as sending a copyright infringement warning letter and requesting a Section 512 DMCA take-
         down.



     9. Sub-conclusion

         “Dark and Darker” is a newly developed game by the same developers who founded Obligee after Obligor
         ceased development of the traditional “P3 Game” genre of exploring dungeons for treasure in a medieval
         fantasy world.

         Obligor unilaterally sent a warning letter alleging copyright infringement without even stating any of the
         required facts to establish copyright infringement and abused Section 512 of the DMCA to shut down
         Obligee’s “Dark and Darker” service via Steam.




                               FOR VIEWING ONLY
                                   Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
            LIN, a Law
             Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619


                                                                                                                                                                               53
                  Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 115 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




    VIII. Concluding Words

           For the foregoing reasons, we respectfully request that Obligee’s application be granted.




                             FOR VIEWING ONLY
                               Main office: (Suite #202) 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul (Seochodong G-Five Central Plaza) Phone: 3477-8686 Fax: 3477-8687
        LIN, a Law
         Corporation           Branch office: 10F, 347 Seocho-daero, Seocho-gu, Seoul (Seochodong Seocho Clover Tower) Phone: 3477-3003 Fax: 3477-3619




                                                                                                                                                                           54
                       Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 116 of 213
Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




                                                                                 Exhibits
     1.         Plaintiff’s Exhibit 1                           Dark and Darker box office records
     2.         Plaintiff’s Exhibit 2 at 1.                     Warning Letter (Ironmace)
     3.         Plaintiff’s Exhibit 2 at 2.                     Warning Letter (Ju-Hyun Choi)
     4.         Plaintiff’s Exhibit 3                           Copyright Infringement Notification to Steam
     5.         Plaintiff’s Exhibit 4                           Asset List
     6.         Plaintiff’s Exhibit 5                           Unreal Engine Naming Conventions
     7.         Plaintiff’s Exhibit 6                           Dungeons & Dragons_Namuwiki
     8.         Plaintiff’s Exhibit 7 at 1.                     Dungeons & Dragons class descriptions_Wikipedia
     9.         Plaintiff’s Exhibit 7 at 2.                     Dungeons & Dragons class descriptions_Wikipedia
     10.        Plaintiff’s Exhibit 8                           Prior Character Works
     11.        Plaintiff’s Exhibit 9                           Introduction to Panteon article
     12.        Plaintiff’s Exhibit 10                          WallPapersCraft
     13.        Plaintiff’s Exhibit 11                          Introduction to Castle Torgeath
     14.        Plaintiff’s Exhibit 12                          Previous Games for Dungeon Backgrounds
     15.        Plaintiff’s Exhibit 13                          Steam Genre Search Results
     16.        Plaintiff’s Exhibit 14                          Tavern posts
     17.        Plaintiff’s Exhibit 15                          Plarium RPG Class Description
     18.        Plaintiff’s Exhibit 16                          Transcript (Ju-Hyun Choi)
     19.        Plaintiff’s Exhibit 17                          210802 criminal accusation complaint
     20.        Plaintiff’s Exhibit 18 at 1.                     230307 Seizure list issuance
     21.        Plaintiff’s Exhibit 18 at 2.                    230203 Copy of search warrant
     22.        Plaintiff’s Exhibit 19                          210709 content-certified postal mail (Obligor-Ju-Hyun Choi)
     23.        Plaintiff’s Exhibit 20                          210820 Obligor Trade Secret Infringement Injunction Claim Complaint
     24.        Plaintiff’s Exhibit 21                          DMCA Abuse_Netpost
     25.        Plaintiff’s Exhibit 22                          Articles related to the “box office” success of Dark and Darker



                                                                              Appendices

   1.           Obligee Certified Copy of its Corporate Registry
   2.           Obligor Certified Copy of its Corporate Registry
   3.           Litigation Power of Attorney and Designation of Attorney

                                                                               April 10, 2023

                                                                                                                                    Litigation Counsel for Obligee
                                                                                                                                           LIN, a Law Corporation


     FOR VIEWING ONLY
                      Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 117 of 213
Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




                                                                                                                                          Attorney Yong Gap Kim
                                                                                                                                        Attorney Dong Hwan Shin
                                                                                                                                             Attorney Jae Goo Lee
                                                                                                                                         Attorney Jang Hoon Han



  To the attention of Suwon District Court




                               FOR VIEWING ONLY
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 118 of 213


Beware of personal information leaks; Submitted by LIN, a Law Corporation, at 6:01PM on Apr 10, 2023; Printed out by Min Gyeong Chung; Downloaded at 6:06PM on Apr 10, 2023




      [Separate Sheet]

                                                                                   List


           With respect to Plaintiff’s “Dark and Darker” game,


      1. Act of requesting to third parties such as online service providers, such as Valve Corporation, requesting
            that the reproduction and transmission of the above games be stopped because Plaintiff has infringed
            Defendant’s copyrights, etc.;


      2. Act of posting on an internet website or otherwise publishing a news release saying that Plaintiff has
            infringed Defendant’s copyright or trade secrets; and


      3. Act of sending a content-certified letter or a warning letter to Plaintiff’s customers describing the [alleged]
            facts of copyright infringement or trade secret infringement. The End




                           FOR VIEWING ONLY
           Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 119 of 213




                      CERTIFICATION OF TRANSLATION
                                                         and
                                               DECLARATION


State of California           )

                              )          S. S.

Los Angeles County            )



         I, Soomi Ko, the undersigned, declare that I am a duly certified Korean Court Interpreter
         approved by the United States District Courts, certified by the State of California and the Los
         Angeles County Superior Courts, with competent knowledge of Korean and English, and that
         I have truthfully and correctly translated for Nexon Korea Corporation v. Ironmace Co., Ltd.,
         et al., Case No. 2:23-cv-00576-MLP (W.D. Wash.) from Korean to English and that the said
         translation is, to the best of my knowledge and belief, a true and correct translation. I further
         declare that I am neither counsel for, related to, nor employed by any of the parties, and that I
         have no financial or other interest in the outcome of any action related to this translation. I
         declare that the foregoing is true and correct.

                                          Description of Translated Documents

             Ironmace’s Application for Temporary Injunction Against Business Obstruction



Executed on June 8, 2023




Soomi Ko

California State Certified Court Interpreter
#300732
(213) 999-7848(Cell)
soomi@komartin.com
www.komartin.com


                                    Ko & Martin Certified Interpreters and Translators
                                    Specializing in Korean and Chinese Languages
Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 120 of 213




                 EXHIBIT 3
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 121 of 213




                                                                 Sensitive
                                                                보존연한 : 영구보관




                                                                                ㅇ

                         넥슨인을 위한                                                소
                                                                                갑
                                                                                제
                                                                                ㅇ
                         생활 보안지침                                                12
                                                                                ㅇ
                                                                                호
                                                                                증
                                                                                2




         분 류            운영지침                   규 정 번 호        NXIT_D0101

         담 당 부 서        넥슨코리아 / 보안정책팀          적 용 일          2018-11-12

         승 인            정보보호 최고책임자             최 종 수 정 일      2020-06-09
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 122 of 213




                                                             목 차

       제 1 장 ㅣ 총 칙 .............................................................................................. 1

           제 1 조 【 목적 】 ..................................................................................................... 1
           제 2 조 【 범위 】 ..................................................................................................... 1

       제 2 장 ㅣ 정보보호 책임................................................................................... 1

           제 3 조 【 법률 및 회사 정책 준수 】 ............................................................................ 1
           제 4 조 【 정보보호 의무 】 ......................................................................................... 1
           제 5 조 【 보안사고 관리 】 ......................................................................................... 1

       제 3 장 ㅣ 정보보호 조직................................................................................... 2

           제 6 조 【 정보보호 조직 】 ......................................................................................... 2
           제 7 조 【 개인정보보호 조직 】 ................................................................................... 2

       제 4 장 ㅣ 정보 자산 관리 ................................................................................. 2

           제 8 조 【 관리 원칙 】 .............................................................................................. 2
           제 9 조 【 기밀 정보 관리 】 ....................................................................................... 2
           제 10 조 【 대외비 정보 관리 】 ................................................................................... 2
           제 11 조 【 일반 정보 관리 】 ..................................................................................... 2
           제 12 조 【 개인정보 관리 】 ....................................................................................... 3

       제 5 장 ㅣ 인적 보안 ........................................................................................ 3

           제   13   조   【   인사 변동 시 보안 】 ................................................................................. 3
           제   14   조   【   정보보호 교육 및 인식 제고 】 .................................................................... 3
           제   15   조   【   외부자 관리 】 .......................................................................................... 4
           제   16   조   【   외부 커뮤니케이션 】 ................................................................................. 4

       제 6 장 ㅣ 업무 보안 ........................................................................................ 4

           제 17 조 【 업무용 단말기 보안 및 프로그램 관리 】 ........................................................ 4
           제   18   조   【   공용 업무용 단말기 관리 】 ......................................................................... 4
           제   19   조   【   계정 및 비밀번호 관리 】............................................................................ 4
           제   20   조   【   권한 관리 】 ............................................................................................ 5
           제   21   조   【   네트워크 사용 】 ....................................................................................... 5
           제   22   조   【   인터넷 사용 】 .......................................................................................... 5
           제   23   조   【   메일 및 메신저 사용 】 .............................................................................. 5
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
                Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 123 of 213




            제   24   조   【   저장매체 관리 】 ....................................................................................... 5
            제   25   조   【   출력ㆍ복사물 관리 】 ................................................................................. 6
            제   26   조   【   출입 보안 】 ............................................................................................ 6
            제   27   조   【   외부자 출입 관리 】 ................................................................................... 6
            제   28   조   【   클린 데스크 】 .......................................................................................... 6
            제   29   조   【   전화ㆍ팩스 등 통신 장비 사용 】 .................................................................. 6

       부 칙 ............................................................................................................. 7

            제 1 조 【 시행일 】................................................................................................... 7
            제 2 조 【 하위 문서와의 관계 】 .................................................................................. 7
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 124 of 213




       제 1 장 ㅣ 총 칙

        제 1 조 【 목적 】
          본 지침은 ㈜넥슨코리아(이하 "회사"라 함)의 모든 임직원이 회사의 정보자산을 안전하게 보호하기
          위해 준수해야 하는 기본적인 보안 요구사항을 제시하고 있으며, 정보보호 관련 법률 준수와
          정보보호 활동을 위한 역할 및 책임을 정의하는 것에 목적이 있습니다.


        제 2 조 【 범위 】
          본 지침은 회사에서 근무하는 임직원(계약직, 파견직, 인턴 및 아르바이트 포함)을 주요 대상으로
          합니다.



       제 2 장 ㅣ 정보보호 책임

        제 3 조 【 법률 및 회사 정책 준수 】
        1. 모든 임직원은 정보보호 규정 및 지침 등 사규와 정보보호 관련 법률을 반드시 준수해야 합니다.


        제 4 조 【 정보보호 의무 】
        1. 모든 임직원은 직무상 접근 권한이 부여된 정보자산을 보호할 책임이 있습니다.
        2. 정보자산을 개인의 목적과 이익을 위하여 사용해서는 안 되며, 업무 목적으로만 사용해야 합니다.
        3. 정보자산이 허가받지 않은 외부자에게 유출 또는 오ㆍ남용되지 않도록 안전하게 관리해야 하고,
           접근이 허용되지 않은 서비스 및 시스템 등에 고의적인 접근 시도를 해서는 안 됩니다.
        4. 외부에서 만들어진 소프트웨어나 문서를 이용할 때에는 반드시 저작권 사용 허락을 받아야 하며,
           정당하지 않은 방식으로 정보를 수집하거나 무단 사용 또는 배포해서는 안 됩니다.


        제 5 조 【 보안사고 관리 】
        1. PC, 모바일 기기, 네트워크 장비 등 정보시스템에서 비정상적 행위나 이상 징후를 발견하면
          정보보호 주관부서에 신고합니다.
        2. 정보자산 및 개인정보가 유출, 도난, 해킹, 공격, 비정상적인 접근 시도 등으로 침해사고가 발생한
          경우 침해사고 대응 조직에 즉시 알리고 대응 계획에 따라 신속하게 대응합니다.
        3. 침해사고 발생 시 관련된 내용을 침해사고 대응 조직이 아닌 누구에게도 임의로 알려서는 안 되며,
          공개가 필요한 경우 침해사고 대응 조직과 협의합니다.



                                                                                1
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 125 of 213




       제 3 장 ㅣ 정보보호 조직

        제 6 조 【 정보보호 조직 】
        1. 정보보호 최고책임자는 회사의 정보보호 전략 계획을 수립하여 추진하고 총괄합니다.
        2. 정보보호 관리자는 정보보호 전략 계획을 운영하고 이행하는 업무를 총괄합니다.
        3. 부서별 보안책임자는 부서의 장이 되며 부서 내 정보보호 업무 수행 및 관리를 하고 정보보호
           주관부서의 업무 협조 요청 시 이를 지원합니다.


        제 7 조 【 개인정보보호 조직 】
        1. 개인정보보호 책임자는 회사의 개인정보보호 전략 계획을 수립하여 추진하고 총괄합니다.
        2. 개인정보보호 관리자는 개인정보보호 전략 계획을 운영하고 이행하는 업무를 총괄합니다.
        3. 정보보호 조직과 개인정보보호 조직은 역할과 책임에 따라 구분될 수 있습니다.



       제 4 장 ㅣ 정보 자산 관리

        제 8 조 【 관리 원칙 】
        1. 부서별 보안책임자는 부서에서 소유하거나 관리하는 정보자산의 유형과 보안등급을 분류해야 합니다.
        2. 정보자산은 기밀성, 무결성, 가용성을 고려하여 중요도를 산정하고 보안등급을 부여합니다.
        3. 정보자산은 보안등급, 자산번호, 운영부서 등 관리에 필요한 사항을 포함하여 목록을 만들어
          유지하고 관리합니다.
        4. 문서자산은 기밀성을 고려하여 기밀, 대외비, 일반정보로 분류하여 관리합니다.


        제 9 조 【 기밀 정보 관리 】
        1. 기밀 정보는 회사 내ㆍ외부에 부당하게 공개되거나 누설될 경우 회사에 중대한 영향을 미치는
           정보를 말하며, 항상 최소한의 인원만 접근하도록 해야 합니다.
        2. 기밀 정보의 공개 및 접근 권한이 필요한 경우 해당 정보자산에 대한 의사결정 권한을 가지고 있는
           임직원의 검토를 받습니다.


        제 10 조 【 대외비 정보 관리 】
        1. 대외비 정보는 회사 외부에 공개되어서는 안 되나 업무상 자유로운 사내 열람이 필요한 정보를
           말하며, 회사 임직원만 접근하도록 해야 합니다.
        2. 대외비 정보의 공개 및 접근 권한이 필요할 경우 부서별 보안책임자가 판단하여 제공합니다.


        제 11 조 【 일반 정보 관리 】
                                                                                2
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 126 of 213




        1. 일반 정보는 외부에 공개 시 문제가 될 가능성이 없는 정보를 말합니다.


        제 12 조 【 개인정보 관리 】
        1. 개인정보는 최소한의 항목만 정보주체의 동의를 얻어 수집하고, 아동의 개인정보는 법정대리인의
          동의를 얻어 수집합니다.
        2. 개인정보는 이용 목적이 명확해야 하고, 명시된 이용 목적 범위 안에서만 처리합니다.
        3. 개인정보의 처리에 관한 사항은 개인정보 처리방침을 통해 공개하고, 정보주체의 권리를 보장합니다.
        4. 개인정보는 처리 방법 및 종류, 중요도, 침해 가능성 등을 고려하여 안전하게 관리하고, 백업
          데이터도 원본 데이터와 동일한 수준으로 관리합니다.
        5. 중요 개인정보는 회사에서 정한 암호화 기준에 따라 안전한 알고리즘으로 암호화합니다.
        6. 개인정보를 제3자에게 제공하는 경우와 국외로 이전하는 경우, 위탁하는 경우에 정보보호를 위한
          계약서를 체결하며 관계 법률에 따라 정보주체에게 알리거나 별도 동의를 얻습니다.
        7. 영업의 양도ㆍ합병 등으로 개인정보를 타인에게 이전하거나 이전받는 경우 사전에 관련 정보를
          개인정보보호 주관부서에 알리고 이전 준비를 합니다.
        8. 개인정보는 이용 목적을 달성하거나 보유 및 이용 기간이 끝나면 복구할 수 없는 방법으로 완전히
          파기하며, 제3자에게 제공된 경우 계약 종료 시 완전히 파기하도록 요청하고 확인합니다.
        9. 클라우드 이용 시 개인정보의 저장, 처리는 제한되고, 업무상 처리가 불가피한 경우 개인정보보호
          주관부서 검토를 받습니다.



       제 5 장 ㅣ 인적 보안

        제 13 조 【 인사 변동 시 보안 】
        1. 입ㆍ퇴사 시와 회사의 정보보호 활동에 중대한 변화가 있는 경우 정보보호 서약서를 작성합니다.
        2. 개인정보취급자는 최소한의 인원으로 지정하고, 개인정보보호 서약서를 작성합니다.
        3. 업무 수행 시 취득한 중요정보를 허가되지 않은 자에게 제공해서는 안 되며, 특히 외부로 유출되지
           않도록 주의합니다.
        4. 휴직, 퇴사 또는 관계사 이동, 계약 만료 시 지급받은 장비와 접근 권한, 업무 자료 등 회사와
           관련된 자산은 모두 반납합니다.
        5. 정보자산은 계약에 따라 상호 보관하기로 한 경우를 제외하고 모두 반납하거나 중요정보를 복구할
           수 없는 방법으로 완전히 파기합니다.


        제 14 조 【 정보보호 교육 및 인식 제고 】
        1. 임직원은 매년 정보보호 교육을 받아야 하고, 개인정보취급자는 개인정보보호 교육을 추가로 받아야
          합니다.
        2. 신규 입사자 및 신규 직책자와 같이 새로운 업무를 수행하는 경우 역할에 맞는 정보보호 교육을

                                                                                3
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 127 of 213




          받아야 합니다.


        제 15 조 【 외부자 관리 】
        1. 계약 체결 시 외부자가 준수해야 할 정보보호 요구사항과 위반 시 책임 등을 계약서에 포함하고
          관리 및 감독합니다.
        2. 외부자와 협업을 하는 담당자는 외부자의 소속 회사 또는 해당 업무 수행 직원에게 정보보호
          서약서를 받아서 관리합니다.
        3. 외부자는 회사 정보시스템에 접속할 수 없으나, 업무상 접속이 불가피한 경우 계약 체결 및
          정보보호 서약서 작성 여부를 확인한 후 해당 정보시스템 관리 부서의 검토를 받아 최소한의 접근
          권한으로 이용합니다.


        제 16 조 【 외부 커뮤니케이션 】
        1. 미디어, 투자 기관 등 외부기관에 기고, 저술, 자료 제공 등의 커뮤니케이션을 할 때 책임은 해당
          임직원에게 있습니다.
        2. 외부 커뮤니케이션 시 회사의 기밀, 대외비 등급 정보가 포함되지 않도록 해야 하며, 필요 시 외부
          커뮤니케이션을 주관하는 부서와 협의합니다.



       제 6 장 ㅣ 업무 보안

        제 17 조 【 업무용 단말기 보안 및 프로그램 관리 】
        1. 회사에서 지급하거나 사용을 허락한 PC와 모바일 기기는 백신 등 보안 솔루션 설치, 업데이트
          최신화, 비밀번호 설정 등의 보안 조치를 적용합니다.
        2. 프로그램은 회사에서 구매하거나 저작권 사용 허락을 받은 것만 설치해야 합니다.
        3. 업무 목적으로 사용하는 모바일 기기는 다른 정보자산과 동일한 정보보호 정책을 적용합니다.
        4. 모바일 기기에 중요정보를 저장하지 않아야 하고, 업무상 저장이 필요한 경우 암호화하거나 별도의
          보안 조치를 적용합니다.
        5. 모바일 기기 분실 시 메일 연동을 초기화하고 정보보호 주관부서로 즉시 신고합니다.


        제 18 조 【 공용 업무용 단말기 관리 】
        1. 개인에게 지급된 PC는 공용으로 사용하지 않아야 하고 업무상 공용으로 사용이 필요한 경우
          중요정보를 저장하지 않아야 합니다.
        2. 공용 PC는 업무 목적으로만 사용하고, 중요정보를 저장할 경우 부서별 보안책임자 검토 후 접근
          권한 최소화 및 접근 통제 등의 보안 조치를 적용합니다.


        제 19 조 【 계정 및 비밀번호 관리 】
                                                                                4
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 128 of 213




        1. 모든 계정은 업무상 필요한 최소한의 인원에게 1인 1계정으로 부여하며, 계정이 생성될 정보
          자산의 관리 부서가 발급 적절성을 검토합니다.
        2. 비밀번호는 작성규칙에 따라 안전하게 설정하고, 주기적으로 변경하며 유출되지 않도록 관리합니다.


        제 20 조 【 권한 관리 】
        1. 권한 오남용으로 인한 피해를 줄이기 위해 권한과 책임에 따라 직무를 분리합니다.
        2. 접근 권한 부여와 권한 위임은 해당 정보자산 이용 부서와 관리 부서의 검토를 받습니다.
        3. 조직 및 업무 환경에 따라 직무 분리가 어려운 경우 직무자간 상호 검토, 주기적인 직무수행
          모니터링 등 별도 보안 통제 방안을 적용하고 정보자산 관리 부서의 검토를 받습니다.


        제 21 조 【 네트워크 사용 】
        1. 모바일 기기로 내부 네트워크를 이용하는 경우 기기에 대해 별도 인증하고, 무선 네트워크 사용 시
          지정된 무선 네트워크만을 이용합니다.
        2. 무선 네트워크는 인가된 사용자만 접속하도록 보안 설정을 적용하여 안전하게 접근합니다.
        3. 회사 시스템은 외부와 접근이 제한되고, 업무상 접근이 불가피한 경우 정보보호 주관부서의 검토를
          받습니다.


        제 22 조 【 인터넷 사용 】
        1. 사내 네트워크를 통해 허용하지 않은 외부 P2P, 웹하드 등을 사용하여 회사에 불이익을 주는
          행위를 하지 않아야 합니다.
        2. 업무와 관련되지 않은 음란, 도박 등 불법 사이트에 접속하지 않아야 하고, 게시판, SNS 등에
          회사에 불이익을 주는 내용을 게시하지 않아야 합니다.


        제 23 조 【 메일 및 메신저 사용 】
        1. 메일과 메신저는 회사에서 허용한 것만 사용하고, 중요정보 전송 시 전용 시스템을 사용하거나
          암호화 등을 적용하여 유출에 주의합니다.
        2. 업무상 다른 메일 시스템 또는 메신저 사용이 필요한 경우 정보보호 주관부서의 검토를 받고, 사용
          시 중요정보를 외부로 전송하지 않아야 합니다.
        3. 출처가 불분명하거나 악성코드 포함이 의심되는 메일은 열람하지 않고 침해사고 총괄부서에
          신고합니다.


        제 24 조 【 저장매체 관리 】
        1. 보조 저장매체는 업무 목적으로만 사용하고, 중요정보가 유출되지 않도록 주의합니다.
        2. 개인정보 처리를 위해 보조 저장매체 사용이 필요한 경우 개인정보보호 주관부서의 검토를 받습니다.
        3. 사용 시 항상 백신 점검을 실시하여 악성코드가 유포되지 않도록 주의합니다.


                                                                                5
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 129 of 213




        제 25 조 【 출력ㆍ복사물 관리 】
        1. 중요정보가 포함된 출력ㆍ복사물은 최소화하고 사용 후 복구할 수 없는 방법으로 파기합니다.


        제 26 조 【 출입 보안 】
        1. 회사 출입 카드는 항상 소지하고 타인에게 양도 또는 대여하지 않아야 합니다.
        2. 출입 카드를 분실한 경우 즉시 지급 부서에 신고하고, 휴직, 퇴사 또는 계약 종료 시는 출입 카드를
          반납합니다.


        제 27 조 【 외부자 출입 관리 】
        1. 외부자와 협업을 하는 담당자는 외부자의 출입 권한은 최소한으로 요청하고, 업무상 공용구역 외
          출입이 필요한 경우 관리 부서의 검토를 받습니다.


        제 28 조 【 클린 데스크 】
        1. 보조 저장매체, 모바일 기기, 서류 등은 잠금장치가 있는 캐비닛 등에 안전하게 보관합니다.
        2. 장시간 자리를 비우거나 퇴근 시 중요정보가 포함된 자료를 방치하지 않고, PC의 전원은 종료합니다.


        제 29 조 【 전화ㆍ팩스 등 통신 장비 사용 】
        1. 전화, 팩스 및 화상 회의 시스템 등 통신 장비는 업무용으로만 사용하며, 정보 전송 시 수신자가
          정확한지 반드시 확인합니다.




                                                                                6
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 130 of 213




       부 칙

        제 1 조 【 시행일 】
          이 운영지침은 2018 년 11 월 12 일부터 시행합니다.
          이 운영지침은 2020 년 6 월 9 일부터 개정 시행합니다.


        제 2 조 【 하위 문서와의 관계 】
        1. 세부사항이 별도로 정해져 있지 않은 경우 정보보호 관련 법률 등의 기준을 따릅니다.
        2. 본 지침에서 정하지 않은 세부사항은 아래 문서를 따릅니다.
          -   사내 보안 절차서




                                                                                  7
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 131 of 213




                                                                 Sensitive
                                                               보존연한 : 영구보관




                    정보시스템 운영
                                                                                ㅇ
                                                                                소
                                                                                갑
                                                                                제
                          보안 절차서                                                ㅇ
                                                                                12
                                                                                ㅇ
                                                                                호
                                                                                증
                                                                                3
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 132 of 213




                                                                           규     정 번
         분    류                   운영절차서                                                               NXIT_P0103
                                                                           호


         담    당 부        서        넥슨코리아 / 보안정책팀                            적     용 일                  2018-11-12


                                                                           최 종 수 정
         승    인                   정보보호 최고책임자                                                          2020-06-09
                                                                           일



                                                            목            차


       제 1 장 ㅣ 개             요 .......................................................................................................... 1

           제 1 조 【 목적 】.................................................................................................... 1


           제 2 조 【 적용 범위 】 ............................................................................................ 1


       제 2 장 ㅣ 정보시스템 계정 및 접근 권한 관리 ...................................................... 1

           제 3 조 【 계정 및 권한 관리 】 ............................................................................... 1


           제 4 조 【 접근 통제 】 ............................................................................................ 3


       제 3 장 ㅣ 정보시스템 보안관리 ................................................................................. 5

           제 5 조 【 네트워크 보안관리 】 ............................................................................... 5


           제 6 조 【 서버 보안관리 】 ...................................................................................... 5


           제 7 조 【 웹 서버 보안관리 】 ................................................................................. 7


           제 8 조 【 데이터베이스 보안관리 】 ......................................................................... 7


       제 4 장 ㅣ 정보시스템 운영관리 ................................................................................. 8
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
                Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 133 of 213




            제 9 조 【 정보시스템 도입 및 설치 】 ...................................................................... 8


            제 10 조 【 프로그램 설치 및 변경 】 ....................................................................... 8


            제 11 조 【 정보시스템 운영 】 ................................................................................. 8


            제 12 조 【 백업 관리 】 .......................................................................................... 9


            제 13 조 【 업데이트 관리 】 .................................................................................. 10


            제 14 조 【 데이터 파기 】 ..................................................................................... 10


            제 15 조 【 로그 관리 】 ........................................................................................ 11


       제 5 장 ㅣ 암호화 관리 ............................................................................................... 13

            제 16 조 【 암호화 대상 】 ..................................................................................... 13


            제 17 조 【 저장 시 암호화 】 ................................................................................ 13


            제 18 조 【 송ㆍ수신 시 암호화 】 .......................................................................... 14


            제 19 조 【 암호화 기술 및 프로그램 】 .................................................................. 14


            제 20 조 【 암호화키 관리 】 .................................................................................. 15


       제 6 장 ㅣ 클라우드 서비스 관리 ............................................................................. 16

            제 21 조 【 도입 단계 】 ........................................................................................ 16


            제 22 조 【 이용 단계 】 ........................................................................................ 17


            제 23 조 【 해지 단계 】 ........................................................................................ 17


       제 7 장 ㅣ 개발보안..................................................................................................... 17

            제 24 조 【 설계 단계 】 ........................................................................................ 17
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
                 Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 134 of 213




            제 25 조 【 구현, 테스트 및 이관 단계 】 ................................................................ 20


            제 26 조 【 소스코드 관리 】 .................................................................................. 20


       제 8 장 ㅣ 통제구역 보안 ........................................................................................... 21

            제 27 조 【 통제구역 보안관리 】 ............................................................................ 21


       제 9 장 ㅣ 예외규정..................................................................................................... 22

            제 28 조 【 예외적용 기준 】 .................................................................................. 22


       부     칙 .............................................................................................................................. 23

            제 1 조 【 시행일 】 .............................................................................................. 23


            제 2 조 【 하위 문서와의 관계 】 ............................................................................ 23
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 135 of 213




       제 1 장 ㅣ 개              요

        제 1 조 【 목적 】

             정보시스템 등의 안전한 운영 및 개발을 위해 준수해야 하는 보안 관리절차를 제공하는


             것을 목적으로 합니다.




        제 2 조 【 적용 범위 】

             서비스 개발 및 운영하는 모든 정보시스템(‘정보보호시스템’ 포함)과 정보시스템을 개발,


             운영, 관리하는 담당자 및 부서를 대상으로 합니다.




       제 2 장 ㅣ 정보시스템 계정 및 접근 권한 관리

        제 3 조 【 계정 및 권한 관리 】

        1.   계정을 생성하거나 변경하는 경우 [전자결재, NCSR 등] 승인 및 처리 내역을 체계적으로


             관리할 수 있는 시스템을 이용하고 [부서별 보안책임자]의 승인을 받아야 합니다.


        2.   계정은 1인 1계정 원칙에 따라 사용자 별로 유일해야 하고, 계정현황을 목록화하여 유지


             관리해야 합니다.


        3.   계정은 [사내 이메일(AD) 계정으로 동일하게] 생성하되, 외부자 계정, 서비스 계정과


             계정관리 솔루션을 이용하여 생성하는 계정은 예외로 할 수 있습니다.


        4.   권한은 관리자, 운영자, 사용자 등 역할에 따라 다양하게 구성하고, 업무에 필요한


                                                                                   1
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 136 of 213




             최소한의 기능만 사용할 수 있도록 합니다.


        5.   모든 예외권한은 권한 부여시 사용기한을 정하여야 하며 [부서별 보안책임자]의 승인을


             받아야 합니다.


        6.   특수권한(관리자 등)은 계정 관리, 장애복구, 점검 등의 제한적인 목적으로만 사용합니다.


        7.   특수권한(관리자 등)은 정보시스템 담당자를 포함하여 최소한으로 부여합니다.


        8.   계정 및 접근 권한은 퇴직, 휴직 및 업무 변경 시 재검토하여 회수하거나 삭제해야


             합니다. 특히 외부자 계정 및 접근 권한은 사용 목적이 달성되면 즉시 회수합니다.


             1) 인사 변경 통보 후 [2일 이내 처리(work day 기준)]


        9.   업무 인수인계 등의 사유로 인해 계정의 삭제가 곤란한 경우 [부서별 보안책임자]의


             승인을 받아 해당 계정의 비밀번호를 강제로 변경하는 등의 보안대책을 적용합니다.


        10. 계정의 안전한 관리를 위한 기본적인 기술적 보호 조치는 아래와 같으며, 시스템 또는


             업무 특성을 고려하여 적용할 수 있습니다.


             1) 로그인 실패 횟수 제한


              -   [로그인 10 회 실패 시 5 분간 아이디 잠금]


              -   [또는 로그인 5 회 실패 시 OTP, 캡차, 보안코드 등 추가 입력 요구]


             2) 로그인 세션 타임아웃


              -   [대외서비스 및 개인정보처리시스템: 3 시간 이내]


              -   [모바일웹/앱: 24 시간 이내]


              -   [기타 대내서비스: 9 시간 이내]
                                                                                  2
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 137 of 213




        11. 정보시스템에 기본적으로 설정되어 있는 계정이나 시스템 구축 시 사용한 계정 등은


           비밀번호를    변경해서      사용하고,     시스템    운영    시   불필요한     계정은     삭제    또는


           비활성화합니다.


        12. 다음과 같은 경우는 계정을 잠금 처리합니다.


           1) [일정기간(최대 3개월)] 접속 기록이 없는 경우


           2) 비밀번호 변경 주기를 넘겨 변경하지 않은 경우


           3) 로그인 실패 횟수를 초과한 경우


           4) 접속기록 검토 결과 비정상적인 행위가 발견된 경우


        13. 정보시스템 담당자는 잠금 처리된 계정을 사용자에게 알리고 일정 기간 이상 재사용을


           요청하지 않는 경우 계정을 삭제합니다. 단, 정보 유출이 예상되거나 보안상 중요한


           계정은 [부서별 보안책임자]의 승인을 받아 즉시 삭제할 수 있습니다.


           1) 계정 잠금: [일정기간(최대 3개월) 미사용 시 계정 잠금]


           2) 계정 삭제: [일정기간(계정 잠금 기간 포함 최대 6개월) 미사용 시 계정 삭제]


        14. 비밀번호는 [문자와 숫자, 특수문자 중 2종류 조합 시 최소 10자리 이상 또는 3종류 조합


           시 최소 8자리이상의 길이]로 구성하고 계정과 동일한 비밀번호, 연속되는 숫자나 문자,


           쉽게 유추할 수 있는 생년월일, 전화번호, 이름 등의 비밀번호는 사용하지 않아야 하며


           [최대 6개월] 주기로 변경하여 유출되지 않도록 관리합니다.




        제 4 조 【 접근 통제 】

                                                                                 3
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 138 of 213




        1.   정보시스템 접근 권한 부여 및 변경 시 [전자결재, NCSR 등] 처리 내역을 관리할 수 있는


             시스템을 이용하고 [부서별 보안책임자]의 승인을 받아야 합니다.


        2.   중요 정보시스템의 접근은 식별자, 비밀번호 기반의 사용자 인증 외에 별도의 강화된


             인증수단(OTP 등)을 적용합니다. 단, 정보시스템의 운영상 또는 기능상의 이유로 강화된


             인증수단 적용이 어려울 때는 IP 또는 MAC 등을 기반으로 접근제어 적용하도록 합니다.


        3.   외부에서 정보시스템에 접근이 필요한 경우 VPN 등 안전한 방법을 사용하고 [부서별


             보안책임자]의 승인을 받아야 합니다.




                                                                                  4
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 139 of 213




       제 3 장 ㅣ 정보시스템 보안관리

        제 5 조 【 네트워크 보안관리 】

        1.   네트워크는 서버가 위치하는 서비스망, 개발망과 업무 PC등 클라이언트가 위치하는


             업무망으로 네트워크 영역을 분리하여 인가받은 접근만을 허용하도록 구성합니다.


        2.   웹 서비스 등 외부에 오픈하는 서비스는 공인망에 구축하되 개인정보, 중요정보 등을


             저장하는 데이터베이스서버는 사설망에 구성합니다.


        3.   중요 정보시스템 접근은 [인터넷이 차단된 PC에서만 접근]을 허용합니다.


        4.   네트워크 변경(신설, 이전, 폐쇄) 시 정보보호 환경에 많은 영향을 미치는 경우 네트워크


             운영자는 [정보보호 주관부서]와 사전협의 하여 변경합니다.


        5.   네트워크 접근 제어 및 침입탐지를 위한 침입차단시스템(이하 “방화벽”이라 한다.),


             침입탐지시스템(IDS) 등에 준하는 보호조치를 마련합니다.


        6.   방화벽 정책은 [반기 1회 이상] 타당성을 검토하여 아래와 같은 내용이 확인되면 삭제


             또는 변경합니다.


             1) 미승인 정책


             2) 장기간 미사용 정책


             3) 중복 정책


        제 6 조 【 서버 보안관리 】


                                                                                  5
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 140 of 213




        1.   서버 구성 시 안티바이러스와 같은 악성코드를 탐지 또는 차단할 수 있는 보안솔루션을


             설치하고, 최신 상태로 실시간 운영합니다.


        2.   업무 목적 외 불필요한 서비스는 사용하지 않아야 합니다.


        3.   다음과 같은 변경 발생 시 [정보보호 주관부서와 개인정보보호 주관부서]와 협의하여


             보안성 검토를 진행합니다.


             1) 개인정보처리시스템이 추가 또는 이전되는 경우


             2) 기 구축된 서버의 개인정보 데이터베이스에 대한 접근을 관리 또는 통제하기 위해


               사용되는 보안체계에 중대한 변화가 발생하는 경우


        4.   외부로부터 악성코드 유입, 리버스 커넥션 등의 백도어를 이용한 추가적인 공격행위를


             차단하기 위해 서버는 불필요한 네트워크 연결을 차단합니다.


             1) 외부에서 서버로의 불필요한 네트워크 연결 제한 (승인된 서비스 이외 차단)


             2) 서버에서 외부로 불필요한 네트워크 연결 제한(80, 443 등)


             3) 보안업데이트 필요시 내부 업데이트 서버를 이용하고, 불가능한 경우, [정보보호


               주관부서]의 검토 후 인터넷 접속을 한시적으로 허용


        5.   인가된 사용자만 서버에 접속할 수 있도록 통제해야 하며, 원격 접속 시 암호화된 통신


             수단을 적용합니다.


             1) 암호화된 통신수단: SSH, SFTP, 암호화 통신 설정된 RDP 등


        6.   개인정보를    처리하는     중요    서버는    물리적    또는   논리적으로      분리된    전용      서버로


             운영합니다.
                                                                                    6
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 141 of 213




             1) 웹서버와 데이터베이스서버는 동일 서버에서 운영 제한




        제 7 조 【 웹 서버 보안관리 】

        1.   다음과 같은 개인정보가 업무상 불필요하게 화면에 출력되는 경우 마스킹을 적용하여,


             개인정보가 노출되는 것을 최소화합니다.


             1) 비밀번호 입력 화면에 노출되는 비밀번호


             2) 법률에서 암호화 대상으로 지정한 정보[(여권번호, 계좌번호, 신용카드번호 등)]


             3) 회사에서 지정한 암호화 대상 정보


        2.   관리자 전용 응용프로그램(관리자 웹페이지, 관리 콘솔 등)은 외부에 오픈 되지 않도록


             관리합니다.




        제 8 조 【 데이터베이스 보안관리 】

        1.   데이터베이스 구성 시 외부로부터 직접 접속할 수 없도록 사설 IP를 할당합니다.


        2.   응용프로그램 및 기타 목적으로 사용되는 쿼리는 정적쿼리만 허용하며 동적쿼리 사용은


             지양합니다.


        3.   다음과 같은 개인정보처리시스템의 중요 데이터베이스가 연계되는 경우 데이터베이스


             관리자는 [정보보호 주관부서와 개인정보보호 주관부서]와 협의하여 보안성 검토를


             진행합니다.



                                                                                  7
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 142 of 213




             1) 내부 정보시스템과 개인정보처리시스템을 연계하여 데이터 전송이 발생하는 경우


             2) 외부 기관과 개인정보처리시스템을 연계하여 데이터 전송이 발생하는 경우




       제 4 장 ㅣ 정보시스템 운영관리

        제 9 조 【 정보시스템 도입 및 설치 】

        1.   신규 도입되는 정보시스템은 취약점 점검 및 이행 조치 후 운영합니다.


        2.   정보시스템의      하드웨어     및    설치된     소프트웨어      정보    자산    목록은     최신으로


             유지ㆍ관리합니다 .


        3.   서버는 물리적인 접근통제가 가능한 공간에 설치합니다.


        제 10 조 【 프로그램 설치 및 변경 】

        1.   정보시스템 담당자는 설치된 프로그램 현황을 유지하고 관리합니다.


        2.   서비스 계정으로 구동되는 프로그램인 경우, 계정의 권한은 최소한으로 합니다.


        3.   정보시스템에는 서비스 목적 외 프로그램은 설치하지 않습니다.


        4.   정보시스템에     설치된    프로그램의      임의적    변경은    기능상     오류를    발생시킬       위험이


             있으므로 필요한 경우, 제품 공급자와 협의 후 변경합니다.


        5.   정보시스템에     설치된     프로그램     변경은    내용,   변경자,     사유    등을   [문서화    혹은


             시스템화]하여 관리합니다.


        제 11 조 【 정보시스템 운영 】

                                                                                    8
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 143 of 213




        1.   정보시스템은 자산 중요도, 자산번호, 운영부서 등 관리에 필요한 사항을 포함하여


             목록화하고, 최신정보로 유지 및 관리합니다.


        2.   [정보시스템 운영부서]는 정보시스템 운영 및 변경 관리를 위한 절차를 수립하고


             운영합니다.


        3.   정보시스템       성능   및   용량은   안정적인   서비스를     위해    지속적으로     모니터링      하고


             관리합니다.


        4.   보안설정을 변경할 경우, 정보시스템 담당자는 [정보보호 주관부서]와 사전 협의합니다.


        5.   정보시스템에 보안 취약점이 발견된 경우, 서비스 영향도 검토 후 업데이트 또는 설정


             변경 등을 통해 취약점을 제거합니다.


        6.   정보시스템 담당자는 사용 현황을 주기적으로 모니터링하고, 이상 징후 발생 시 신속히


             [정보보호 주관부서]에 공유하고 조치합니다.




        제 12 조 【 백업 관리 】

        1.   다음과 같은 정보는 백업 및 복구 계획을 마련하여 주기적으로 백업을 수행합니다.


             1) 서버(OS)


              -   서버 설정 값, 로그 파일 등


             2) 네트워크 장비(방화벽, 스위치, 라우터 등)


              -   네트워크 장비 설정 값(라우팅 정보 등), 방화벽 정책(Rule), 로그 파일 등



                                                                                   9
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 144 of 213




             3) 데이터베이스


              -   데이터, 접속기록, 로그 파일 등


        2.   백업 데이터를 복구할 수 있는지 [연 1회 이상] 복구 테스트를 진행해야 합니다.


        3.   중요   데이터는    소산하여     관리하고     비   인가자가    접근할    수   없도록    접근      통제를


             강화합니다.




        제 13 조 【 업데이트 관리 】

        1.   정보시스템 담당자는 최신 업데이트 정보를 수집하고 업데이트에 따른 서비스 영향도를


             검토한 후 정기점검 등을 통해 적용합니다.


        2.   업데이트 적용 후 서비스 장애가 발생한 경우 원복하고, 원인 분석 및 충분한 테스트 후


             재적용합니다.


        제 14 조 【 데이터 파기 】

        1.   데이터는 복구/재생할 수 없는 방법을 사용하여 삭제하거나 데이터가 기록된 매체를


             물리적으로 분쇄 또는 소각하여 파기합니다.


        2.   개인정보가 저장되었던 정보시스템의 저장매체는 [디가우징(Degaussing) 또는 파쇄하는


             방식]을 이용하여 재사용이 불가능하게 처리합니다. 단, 저장매체의 재사용이 필요한


             경우에는 [개인정보보호 주관부서에서 검토하고] 데이터를 복구/재생할 수 없도록 삭제한


             후에 재사용해야 합니다.



                                                                                   10
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 145 of 213




        3.   데이터를 복구/재생할 수 없도록 삭제하는 방법은 다음과 같습니다.


             1) 데이터 위에 임의의 값(Null값 등)을 덮어쓰기 한 후 삭제


             2) 덮어쓰기가 곤란한 경우에는 테이블 데이터에 대한 논리적인 삭제 등


        제 15 조 【 로그 관리 】

        1.   정보시스템 담당자는 보안 사고 발생 시 책임 추적성을 확보하기 위해 다음과 같은


             로그를 기록합니다.


             1) 사용자 접속기록 및 보안관련 감사로그


              -   사용자 식별정보(ID 등)


              -   접속일시


              -   접속지(단말기 IP 등)


              -   수행업무(정보주체 목록 조회, 수정, 삭제, 다운로드 등)


              -   인증 성공/ 실패 로그


              -   파일 접근


              -   계정 및 권한 등록/변경/삭제 등


             2) 시스템 이벤트 로그


              -   운영체제 구성요소에 의해 발생되는 로그(시스템 시작, 종료, 상태, 에러코드 등)


             3) 보안시스템 정책(룰셋 등) 등록/변경/ 삭제 및 이벤트 로그


             4) 기타 정보보호 관련 로그



                                                                                  11
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 146 of 213




        2.   로그의 정확한 기록을 위해 정보시스템 시간을 표준시간으로 동기화 합니다.


        3.   로그는 백업 및 위변조 방지 대책을 적용합니다.


             1) 로그는 별도 장비 또는 저장장치에 백업후 접근권한 제한(단, 별도 장비에 로그


               백업이 어려운 경우 접근권한 제한하여 관리)


             2) 정보시스템 로그는 [최소 3개월 이상] 보관.


             3) 개인정보처리시스템 로그는 최소 1년 이상 보관(단, 고유식별정보 또는 민감정보를


               처리하는 경우 최소 2년 이상 보관)


        4.   중요 정보시스템은 상시 모니터링 체계를 적용하여 이상징후 모니터링을 수행합니다.


        5.   로그가 방대하여 분석이 어려운 경우, 중요한 시스템 로그에 대해 선택하여 분석할 수


             있습니다.




                                                                                  12
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 147 of 213




       제 5 장 ㅣ 암호화 관리

        제 16 조 【 암호화 대상 】

        1.   개인정보는 안전한 보호를 위해 다음과 같은 법령 등에서 요구하는 정보는 암호화해야


             합니다.


             1) 법률에 따라 암호화가 요구되는 정보


             2) 정보주체 식별 가능성이 높은 정보


             3) 기밀 정보 또는 대외비 정보에 해당하는 정보


             4) 그 외 암호화가 필요하다고 판단되는 정보


        제 17 조 【 저장 시 암호화 】

        1.   데이터베이스     등   정보시스템에      암호화     대상   정보를     저장할    경우    [암호화    업무


             담당부서]에서     제공하는     암호화    프로그램을       이용하여    암호화하고,      사용이      어려운


             경우에는 다른 암호화 기술 및 프로그램 적용을 검토할 수 있습니다.


        2.   암호화 대상 정보가 포함된 데이터를 백업할 경우에는 암호화 대상 정보만 암호화하거나,


             디스크 암호화, 볼륨 암호화, 파일시스템 암호화 등을 이용하여 데이터 전체에 대한


             암호화를 적용할 수 있으며 원본 데이터 암호화 수준과 동일하게 적용합니다.


        3.   비밀번호 등 복호화가 불가능해야 하는 정보는 일방향 암호화하고, 그 외 암호화 대상


             정보는 양방향 암호화합니다.


        4.   원본 정보를 확인할 필요가 없는 개인정보 저장 시 익명화 등의 비식별화 기술을 적용할


                                                                                   13
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 148 of 213




             수 있습니다.


        제 18 조 【 송ㆍ수신 시 암호화 】

        1.   외부 네트워크를 통해 [개인정보와 인증정보를] 송ㆍ수신할 때에는 안전한 SSL/TLS 등을


             이용하여 암호화합니다.


        2.   이메일 프로그램을 사용할 경우 SSL/TLS 기능을 활성화하거나 프로그램에서 제공하는


             메일 암호화 기능을 사용합니다.


        3.   메신저나 게임 내 채팅서비스 등을 사용할 경우 암호화 처리하여 전송합니다.


        4.   암호화된 데이터를 전송한 후 별도의 수단으로 암호 해제 방법을 전달합니다.




        제 19 조 【 암호화 기술 및 프로그램 】

        1.   암호화 프로그램은 아래 사항을 고려하여 암호화 업무 담당부서에서 선택하고 정보보호


             주관부서에서 검토하여 사용합니다.


             1) 사용 목적


             2) 사내 시스템과의 적합성 여부 및 암호화키 관리방안


             3) 시스템 구성 및 동작 프로토콜


             4) 시스템 구성 요소 별 기능 및 제원


             5) 보안서비스 요구사항


        2.   안전한 암호화 기술 적용 시 안전성을 고려합니다.



                                                                                  14
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 149 of 213




             1) 대칭키 암호 알고리즘은 [128bit 이상의 암호화키를 사용하는 AES 또는 이에 준하는


               안전성이 입증된 알고리즘]을 선택


             2) 일방향 암호 알고리즘(해쉬함수)은 [SHA-256 또는 이에 준하는 안전성이 입증된


               알고리즘]을 선택


             3) 비대칭키 암호 알고리즘은 [2048bit 이상의 암호화키를 사용하는 RSA 또는 이에


               준하는 안전성이 입증된 알고리즘]을 선택


        3.   시스템 관리 및 기술적 한계 등으로 안전한 암호화 기술의 적용이 불가능한 경우 암호화


             업무 담당부서에서 대안을 검토하고 정보보호 최고책임자가 예외 승인을 통해 적용 할


             수 있습니다.




        제 20 조 【 암호화키 관리 】

        1.   암호화키 담당자는 암호화키의 생성, 등록, 복구, 폐기 등 키관리 업무 수행 시 암호화


             업무 담당부서장 승인을 받아 처리하고 이력을 기록하고 관리합니다.


        2.   암호화키의 백업본이나 키 복구를 위해 필요한 정보는 별도 안전한 서버에 저장합니다.


        3.   암호화키 담당자는 암호화키가 사용 목적을 다하는 경우 지체 없이 폐기합니다.


        4.   암호화키 유출, 암호시스템 해킹이 의심되는 경우, 즉시 암호화 키를 변경합니다.


        5.   암호화키, 암호화키의 백업본 및 키 복구를 위해 필요한 정보는 사용자가 접근하지


             못하도록 접근 통제를 적용합니다.



                                                                                  15
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 150 of 213




       제 6 장 ㅣ 클라우드 서비스 관리

        제 21 조 【 도입 단계 】

        1.   개인정보는 클라우드 서비스의 이용 및 저장, 처리 등을 기본적으로 금지합니다. 단,


             업무상 불가피하게 클라우드 서비스에서 개인정보를 처리해야 하는 경우 정보보호


             요구사항을 만족하는지 [정보보호 주관부서와 개인정보보호 주관부서]의 검토를 거쳐야


             합니다.


        2.   데이터 저장 위치 및 데이터 처리 국가 선택 가능 여부 또는 변경 시 사전 고지 절차가


             있는지 확인합니다.


        3.   클라우드 서비스의 품질 수준, 품질 보증의 범위/책임, 침해/장애 등 사고 발생 시


             손해배상 기준/범위/배상절차 등을 서비스 수준 협약이나 이용약관을 통해 명확히


             규정합니다.


        4.   클라우드 서비스 데이터의 소유자 외 다른 이용자가 접근할 수 없도록 논리적 분리 등


             자원의 독립성을 보장하는 정책이 있는지 확인합니다.


        5.   클라우드 서비스가 지원하는 보안정책 및 기능이 회사 내부의 보안정책에 부합하거나


             보완할 수 있어야 합니다.


        6.   정보보호 감사 및 점검, 인증 대응 시 지원 여부와 정보보호 사고 발생 시 진행 상황 및


             대응 현황 등의 정보 공유가 가능한지 확인합니다.



                                                                                  16
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 151 of 213




        7.   공신력 있는 기관의 정보보호 관련 인증 취득 등 외부의 신뢰성을 보유하고 있는지를


             확인합니다.


        8.   서비스 해지 시 데이터의 안전한 삭제 등 데이터 보호에 관한 사항을 보장하는지


             확인합니다.


        제 22 조 【 이용 단계 】

        1.   클라우드 시스템도 정보시스템과 동일한 수준의 정보보호 정책을 적용해야 합니다. 단,


             클라우드 서비스 특성상 정보보호 정책 적용이 어려운 경우 [정보보호 주관부서] 검토 후


             보호조치 수준을 차등 적용합니다.


        2.   이용 중 일부 서비스 종료 시 데이터를 회수하고, 복구 불가능한 형태로 데이터가 완전히


             삭제되었음을 확인합니다


        제 23 조 【 해지 단계 】

        1.   클라우드 서비스 해지 시 데이터를 회수하고, 복구 불가능한 형태로 데이터를 완전히


             삭제합니다.




       제 7 장 ㅣ 개발보안

        제 24 조 【 설계 단계 】

        1.   프로그램 설계 시 정보보호 정책과 법규에 있는 보안 요구사항을 확인하고 반영합니다.


        2.   정보시스템 설계 시 사용자 인증에 대해 다음과 같은 사항을 고려하여 설계합니다.


                                                                                  17
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 152 of 213




             1) 모든 계정 체계는 사용자를 식별하도록 설계


             2) 계정은 1인 1계정 원칙에 따라 사용자 별로 유일하게 사용하도록 설계


             3) [사용자 인증은 SSO 시스템을 이용하여 설계]


             4) 인증을 거치지 않고 응용프로그램 및 시스템 등에 접속할 수 없도록 설계


             5) 로그인 실패 횟수 제한


              -    [로그인 10 회 실패 시 5 분간 아이디 잠금]


              -    [또는 로그인 5 회 실패 시 OTP, 캡차, 보안코드 등 추가 입력 요구]


             6) 로그인 세션 타임아웃 제한


              -    [대외서비스 및 개인정보처리시스템: 3 시간 이내]


              -    [모바일웹/앱: 24 시간 이내]


              -    [기타 대내서비스: 9 시간 이내]


        3.   비밀번호 설계 시 안전한 비밀번호를 보장하기 위해 다음 사항을 고려하여 설계합니다.


             1) 비밀번호 최소길이 적용 [(영문, 숫자, 특수문자 중 2종류 이상 조합 최소 10자리,


                  3종류 이상 조합 최소 8자리)]


             2) 연속적인 숫자나 계정과 비슷한 비밀번호는 사용 제한


             3) 비밀번호 변경 시 최근 사용한 비밀번호는 사용 제한 (최근 사용 비밀번호 5개 이상)


             4) 비밀번호는 노출 방지를 위하여 입력 시 마스킹 처리


             5) 비밀번호 유효기간을 설정하여 주기적으로 변경 [(최대 6개월)]


             6) 비밀번호 자동 완성 및 저장 사용되지 않도록 처리
                                                                                  18
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 153 of 213




        4.   개인정보 등 중요정보는 전송 및 저장 시 안전한 암호 알고리즘을 이용해 암호화되도록


             설계합니다


             1) 저장 시 암호화


              -    비밀번호: [256 비트 이상 안전한 일방향 암호 알고리즘 적용]


              -    개인정보: [128 비트 이상 안전한 양방향 암호 알고리즘 적용]


             2) 개인정보 및 인증정보 등의 중요한 정보 전송 시 안전한 SSL/TLS와 같은 암호화 통신


                  적용


        5.   업무 목적 및 형태에 따라 접근 권한을 세분화하고, 접근권한의 수준에 따라 보이는


             개인정보항목 수준도 다르게 표시되도록 설계합니다.


             1) 사용자별, 업무 역할별, 기능별, 메뉴별 접근권한 차등 부여


        6.   사후 추적을 위해 다음 사항을 고려하여 로그를 남기도록 설계합니다.


             1) 사용자 식별정보(ID)


             2) 접속일시


             3) 접속지(단말기 IP등)


             4) 수행업무(정보주체 목록 조회, 수정, 삭제, 다운로드 등)


             5) 인증 성공/실패 로그


             6) 파일 접근


             7) 계정 및 권한 등록/변경/삭제 등




                                                                                  19
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 154 of 213




        제 25 조 【 구현, 테스트 및 이관 단계 】

        1.   구현된 기능이 설계 시 정의된 보안 요구사항을 충족하는지 확인합니다.


        2.   개발 및 테스트 환경에서는 실데이터는 사용하지 않아야 합니다. 단, 업무 목적 상


             실데이터가 필요한 경우 [정보보호 주관부서와 개인정보보호 주관부서]의 검토를 받아


             보안 조치가 적용된 제한된 환경에서 안전하게 사용하고, 테스트 후 모두 삭제합니다.


        3.   개발 및 테스트 환경은 운영(라이브) 환경과 분리합니다.


             1) 운영 서버와 개발/테스트 서버 분리


             2) 개발/테스트DB와 운영DB 분리


             3) 개발/테스트망과 운영망 분리


        4.   개발이   완료된    정보시스템의       운영환경으로       이관은    통제된     절차에    따라      지정된


             이관담당자가 수행합니다.


        5.   운영 이관 전 기술적 보안 취약점이 존재하는지 확인하고, 취약점 발견 시 이행


             조치합니다.


        제 26 조 【 소스코드 관리 】

        1.   소스코드에 대한 사용자 접근은 최소화해야 하며, 모든 접근기록을 남겨야 합니다.


        2.   소스코드 변경 등 이력 관리를 위한 형상관리 시스템을 구축ㆍ운영합니다.


        3.   소스코드는 운영 장애 등 비상시를 대비하여 이전 소스 프로그램을 운영 환경이 아닌


             별도의 환경에 보관해야 합니다.



                                                                                   20
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 155 of 213




       제 8 장 ㅣ 통제구역 보안

        제 27 조 【 통제구역 보안관리 】

        1.   통제구역의 출입 인원은 항상 최소화해야 하고 출입이 필요할 경우 통제구역 관리담당자


             승인을 받아야 하며, 외부인의 출입이 필요할 경우에는 담당자가 동행해야 합니다.


        2.   통제구역 내 정보시스템의 반출입이 필요할 경우 통제구역 관리담당자의 승인을 받아야


             합니다.


        3.   통제구역에 대한 출입 내역 및 정보시스템 반출입 내역을 관리대장에 기록하고 [월1회


             이상] 비정상 행위를 점검합니다.


        4.   통제구역 내 정보시스템에서 보조 저장매체 사용은 제한되어야 하며 업무상 필요할 경우


             통제구역 관리담당자의 승인을 받아야 하고, 사용내역을 기록하여 [1개월 이상] 보관하며,


             사용 완료 후 보조 저장매체 내 저장된 데이터를 삭제해야 합니다.


        5.   출입 통제를 위한 장치와 출입자를 확인하기 위한 영상정보처리기기를 설치 운영합니다.


        6.   서버룸 또는 IDC(Internet Data Center)와 같이 통제구역 내 많은 수의 정보시스템이


             구축되어 있을 경우에는 아래와 같은 환경적ㆍ물리적인 보안 요구사항을 적용합니다.


             1) 침수, 증기, 염분 등에 의한 부식이나 진동을 최소화할 수 있는 장소여야 합니다.


             2) 직사광선을 차단하고, 발화성ㆍ가연성 물질은 피하도록 합니다.


             3) 정보자산 보호를 위해 통제구역 내외부에 정보시스템의 기능이나 목적을 드러내는



                                                                                  21
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 156 of 213




               표시는 금지합니다.


             4) 온도와 습도가 일정하게 유지되도록 관리하고, 정전기 및 전자기의 영향이 없도록


               조치합니다.


             5) 정전에 대비하여 별도의 전원공급 시설을 마련하고, 전산망 설비의 전원은 다른


               전원과 분리하여 사용합니다.


             6) 통신케이블이나 전력케이블은 손상을 입지 않도록 보호합니다


             7) 자동화재경보 설비를 설치하고, 소화 시 정보시스템에 피해를 주지 않는 자동소화


               설비를 설치합니다.


             8) 정보시스템의 안전한 관리를 위해 통제구역 내부 설비의 작동이상 여부를 [월1회


               이상] 점검합니다.




       제 9 장 ㅣ 예외규정

        제 28 조 【 예외적용 기준 】

        1.   본 절차서의 기준 적용에 있어 예외적용이 필요할 경우 아래 항목을 기준으로 [정보보호


             주관부서]의 검토 후 예외적용이 가능합니다.


             1) 해당 기준을 적용할 경우 서비스 영향도가 크거나 기술적으로 적용이 어려울 경우


             2) 본 절차서 상에서 정의하고 있지 않는 경우



                                                                                  22
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 157 of 213




       부       칙

        제 1 조 【 시행일 】

             이 절차서는 2018 년 11 월 12 일부터 시행합니다.


             이 절차서는 2019 년 5 월 17 일부터 개정 시행합니다.


             이 절차서는 2019 년 7 월 9 일부터 개정 시행합니다.


             이 절차서는 2020 년 6 월 9 일부터 개정 시행합니다.


        제 2 조 【 하위 문서와의 관계 】

        1.   세부사항이 별도로 정해져 있지 않은 경우 정보보호 관련 법률 등의 기준을 따릅니다.


        2.   본 절차서에서 정하지 않은 세부사항은 가이드라인 및 관련 문서 등을 따릅니다.




                                                                                   23
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 158 of 213




                                                                 Sensitive
                                                                보존연한 : 영구보관




                                                                                ㅇ
                                                                                소
               정보시스템 운영을 위한                                                     갑
                                                                                제
                                                                                ㅇ
                                보안지침                                            12
                                                                                ㅇ
                                                                                호
                                                                                증
                                                                                4




         분 류            운영지침                   규 정 번 호        NXIT_D0103

         담 당 부 서        넥슨코리아 / 보안정책팀          적 용 일          2018-11-12

         승 인            정보보호 최고책임자             최 종 수 정 일      2020-06-09
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
                Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 159 of 213




                                                              목 차

       제 1 장 ㅣ 총 칙 ............................................................................................. 1

            제 1 조 【 목적 】 ..................................................................................................... 1
            제 2 조 【 범위 】 ..................................................................................................... 1

       제 2 장 ㅣ 정보시스템 운영 보안 ........................................................................ 1

            제 3 조 【 도입 및 운영 】 .......................................................................................... 1
            제 4 조 【 접근 통제 】 .............................................................................................. 1
            제   5 조 【 계정 관리 】 .............................................................................................. 2
            제   6 조 【 권한 관리 】 .............................................................................................. 2
            제   7 조 【 업데이트 관리 】 ......................................................................................... 2
            제   8 조 【 성능 및 용량 관리 】 ................................................................................... 2
            제   9 조 【 변경 관리 】 .............................................................................................. 2
            제   10 조 【 백업 관리 】 ............................................................................................ 2
            제   11 조 【 로그 관리 】 ............................................................................................ 3
            제   12 조 【 암호화 】 ................................................................................................. 3
            제   13 조 【 보안검수 및 진단 】 ................................................................................... 3
            제   14 조 【 파기 】.................................................................................................... 3
            제 15 조 【 클라우드 서비스 관리 】 ............................................................................. 3

       제 3 장 ㅣ IT 재해ㆍ재난 복구 관리 .................................................................... 4

            제 16 조 【 조직 및 계획 수립 】 ................................................................................. 4
            제 17 조 【 시험 및 유지 관리 】 ................................................................................. 4

       제 4 장 ㅣ 통제구역 보안................................................................................... 4

            제   18   조   【   데이터 센터 관리 】 ................................................................................... 4
            제   19   조   【   시스템 배치 및 관리 】 .............................................................................. 4
            제   20   조   【   출입 보안 】 ............................................................................................ 4
            제   21   조   【   장비 반ㆍ출입 관리 】 ................................................................................ 4

       부 칙 ............................................................................................................. 5

            제 1 조 【 시행일 】................................................................................................... 5
            제 2 조 【 하위 문서와의 관계 】 .................................................................................. 5
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 160 of 213




       제 1 장 ㅣ 총 칙

        제 1 조 【 목적 】
          본 지침은 ㈜넥슨코리아(이하 "회사"라 함)의 정보시스템 등을 안전하게 운영하기 위한 보안
          요구사항을 제시하고 있으며, 정보보호 활동을 위한 역할 및 책임을 정의하는 것에 목적이 있습니다.


        제 2 조 【 범위 】
          본 지침은 회사의 정보시스템(정보보호시스템 포함) 등을 운영ㆍ관리하는 임직원을 주요 대상으로
          합니다.



       제 2 장 ㅣ 정보시스템 운영 보안

        제 3 조 【 도입 및 운영 】
        1. 정보시스템 도입 시 자산 목록을 관리하고 보안 설정을 적용한 후 부서별 보안책임자의 검토를
          받습니다.
        2. 정보시스템은 문제 발생 및 예외사항 처리를 위한 별도의 운영 절차를 수립할 수 있습니다.


        제 4 조 【 접근 통제 】
        1. 정보시스템은 외부와 접근을 제한하고, 업무상 접근이 불가피한 경우 정보보호 주관부서의 검토를
          받아 안전한 접근 방식을 적용합니다. 단, 개인정보처리시스템은 개인정보보호 주관부서의 추가
          검토를 받습니다.
        2. 운영자나 관리자와 같이 사전에 권한을 받은 인원만 시스템에 접근하고, 계정 노출 등을 예방하기
          위한 보안 조치를 적용합니다.
        3. 서버 구성 시 업무 환경을 고려하여 백신 등 보안 솔루션 설치, 불필요한 서비스 제거, 업데이트
          최신화 등의 보안 조치를 적용합니다.
        4. 서버 접근은 서비스 운영을 위해 사전에 인가된 내부 네트워크를 이용하여 안전하게 접근해야
          합니다.
        5. 네트워크는 서비스, 정보자산 중요도, 업무 환경 등을 고려하여 물리적 또는 논리적으로 분리하여
          구성합니다.
        6. 네트워크 운영자는 네트워크 용량 관리 등 서비스 품질 유지와 안전한 네트워크 환경 구축을 위해
          점검 및 예방 활동을 수행해야 합니다.
        7. 내부 네트워크에서는 유해 사이트, 비 업무용 사이트, 파일 업로드 및 저장이 가능한 사이트 등의


                                                                                1
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 161 of 213




          접속 제한과 서비스 이용을 제한할 수 있습니다.
        8. 무선 네트워크는 정당한 사용자만 접속하도록 보안 설정을 적용하고, 개발용 무선 네트워크는 접속
          단말 인증 등의 추가 보안 대책을 적용하여 안전하게 접근합니다.


        제 5 조 【 계정 관리 】
        1. 계정 발급은 해당 정보 자산의 관리 부서가 발급 적절성을 검토하고 업무상 필요한 최소한의
          인원에게 1인 1계정으로 발급합니다.
        2. 계정 관리를 위해 인증 실패 횟수에 따른 접속 제한과 세션 타임아웃 기능, 장기 미접속 계정 삭제
          등의 보안 조치를 적용합니다.
        3. 비밀번호는 작성규칙에 따라 안전하게 설정하고, 주기적으로 변경하며 유출되지 않게 관리합니다.


        제 6 조 【 권한 관리 】
        1. 접근 권한 부여와 권한 위임은 이용 부서와 관리 부서의 보안책임자 검토를 받습니다.
        2. 접근 권한은 업무상 필요한 인원에게 최소한의 권한으로 부여하고, 관리자 권한은 해당 정보자산의
          책임자에게만 부여합니다.
        3. 사용자의 직무변경 및 퇴사 등 인사 변동 발생 시 지체 없이 접근 권한을 변경하거나 삭제하고
          관리합니다.
        4. 개인정보처리시스템의 접근 권한 부여, 변경, 삭제 내역은 별도 보관 기간을 정하여 안전하게
          관리합니다.


        제 7 조 【 업데이트 관리 】
        1. 업데이트 관리는 영향도를 고려하여 가능한 최신 상태를 유지합니다.
        2. 업데이트 후 장애가 발생할 경우 업데이트를 제거하고 정상화한 후 원인 분석 및 테스트를 거쳐
          적용합니다.


        제 8 조 【 성능 및 용량 관리 】
        1. 정보시스템 성능 및 용량을 지속적으로 모니터링하고, 시스템의 가용성을 고려하여 운영해야 합니다.


        제 9 조 【 변경 관리 】
        1. 정보시스템의 정보보호 정책 또는 보안 설정을 변경할 경우 영향도를 고려하여 적용합니다.
        2. 중요 정보시스템의 구성 변경 시 보안성 검토를 수행하고, 정보보호시스템 설치 및 변경 시 성능과
          보안에 미치는 영향 분석을 실시하고 내역을 관리합니다.


        제 10 조 【 백업 관리 】
        1. 로그, 설정 파일, 중요정보 등을 주기적으로 백업하고, 위ㆍ변조 및 도난, 분실되지 않도록

                                                                                2
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 162 of 213




          관리합니다.
        2. 백업 데이터는 정보자산의 중요도와 영향도를 고려하여 별도 저장장치 보관 여부를 검토합니다.
        3. 백업 데이터는 복구 가능 여부를 주기적으로 검토하고, 접근 권한 최소화 및 접근 통제 등의 보안
          조치를 적용합니다.


        제 11 조 【 로그 관리 】
        1. 중요 정보시스템의 경우 사후 추적을 위해 상세 로그를 기록하고 관리합니다.
        2. 로그는 접속 이력 확인과 사후 추적을 위해 일정 기간 이상 보관하고 정기적으로 점검하며
          비정상적인 행위나 이상 징후가 발견되면 정보보호 주관부서로 신고합니다.



        제 12 조 【 암호화 】
        1. 개인정보 등 중요정보 전송 및 저장 시 안전한 보호를 위해 암호화해야 합니다.
        2. 암호 알고리즘은 법적 준수성을 확보할 수 있는 안전한 알고리즘을 사용해야 합니다.



        제 13 조 【 보안검수 및 진단 】
        1. 서비스 오픈 전 정보보호 주관부서의 보안검수를 받고 발견된 취약점을 모두 조치해야 합니다.
        2. 운영 중인 서비스에 대한 상시 취약점 진단을 통해 발견된 취약점을 즉시 조치합니다.
        3. 즉시 조치가 어려울 경우 보안검수 주관부서 및 정보보호 주관부서와 협의 후 별도의 보안 조치를
          적용합니다.


        제 14 조 【 파기 】
        1. 정보시스템 반납, 매각, 폐기 시 중요정보를 복구할 수 없는 방법으로 완전히 파기하고, 파기 내역을
          관리합니다.


        제 15 조 【 클라우드 서비스 관리 】
        1. 클라우드 서비스 도입 시 계약서 등을 통해 데이터 파기 및 반환 등에 관한 서비스 제공자의 책임
          범위를 명확히 정의해야 합니다.
        2. 클라우드 서비스 상 개인정보의 이용, 저장, 처리는 기본적으로 금지하되 업무상 처리가 불가피한
          경우 정보보호 주관부서와 개인정보보호 주관부서의 검토를 받아야 합니다.
        3. 클라우드 서비스 해지 시 데이터를 회수하고 삭제해야 합니다.




                                                                                3
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 163 of 213




       제 3 장 ㅣ IT 재해ㆍ재난 복구 관리

        제 16 조 【 조직 및 계획 수립 】
        1. 중요 정보시스템은 서비스 연속성 등 가용성 유지를 위해 이중화, 백업 및 분산 등을 고려할 수
          있습니다.
        2. 업무 시설과 정보자산에 재해ㆍ재난ㆍ장애 발생 시 대응하기 위해 비상 계획을 수립하고 비상
          조직을 운영합니다.


        제 17 조 【 시험 및 유지 관리 】
        1. 비상 계획의 적절성 및 실효성을 보장하기 위해 모의 훈련 또는 점검을 실시할 수 있습니다.




       제 4 장 ㅣ 통제구역 보안

        제 18 조 【 데이터 센터 관리 】
        1. 데이터 센터는 물리적ㆍ환경적 위협을 고려하여 위치를 선정해 안전한 구조로 운영하고, 비상
          상황을 대비하여 보호 설비를 갖추고 모의 훈련 또는 점검을 수행합니다.
        2. 데이터 센터를 외부에 위탁하는 경우에는 물리적 보호 조치에 필요한 요구사항과 SLA를 계약서에
          반영합니다.


        제 19 조 【 시스템 배치 및 관리 】
        1. 정보시스템은 중요도 등을 고려하여 분리, 배치하고 물리적 접근은 데이터센터 관리부서와 함께
          정보시스템 운영상태를 확인합니다.


        제 20 조 【 출입 보안 】
        1. 통제구역의 접근 권한은 업무상 필요한 최소 인원으로 부여합니다.
        2. 통제구역 출입권한 부여 현황, 출입 기록, 출입관리 대장, 작업내역을 보관하고 검토합니다.
        3. 통제구역에 외부자의 출입이 필요한 경우 출입관리 대장 작성 후 통제구역 인솔자와 항상
          동행합니다.


        제 21 조 【 장비 반ㆍ출입 관리 】
        1. 통제구역과 제한구역에 장비 반ㆍ출입 시 내역을 기록하고 부서별 보안책임자 검토를 받아

                                                                                4
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 164 of 213




          관리합니다.

       부 칙

        제 1 조 【 시행일 】
          이 운영지침은 2018 년 11 월 12 일부터 시행합니다.
          이 운영지침은 2020 년 6 월 9 일부터 개정 시행합니다.


        제 2 조 【 하위 문서와의 관계 】
        1. 세부사항이 별도로 정해져 있지 않은 경우 정보보호 관련 법률 등의 기준을 따릅니다.
        2. 본 지침에서 정하지 않은 세부사항은 아래 문서를 따릅니다.
          -   정보시스템 운영 보안 절차서




                                                                                  5
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 165 of 213




                               복무 지침
                                                                                ㅇ
                                                                                소
                                                                                갑
                                                                                제
                                                                                ㅇ
                                                                                12
                                                                                ㅇ
                                                                                호
                                                                                증
                                                                                1




        분       류   운영지침                      규 정 번 호       NXHR_D0101

        담 당 부 서     넥슨코리아 / 조직관리팀             적    용    일   2007-06-01

        승       인   본부장                       최 종 수 정 일     2020-11-01
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
                Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 166 of 213




                                                          목           차

       제 1 장 총 칙 ...................................................................................................... 4


            제 1 조 【 목적 】 .................................................................................................... 4


            제 2 조 【 적용범위 】 .............................................................................................. 4


            제 3 조 【 기본원칙 】 .............................................................................................. 4


       제 2 장 복무 규율 .................................................................................................. 4


            제 4 조 【 명령복종 】 .............................................................................................. 4


            제 5 조 【 직무책임 】 .............................................................................................. 4


            제 6 조 【 품행 】 .................................................................................................... 4


            제 7 조 【 기밀엄수 】 .............................................................................................. 5


            제 8 조 【 겸업금지 】 .............................................................................................. 5


            제 9 조 【 수수금지 】 .............................................................................................. 5


            제 10 조 【 사전승인 】............................................................................................. 5


            제 11 조 【 권한남용 】............................................................................................. 5


            제 12 조 【 파견사원 】............................................................................................. 5

       제 3 장        휴가 및 휴직 ........................................................................................... 5


            제 13 조 【 정기휴가 및 근속휴가 】 ........................................................................... 5


            제 14 조 【 경조사휴가 】.......................................................................................... 6

                                                                                                                             1
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 167 of 213




           제 15 조 【 특별휴가 】............................................................................................. 6


           제 16 조 【 병가 】 .................................................................................................. 7


           제 17 조 【 모성보호 】............................................................................................. 7


           제 18 조 【 훈련휴가 】............................................................................................. 8


           제 19 조 【 포상휴가 】............................................................................................. 8


           제 20 조 【 재충전휴가 】.......................................................................................... 8


           제 21 조 【 보상휴가 】............................................................................................. 8


           제 22 조 【 휴직 】 .................................................................................................. 8


           제 23 조 【 육아휴직 】............................................................................................. 9


           제 24 조 【 휴가시기의 변경 및 사용촉구 】 ................................................................ 9


           제 25 조 【 특별근무 】............................................................................................. 9


           제 26 조 【 임신/육아기 근로시간 단축 】 ................................................................... 9


           제 27 조 【 가족 돌봄 휴직 】 .................................................................................... 9


           제 28 조 【 근로시간 단축청구건 】 ............................................................................ 9



       제 4 장 직장 내 질서유지 ...................................................................................... 10


           제 29 조 【 무단이탈 】........................................................................................... 10


           제 30 조 【 사내질서 】........................................................................................... 10


           제 31 조 【 출입제한 】........................................................................................... 11



                                                                                                                           2
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
                Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 168 of 213




       제 5 장 회사시설 등의 관리보전 ............................................................................. 11


            제 32 조 【 관리수칙 】........................................................................................... 11


            제 33 조 【 개인사용 】........................................................................................... 12


            제 34 조 【 회사보호협력 】 ..................................................................................... 12


       제 6 장 신고 및 보고 ............................................................................................ 12


            제 35 조 【 보고의무 】........................................................................................... 12


            제 36 조 【 신상변동 등 신고 】 ............................................................................... 12


            제 37 조 【 인수인계 】........................................................................................... 12


       제 7 장 기           타 ................................................................................................... 12


            제 38 조 【 손해배상 】........................................................................................... 12


            제 39 조 【 기타 】 ................................................................................................ 13


       부 칙 ................................................................................................................ 13


            제 1 조 【 시행일 】 ............................................................................................... 13


            제 2 조 【 개정일 】 ............................................................................................... 13




                                                                                                                               3
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 169 of 213




       제 1 장 총 칙

        제 1 조 【 목적 】
        이 운영지침은 주식회사 넥슨(이하 “회사”라 한다.) 사원의 근무관련 기본수칙으로 회사의 근무질서를 확립하고
        사원의 근무조건을 보장하는 복무 관련 세부사항에 대하여 정함을 목적으로 한다.



        제 2 조 【 적용범위 】
        회사의 모든 사원에 대하여 근무 및 사무처리에 관하여 별도로 정한 경우를 제외하고 이 운영지침을 적용한다.



        제 3 조 【 기본원칙 】
        1. 회사는 근로기준법, 취업규칙에서 정한 근로조건을 준수하며 사원의 인격과 자주성을 존중하여 근무토록
           노력한다.
        2. 사원은 이 규정에서 정한 근무수칙을 성실히 준수하여 회사의 발전을 도모하며 회사의 명예와 신뢰가
          훼손될 행동을 하여서는 안 된다.




       제 2 장 복무 규율


        제 4 조 【 명령복종 】
        사원은 회사와 상사의 정당한 업무상 지시와 명령에 복종하고 회사의 규율을 준수하여야 한다.



        제 5 조 【 직무책임 】
        1. 사원은 맡은바 직무를 충실히 수행하며 직무에 대하여 책임을 진다.
        2. 사원은 업무능률 향상에 노력하고 회사구성원간에 서로 협력하여 회사의 설립목적과 경영목표의 달성에
          노력하여야 한다.



        제 6 조 【 품행 】
        사원은 회사의 신용을 추락시키거나 명예를 훼손하는 행동을 하여서는 안 된다.


                                                                                4
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 170 of 213




        제 7 조 【 기밀엄수 】
        1. 사원은 회사의 기밀과 비밀 및 직무상 기밀과 비밀을 누설하여서는 안 된다.
        2. 사원은 회사에 불이익을 줄 수 있는 사항의 누설 및 소문의 유포를 하여서는 안 된다.
        3. 전 1,2 항을 위반한 경우 사원은 이에 대한 책임을 진다.



        제 8 조 【 겸업금지 】
        사원은 회사의 사전승인 없이 회사 업무 이외의 다른 직무나 영리사업에 종사하여서는 안 된다.



        제 9 조 【 수수금지 】
        직무와 관련하여 사내·외에서 부당한 금품 또는 향응을 받아서는 안 된다.



        제 10 조 【 사전승인 】
        문서 또는 인쇄물을 배포하거나 게시하고자 할 때에는 사전에 회사의 승인을 받아야 한다.



        제 11 조 【 권한남용 】
        사원은 개인의 이익을 위하여 직무상의 권한을 남용하여서는 안 된다. 또한 직무상 업무를 정당한 사유없이
        일방적으로 타부서 및 하급자에게 업무를 위임하는 권한을 남용하여서는 안 된다.



        제 12 조 【 파견사원 】
        사원이 업무상 필요에 따라 거래처 등으로 파견근무를 하는 경우 파견회사의 복무규율 및 업무상 지시나 명령을
        준수하고 품위를 유지하며 회사의 명예를 훼손하는 행동을 하여서는 안 된다.




       제 3 장      휴가 및 휴직


       제 13 조 【 정기휴가 및 근속휴가 】
        1. 회사는 회계연도를 기준으로 1 년 간 8 할 이상 출근한 사원에게는 15 일의 정기휴가를 부여한다. 전년도
           입사자 역시 15 개의 정기휴가를 부여한다.
        2. 개인 사유의 휴직 및 병가 등으로 인하여 전년도 소정근로일수의 80% 미만 출근한 사원은 전항의
           정기휴가에서 결근기간 1 개월당 1 일씩 차감하여 지급한다.
                                                                                5
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 171 of 213




        3. 다만, 차감하는 경우에도 복직한 해의 잔여 근무기간 1 개월당 1 일의 휴가일수는 보전한다.
        4. 연중 입사자의 경우 입사신고일 기준으로 1 개월 만근 당 1 일의 정기휴가를 지급한다.
        5. 해당 년도 정규직 근속자에 대하여 차 년도 정기휴가 지급시 0.5 일의 근속휴가를 가산하여 지급한다.
        6. 1 개월을 초과하는 휴직, 휴가는 제 1 항 내지 제 4 항을 적용함에 있어 당해년도에 한하여 근속년수에
             산입하지 않는다. 단, 교육훈련, 출산전후휴가, 육아휴직 등 법정휴직은 예외로 한다.
        7. 근속휴가와 정기휴가의 합이 연중 총 25 일을 초과할 수 없다.



       제 14 조 【 경조사휴가 】
        1. 사원이 다음의 각 호에 해당하는 경우 유급으로 통상임금을 지급하는 경조사휴가를 부여한다.
                                                                    경조
                              구분                        휴가
                                                                  화환/물품
                   본인                                   6일           O
              결혼   자녀                                   2일           O
                   본인(배우자) 형제자매                         1일           X
                   배우자                                  6일           O
                   자녀                                   6일           O
                   본인(배우자) 부모                           6일           O
                   본인(배우자) (외)조부모, (외)증조부모              3일           O
              사망   본인(배우자) 형제자매                         3일           O
                   본인(배우자) 부모의 형제자매                     3일           X
                   본인(배우자) 형제자매의 배우자                    3일           X
                   본인(배우자) 부모의 형제자매의 배우자                3일           X
                   배우자 유산 및 사산                          3일           X
                   본인(배우자) 부모의 회갑/칠순                    1일           X
              기타   본인출산                                  -           X
                   자녀출생 [남직원]                           10 일         X
        2.   사용하지 않은 휴가에 대해 수당 등으로 보상하지 않는다.
        3.   자녀출생 [남직원] 경조사휴가는, 1 회에 한해 분할 사용이 가능하다.



       제 15 조 【 특별휴가 】
       회사는 하기의 각 호에 해당하는 경우 특별휴가를 부여할 수 있다.
        1. 병역관계법에 의한 검사, 소집, 검열이 있을 때
        2. 선거 및 공민권 행사 당일
        3. 천재지변, 화재, 수재, 교통차단 기타 재해의 사유로 출근이 불가능한 때
        4. 본인 졸업식 (재직 기간 중 최대 2 회)
        5. 기타 회사에서 인정하는 경우
                                                                                  6
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 172 of 213




       제 16 조 【 병가 】
        1. 질병 및 부상에 대한 휴가 처리는 본인의 잔여 휴가 소진을 원칙으로 한다.
        2. 발생 상황을 고려하여 해당 본부장/대표이사의 승인하에 회사는 다음과 같이 병가를 지급할 수 있다.
                기간                      휴가                       급여
                         병가 처리                         1~3 개월: 월급여의 50%
             최대 6 개월
                         *본인 정기휴가 소진 없음                4~6 개월: 월급여의 30%


        3. 병가 기간은 질병 및 부상의 경중에 따라 연간 최대 6 개월로 한다.
                                        기간별 병가 적용 기준
             - 4대 중증질환(암, 뇌혈관 질환, 심장질환, 희귀난치 질환) 및 중대부상 시
              : 최대 6개월
             - 4대 중증질환(암, 뇌혈관 질환, 심장질환, 희귀난치 질환) 및 중대부상 외
              : 최대 3개월


        4. 병가 지급을 위해서는 입원 혹은 가료 진단 기간을 확인할 수 있는 진단서를 반드시 원본으로 인사팀에
          제출해야 한다.
        5. 동일한 진단서에 대한 내용을 분할하여 사용할 수 없다.



       제 17 조 【 모성보호 】
        1. 회사는 다음 각 호에 따라 출산전후휴가를 지급한다.
            1.1 임신중인 여자사원에게 공휴일 포함 90 일의 휴가를 지급한다.
               단, 다태아를 출산할 경우에는 공휴일 포함 120 일의 휴가를 지원한다.
            1.2 출산전후휴가 시 최초 60 일에 대하여 유급을 원칙으로 한다.
              단, 다태아 출산전후휴가 시에는 최초 75 일에 대하여 유급을 원칙으로 한다.
            1.3 출산전후휴가를 이어서 쓰는 것을 원칙으로 하되 임신 중의 여성이 과거에 유산 경험이 있는
               경우, 진단결과 의사 소견상 유산의 위험이 있어 안정이 필요한 경우는 45 일 이하로
              분할 사용 가능하다
         2. 회사는 유산 및 사산한 여자사원에 대하여 모성보호휴가를 지급한다.
            모성보호휴가의 세부 지급사항은 다음 각 호에 따른다.
            2.1 임신 11 주 이전 : 5 일
            2.2 임신 12 주 ~ 15 주 이내인 경우 : 10 일
            2.3 임신 16 주 ~ 21 주 : 30 일
            2.4 임신 22 주 ~ 27 주 : 60 일
            2.5 임신 28 주 이후 유산 : 90 일
            (모성보호휴가의 경우에도 출산전후휴가와 동일하게,
                                                                                7
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 173 of 213




            최초 60 일에 대하여 유급을 원칙으로 한다.)
          3. 인공임신중절수술에 따른 유산의 경우는 모성보호 휴가를 지급하지 않는다.
          4. 회사는 여성근로자가 청구하는 때에는 월 1 일의 무급 보건휴가를 지급한다.
          5. 회사는 본인 및 배우자가 난임시술을 하는 사원에게 연간 4 일의 난임휴가를 지급한다.
            단, 난임휴가는 최초 2 일에 대해서는 유급을, 이후 2 일에 대해서는 무급을 원칙으로 한다.
          6. 회사는 임신한 여성에게 태아검진 휴가를 지급한다.
           6.1 임신 28 주까지: 4 주마다 1 회
           6.2 임신 29 주에서 36 주까지: 2 주마다 1 회
           6.3 임신 37 주 이후: 1 주마다 1 회



       제 18 조 【 훈련휴가 】
       회사는 사원이 병역관계법에 의한 동원, 훈련 또는 교육에 참석하는 경우 유급 훈련휴가를 지급한다.



       제 19 조 【 포상휴가 】
       회사는 회사에 기여한 공적이 현저하고 평소의 근무성적이 우수한 자에게 개별 포상휴가를 줄 수 있다.



       제 20 조 【 재충전휴가 】
        1. 회사는 매월 매 3 년 누적 근속한 직원에게 개별 재충전 휴가를 줄 수 있다.
        2. 누적 근속기간은 1 개월 이상의 휴직은 제외함을 원칙으로 한다.



       제 21 조 【 보상휴가 】
       회사는 근로자대표와의 서면 합의에 따라 연장근로, 야간근로 및 휴일근로에 대하여 임금을 지급하는
       것을 갈음하여 휴가를 줄 수 있다.



       제 22 조 【 휴직 】
        1. 회사는 취업규칙에서 규정한 사유로 인한 경우 사원의 휴직을 허용할 수 있다.
        2. 휴직의 기간은 원칙적으로 최대 1 년까지 허용하며, 해당 본부장 승인으로 결정한다.
        3. 휴직기간 만료 후 2 주일 이내에 복직신청을 하지 아니하거나 휴직조건이 해소되지 않은 경우는 당연
          면직된 것으로 본다.
        4. 휴직기간은 공상휴직, 육아휴직, 가족돌봄휴직을 제외하고는 근무년수에 산입하지 않는다.




                                                                                8
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
             Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 174 of 213




       제 23 조 【 육아휴직 】
        1. 회사는 만 8 세 이하 또는 초등학교 2 학년 이하의 자녀를 가진 사원이 신청하는 경우 육아휴직을
           허용함을 원칙으로 한다.
        2. 육아휴직은 출산 시 마다 총 1 년 이하의 기간에 대하여 신청할 수 있으며, 1 회에 한하여 분할 사용할 수
          있다.
        3. 육아휴직에 관한 기타 사항은 관계 법령에 따른다.



       제 24 조 【 휴가시기의 변경 및 사용촉구 】
        1. 회사는 사원의 청구일에 연차휴가를 주는 것이 사업운영상 막대한 지장이 있을 경우에 그 시기를 변경할
           수 있다.
        2. 회사는 휴가사용권 소멸 전에 휴가사용을 촉구할 수 있다.



       제 25 조 【 특별근무 】
       사원은 정상근무시간 외 또는 휴일근무가 불가피한 경우에는 근무사유를 해당 결재권자에게 보고하고,
       웹오피스에 신청하여 승인을 얻어야 한다.



       제 26 조 【 임신/육아기 근로시간 단축 】
        1. 구성원이 만 8 세 이하 또는 초등학교 2 학년 이하의 자녀를 양육하기 위하여, 근로시간 단축을 신청하는
           경우 회사는 이를 허용하여야 한다.
           단, ①재직기간이 6 개월 미만인 근로자 ②대체인력 채용이 불가능한 경우, ③정상적인 사업 운영에
           중대한 지장을 초래하는 경우는 제외한다.
        2. 임신 후 12 주 이내 또는 36 주 이후에 있는 여자사원이 임신기 근로시간 단축을 신청하는 경우 회사는
          이를 허용하여야 한다.
        3. 본 규정에 명시되지 않은 기타 사항은 관계 법령에 따른다



       제 27 조 【 가족 돌봄 휴직 】
        1. 구성원이 가족(부모, 배우자, 자녀, 배우자의 부모, 조부모, 손자녀)의 질병, 사고, 노령의 사유로 가족을
          돌볼 필요가 있는 경우, 관련 법령에 따라 가족돌봄휴직을 신청할 시 회사는 이를 허용하여야 한다.
        2. 구성원이 가족(부모, 배우자, 자녀, 배우자의 부모, 조부모, 손자녀)의 질병, 사고, 노령 및 자녀양육의
          사유로 가족을 돌볼 필요가 있는 경우, 관련 법령에 따라 가족돌봄휴가를 신청할 시 회사는 이를
          허용하여야 한다.
        3. 단, 다음의 경우는 가족돌봄휴직/휴가를 불허한다.
                ①   근로자의 근속기간이 6 개월 미만인 경우

                                                                                 9
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 175 of 213




                ② 대체인력 채용이 불가능한 경우
                ③ 정상적인 사업 운영에 중대한 지장을 초래하는 경우
                ④ 근로자 외 다른 가족이 돌봄이 필요한 가족을 돌볼 수 있는 경우
        4. 가족돌봄휴직/휴가으로 인한 불리한 처우는 금지한다.
        5. 가족돌봄휴직/휴가 기간은 퇴직금 등 산정을 위한 근속기간에 포함, 평균임금 산정기간에서 제외한다.
        6. 본인 부모, 배우자, 자녀의 중대질병 및 치매, 기타 회사가 인정하는 경우에는
             휴직 기간 동안 월 150 만원의 생활지원금(최대 450 만원 한도)을 지원할 수 있다.



       제 28 조 【 근로시간 단축청구권 】

        1. 구성원이 1)가족돌봄(가족 질병/사고/노령) 2)본인 질병/사고 3)은퇴준비(55 세 이상) 4)학업을 사유로
             근로시간 단축을 신청하는 경우 회사는 이를 허용하여야 한다.
             ①1),2),3)의 사유는 최대 3 년(기본 1 년+연장 2 년)까지 청구가 가능하며, 연장(2 년)신청을 위해서는
             회사가 인정하는 합리적인 사유를 제시해야 한다.
             ②4)의 사유에 대해서는 최대 1 년까지 청구가 가능하며, 연장신청이 불가하다.
        2. 단, 다음의 경우는 근로시간 단축청구를 불허한다
             ①근로자의 근속기간이 6 개월 미만인 경우
             ②대체인력 채용이 불가능한 경우
             ③정상적인 사업운영에 중대한 지장을 초래하는 경우
             ④근로시간 단축청구 종료일로부터 2 년이 지나지 않은 근로자가 신청한 경우
        3.   사용자는 근로자에게 근로시간 단축청구 또는 연장청구와 관련된 서류 제출 및 합리적인 청구 사유를
             요구할 수 있으며, 근로자는 관련된 내용을 제출해야 한다.



       제 4 장 직장 내 질서유지


       제 29 조 【 무단이탈 】
       사원은 회사의 승인 없이 회사를 무단 이탈 또는 결근을 하여서는 안 된다.



       제 30 조 【 사내질서 】
        1. 사원은 사규 및 질서를 지키고 근무 중에 음주, 도박, 기타 등의 문란한 행위를 하여서는 안 된다.
        2. 사원은 사내에서 영리를 목적으로 하는 행위(다단계 판매 등)를 하여서는 안 된다.
        3. 직장 내 업무분위기의 저해를 초래할 우려가 있을 정도의 사원간 금전대차 행위를 하여서는 안 된다.




                                                                                   10
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 176 of 213




       제 31 조 【 출입제한 】
       회사는 다음 각 호의 1 에 해당하는 자는 출입을 제한하여 귀가조치 할 수 있다.
        1. 취기가 있는 자
        2. 흉기, 기타 업무에 필요치 않은 위험물을 소지한 자
        3. 회사의 풍기 및 질서를 문란케 할 우려가 있는 자




       제 5 장 회사시설 등의 관리보전


       제 32 조 【 관리수칙 】
        1. 사원은 회사의 시설, 기계, 기구, 기타 소모품을 아껴서 사용하며 제품을 주의하여 취급하여야 한다.
        2. 사원은 회사의 제반 물품 및 시설에 대한 화재와 도난방지에 유의하여야 한다.
        3. 사원은 회사내의 제반 안전수칙을 준수하고 보건 관리에 적극 협조하여야 한다.




                                                                                11
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 177 of 213




       제 33 조 【 개인사용 】
       사원은 회사의 사전허가 없이 제반 물품 및 시설을 사적으로 사용하여서는 안 된다.



       제 34 조 【 회사보호협력 】
       사원은 재해 및 기타 비상시에 회사보호에 적극 협력해야 한다.




       제 6 장 신고 및 보고


       제 35 조 【 보고의무 】
       사원은 업무현황과 직무상 발생한 사건에 대하여 회사 및 상사에게 보고할 의무가 있다.



       제 36 조 【 신상변동 등 신고 】
       사원은 본적, 주소, 가족사항 및 기타 신상의 변동이 생긴 때에는 즉시 웹오피스에서 변경하고 관련
       서류를 인사팀에 제출해야 한다.



       제 37 조 【 인수인계 】
       사원이 퇴직, 휴직, 인사이동 등으로 인수인계 사유 발생시 인계사원은 담당업무의 서류, 비품, 미결내용
       등의 내용에 대한 인수인계서를 작성하여 인수자에게 인계한다.




       제 7 장 기        타


       제 38 조 【 손해배상 】
       사원이 고의 또는 업무상 중대한 과실로 회사의 유·무형의 재산 손해를 끼쳤을 경우에는 손해배상을
       하여야 한다.




                                                                                12
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 178 of 213




       제 39 조 【 기타 】
        1. 위 복무지침을 위반하여 회사 내의 질서를 문란하게 한 경우 인사위원회에서 징계 결정한다.
        2. 본 지침에서 정하지 아니한 사항에 대해서는 취업규칙을 포함한 관련 인사규정에 따른다.




       부 칙


       제 1 조 【 시행일 】
       이 운영지침은 2007 년 06 월 01 일부터 시행한다.



       제 2 조 【 개정일 】
       1. 이 운영지침은 2008 년 07 월 01 일부터 개정시행한다.
       2. 이 운영지침은 2008 년 10 월 01 일부터 개정시행한다.
       3. 이 운영지침은 2009 년 06 월 01 일부터 개정시행한다.
       4. 이 운영지침은 2010 년 04 월 01 일부터 개정시행한다.
       5. 이 운영지침은 2012 년 08 월 01 일부터 개정시행한다.
       6. 이 운영지침은 2013 년 03 월 28 일부터 개정시행한다.
       7. 이 운영지침은 2014 년 07 월 01 일부터 개정시행한다.
       8. 이 운영지침은 2017 년 01 월 01 일부터 개정시행한다.
       9. 이 운영지침은 2018 년 07 월 01 일부터 개정시행한다.
       10. 이 운영지침은 2019 년 08 월 01 일부터 개정시행한다.
       11. 이 운영지침은 2020 년 11 월 01 일부터 개정시행한다.




                                                                                13
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 179 of 213




                                                                 Sensitive
                                                               보존연한 : 영구보관




                                                                                ㅇ
                  사내 보안 절차서                                                     소
                                                                                갑
                                                                                제
                                                                                ㅇ
                                                                                12
                                                                                ㅇ
                                                                                호
                                                                                증
                                                                                5
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
                Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 180 of 213




                                                                            규     정 번
          분    류                   운영절차서                                                               NXIT_P0101
                                                                            호


          담    당 부        서        넥슨코리아 / 보안정책팀                            적     용 일                  2018-11-12


                                                                            최 종 수 정
          승    인                   정보보호 최고책임자                                                          2020-08-26
                                                                            일



                                                             목            차


       제 1 장 ㅣ 개              요 .......................................................................................................... 1

            제 1 조 【 목적 】.................................................................................................... 1


            제 2 조 【 적용 범위 】 ............................................................................................ 1


       제 2 장 ㅣ 정보보호 조직 ............................................................................................. 1

            제 3 조 【 정보보호 조직 구성 및 역할 】 ................................................................. 1


            제 4 조 【 외부자 보안책임자 지정 】 ........................................................................ 2


       제 3 장 ㅣ 인원 보안 ..................................................................................................... 3

            제 5 조 【 정보보호 서약 】 ...................................................................................... 3

            제 6 조 【 퇴사 및 계약해지 】 ................................................................................. 3
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
                Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 181 of 213




            제 7 조 【 개인정보취급자 지정 】 ............................................................................ 4


            제 8 조 【 직무 분리 】 ............................................................................................ 4


            제 9 조 【 보안 교육 】 ............................................................................................ 4


       제 4 장 ㅣ 물리 보안 ..................................................................................................... 5

            제 10 조 【 구역 구분 】 .......................................................................................... 5


            제 11 조 【 통제구역 보안관리 】 .............................................................................. 5


            제 12 조 【 통제구역 외 보안관리 】 ......................................................................... 6


       제 5 장 ㅣ PC 보안......................................................................................................... 6

            제 13 조 【 PC 지급 】 ............................................................................................ 6


            제 14 조 【 PC 반납 및 파기 】 ................................................................................ 7


            제 15 조 【 PC 기기관리 】 ...................................................................................... 7


            제 16 조 【 소프트웨어 사용 】 ................................................................................. 8


            제 17 조 【 보조 저장매체 사용 】 ............................................................................ 8


       제 6 장 ㅣ 모바일 기기 보안 ....................................................................................... 9

            제 18 조 【 모바일 기기 관리 】 ............................................................................... 9


            제 19 조 【 모바일 앱 사용 통제 】........................................................................... 9


            제 20 조 【 분실 및 도난 】 ..................................................................................... 9


       제 7 장 ㅣ 네트워크 보안 ........................................................................................... 10

            제 21 조 【 메일 및 메신저 보안 】......................................................................... 10
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
                 Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 182 of 213




            제 22 조 【 인터넷 보안 】 ..................................................................................... 11


            제 23 조 【 무선 네트워크 보안 】 .......................................................................... 11


       제 8 장 ㅣ 문서 보안 ................................................................................................... 12

            제 24 조 【 출력ㆍ복사물 보안 】 ............................................................................ 12


            제 25 조 【 데이터 저장 및 열람 】......................................................................... 12


       제 9 장 ㅣ 원격 업무 보안 ......................................................................................... 13

            제 26 조 【 원격 업무 보안 】 ................................................................................ 13


       제 10 장 ㅣ 예외규정 .................................................................................................. 13

            제 27 조 【 예외적용 기준 】 .................................................................................. 13


       부     칙 .............................................................................................................................. 14

            제 1 조 【 시행일 】 .............................................................................................. 14


            제 2 조 【 하위 문서와의 관계 】 ............................................................................ 14
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 183 of 213




       제 1 장 ㅣ 개              요

        제 1 조 【 목적 】

             보안사고를 예방하기 위한 정보보호 활동을 정의하고, 정보보호 조직과 임직원 및


             외부자의 역할과 책임을 정의하는 것을 목적으로 합니다.




        제 2 조 【 적용 범위 】

             사내에 근무하는 모든 임직원(임원, 정직원, 계약 직원, 아르바이트 등 회사에 소속되어


             일정 기간 이상 근무하는 사람) 및 외부자(계약관계에 있는 개발사, 위탁사, 이벤트


             대행사, 외주사 등 외부업체 및 강사, 방문자 등 회사에 소속되지 않은 사람을 포함)와


             업무처리를 위해 이용하는 정보자산, 사무공간 등을 대상으로 합니다.




       제 2 장 ㅣ 정보보호 조직

        제 3 조 【 정보보호 조직 구성 및 역할 】

        1.   정보보호 조직은 다음과 같이 구성합니다. 정보보호 최고책임자, 정보보호 관리자,


             정보보호 주관부서, 부서별 보안책임자, [정보보호 리더협의체]로 구성하여, 사내에서


             근무하는 임직원 및 외부자를 대상으로 정보보호 활동을 수행합니다.


        2.   정보보호    최고책임자는       임원급으로      [대표이사가     직접    지정하거나      이사회를      통해]


             지정해야 하며, 정보보호를 위한 기술적 대책과 법률 대응 등 정보보호 활동에 대한 총괄


                                                                                     1
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 184 of 213




             책임이 있습니다.


        3.   정보보호 관리자는 정보보호 주관부서의 부서장이 되며, 정보보호 계획을 수립하고


             정보보호 업무에 대한 지도 및 감독 등 실무적인 정보보호 활동을 총괄하여 수행합니다.


        4.   [정보보호 주관부서]는 정보보호 최고책임자 및 정보보호 관리자의 지시에 따라 실무적인


             정보보호 활동을 수행합니다.


        5.   부서별 보안책임자는 소속 부서의 부서장이 되며, 부서 내 정보보호 업무를 조정,


             감독하는 역할을 수행합니다.


        6.   [정보보호 리더 협의체는 정보보호 관리자, IT인프라 관리자, 네트워크 관리자, 유관 부서


             관리자, 관계사 정보보호 조직 관리자 등 정보보호 업무와 연관된 관리자로 구성될 수


             있으며, 정보보호 활동에 대한 실무 검토, 협의 및 활동 등의 조정이 필요하면 정보보호


             최고책임자 요청으로 운영할 수 있습니다.]




        제 4 조 【 외부자 보안책임자 지정 】

        1.   외부자는 보안사고 예방 및 대응 활동을 수행하기 위해 보안책임자를 지정하도록 해야


             합니다. 개인사업자이거나 외부자가 소속된 조직에 보안관련 조직이나 담당자가 없는


             경우 외부자 본인을 보안책임자로 지정합니다.


        2.   외부자 보안책임자는 보안 강화를 위해 정보보호 주관부서의 협조 요청 시 지원하여


             개선할 수 있도록 노력해야 합니다.




                                                                                  2
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 185 of 213




       제 3 장 ㅣ 인원 보안

        제 5 조 【 정보보호 서약 】

        1.   임직원은 입사 시 회사 소유의 정보자산 보호를 위해 정보보호 서약서에 서명해야


             합니다.


        2.   외부자와 계약체결 시 정보보호 요구사항과 책임 등을 명시해야 하고, 업무 수행 전


             정보보호 서약서에 서명을 받아 계약을 진행하는 담당부서에서 관리합니다. 만약, 계약


             내용 및 담당자의 변동이 발생하는 경우 담당부서로 알리도록 합니다.


        3.   임직원은 임직원 간 대화나 회의 등으로 얻을 수 있는 회사의 모든 정보를 무단으로


             녹음하거나 촬영해서는 안 됩니다.


        4.   임직원은 회사의 모든 정보를 업무 목적으로만 사용해야 하고, 그 외의 목적으로


             사용하거나 타인에게 제공해서는 안 됩니다.


        제 6 조 【 퇴사 및 계약해지 】

        1.   임직원 퇴직, 관계사 이동, 외부자와의 계약해지 시 정보보호를 위한 조치를 취해야


             합니다.


             1) 사원증, 출입 카드, 지급 장비 등 정보자산 반납


             2) 정보보호 서약서, [파기 확인서] 등 정보보호 관련 문서 서명 확인


             3) 업무 자료 회수


             4) 정보시스템 접근권한 회수, 계정 삭제 또는 비활성화


                                                                                  3
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 186 of 213




        제 7 조 【 개인정보취급자 지정 】

        1.   개인정보취급자는 업무 처리시 필요한 최소한의 인원으로 지정해야 합니다.


        2.   개인정보취급자 등록 시 [개인정보보호 서약서]에 서명합니다.


        제 8 조 【 직무 분리 】

        1.   권한 오남용으로 인한 피해를 줄이기 위해 개발 업무와 운영 업무 등 권한과 책임에


             따라 직무를 분리합니다.


        2.   조직 및 업무 환경상 직무 분리가 어려운 경우 부서별 보안책임자는 권한 오남용을 예방


             할 수 있는 [보안통제 방안]을 마련해야 합니다.


             1) 직무자간의 상호 검토


             2) 상위직책자의 직무 변경내용 검토 및 직무수행 모니터링


             3) 상위직책자의 접근권한 검토 및 승인 등


        제 9 조 【 보안 교육 】

        1.   신규 입사자는 입사 후 정보보호 교육을 이수해야 합니다.


        2.   [직책자는 인사 발령 후 직책자 정보보호 교육을 이수해야 합니다.]


        3.   개인정보취급자는 [관계 법률에 따라 최소 연 1회] 개인정보보호 교육을 이수해야 합니다.


        4.   임직원은 매년 정보보호 교육을 [최소 연 1회] 이수해야 합니다.


        5.   출장, 휴가 등으로 인해 해당 보안 교육 이수가 어려운 경우 차기 교육 또는 전달 교육


             등의 방법으로 보안 교육을 이수해야 합니다.



                                                                                  4
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 187 of 213




       제 4 장 ㅣ 물리 보안

        제 10 조 【 구역 구분 】

        1.   회사의 물리적인 영역은 통제구역, 제한구역, 공용구역으로 구분합니다.


             1) 통제구역: 출입 가능한 인원이 제한된 회사의 기밀 자료와 정보시스템이 밀집한


               구역을 의미합니다.


             2) 제한구역: 임직원 및 승인을 받은 인원이 출입 가능한 구역을 의미합니다.


             3) 공용구역: 통제구역 및 제한구역을 제외한 구역을 의미합니다.


        제 11 조 【 통제구역 보안관리 】

        1.   통제구역의 출입 인원은 항상 최소화해야 하고 출입이 필요할 경우 통제구역 관리담당자


             승인을 받아야 하며, 외부인의 출입이 필요할 경우에는 담당자가 동행해야 합니다.


        2.   통제구역 내 출입이나 정보시스템의 반출입이 필요할 경우 통제구역 관리담당자의


             승인을 받아야 합니다.


        3.   통제구역에 대한 출입 내역 및 정보시스템 반출입 내역을 관리대장에 기록하고 [월1회


             이상] 비정상 행위를 점검합니다.


        4.   통제구역 내 정보시스템에서 보조 저장매체 사용은 제한되어야 하며 업무상 필요할 경우


             통제구역 담당부서의 승인을 받아야 하고, 사용내역을 기록하여 [1개월 이상] 보관하며,


             사용 완료 후 보조 저장매체 내 저장된 데이터를 삭제해야 합니다.


                                                                                  5
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 188 of 213




        5.   출입 통제를 위한 장치와 출입자를 확인하기 위한 영상정보처리기기를 설치 운영합니다.




        제 12 조 【 통제구역 외 보안관리 】

        1.   사내에서는 출입 카드를 항시 패용하고, 타인에게 양도 또는 대여하지 않아야 합니다.


        2.   외부자가 회사에 상주 시 해당 기간만 출입할 수 있는 출입증을 발급하고 출입 보안에


             관한 사항을 전달하여 지킬 수 있도록 안내합니다.


        3.   회사에서 지급한 업무기기 및 정보시스템 등 정보자산을 반출입하는 경우, [부서별


             보안책임자의 승인]을 받아야 합니다.


        4.   회사에서 지급한 모바일 기기나 보조 저장매체, 중요 문서 등은 도난ㆍ분실ㆍ유출ㆍ훼손


             등으로부터 보호될 수 있도록 취급상 주의를 기울이고 도난방지 장치를 사용하거나,


             잠금장치가 있는 곳에 보관합니다.


        5.   정보보호 주관부서는 사무공간의 보안 활동 점검을 시행할 수 있습니다.


        6.   정보시스템 접속을 위한 계정 및 비밀번호 등을 책상이나 PC 등 공개된 장소에 기록해


             두지 않아야 합니다.




       제 5 장 ㅣ PC 보안

        제 13 조 【 PC 지급 】

        1.   업무 목적으로 지급하는 PC는 백신 프로그램을 설치하고 기본적인 보안설정을 적용해야


                                                                                  6
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 189 of 213




             합니다.


        제 14 조 【 PC 반납 및 파기 】

        1.   PC를 반납하거나 저장매체를 교체하는 경우 저장된 데이터를 백업 또는 삭제한 후


             반납합니다.


        2.   저장매체는 [와이핑 등] 복원이 불가능한 방법으로 데이터를 완전히 삭제한 후 재사용할


             수 있습니다. 단, 개인정보취급자가 사용한 PC를 반납하거나 저장매체를 교체하는 경우


             사전에 개인정보 삭제 여부를 [개인정보보호 주관부서로부터 확인을 받아야 합니다.]


        제 15 조 【 PC 기기관리 】

        1.   회사에서 지급하지 않은 개인 PC는 업무 목적으로 사용하지 않아야 합니다. 단, 사용이


             불가피한 경우 회사 정보자산과 동일한 정보보호 정책을 적용할 수 있습니다.


        2.   기밀 정보나 개인정보 등 중요 정보가 포함된 파일은 비밀번호를 설정하거나 암호화하여


             안전하게 관리해야 합니다.


        3.   퇴근 시 또는 장기간 자리를 비우는 경우 전원을 종료해야 합니다. 단, 업무상 전원을


             종료하지 않아야 하는 경우에는 화면 보호기 등을 이용하여 화면을 잠그고, 네트워크


             사용이 불필요할 경우 랜케이블 분리 등 네트워크 차단 조치를 취해야 합니다.


        4.   임직원은 보안 소프트웨어와 정보보호 정책을 임의로 변경하거나 우회하여서는 안 되며,


             기타 어떠한 방법으로도 무력화해서는 안 됩니다. 보안 소프트웨어와 정보보호 정책의


             오류 또는 우회 경로 발견 시 즉시 정보보호 주관부서에 알려야 합니다.



                                                                                  7
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 190 of 213




        5.   비밀번호는 [문자와 숫자, 특수문자 중 2종류 조합 시 최소 10자리 이상 또는 3종류 조합


             시 최소 8자리이상의 길이]로 구성하고 계정과 동일한 비밀번호, 연속되는 숫자나 문자,


             쉽게 유추할 수 있는 생년월일, 전화번호, 이름 등의 비밀번호는 사용하지 않아야 하며


             [최대 6개월] 주기로 변경하고 비밀번호가 유출되지 않도록 관리합니다.


        6.   공유 폴더 및 외부 P2P, 웹하드는 업무상 불가피한 경우를 제외하고는 사용하지 않아야


             합니다.


        제 16 조 【 소프트웨어 사용 】

        1.   업무 시 회사에서 라이선스를 보유하거나 저작권 사용 허락을 받은 소프트웨어만


             사용해야 합니다.


        2.   회사가 소유하고 있는 소프트웨어를 업무 목적 외로 사용하거나 배포해서는 안 됩니다.


        3.   회사에서 구매하지 않은 소프트웨어나 저작권 사용 허락을 받지 않은 소프트웨어, 불법


             복제 소프트웨어를 사용해서는 안 되며, 개인이 직접 구매한 소프트웨어라고 하더라도


             업무 목적으로 사용해서는 안 됩니다.


        4.   소프트웨어    관리부서는      비인가    소프트웨어      설치   여부를    점검하여     삭제    조치하고,


             필요하면 구매 후 사용할 수 있도록 합니다.


        제 17 조 【 보조 저장매체 사용 】

        1.   회사에서 지급한 보조 저장매체 사용 시 악성코드가 유포되지 않도록, 보조 저장매체


             자동 실행 기능 해지, 보조 저장매체 내 파일 이용 시 악성코드 검사, 업무 목적이 완료된



                                                                                  8
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 191 of 213




             경우 보조 저장매체 내 관련 데이터 삭제 또는 포맷을 해야 합니다.


        2.   개인 소유의 보조 저장매체는 개인정보 처리를 위해 사용할 수 없습니다.




       제 6 장 ㅣ 모바일 기기 보안

        제 18 조 【 모바일 기기 관리 】

        1.   회사에서 지급한 모바일 기기 또는 회사 메일을 연동한 개인 모바일 기기는 비밀번호


             설정 또는 잠금 화면을 설정하여 회사의 정보가 유출되지 않도록 관리합니다.


        2.   업무목적을 벗어나 탈옥(Jailbreak) 또는 루팅(Rooting)과 같은 모바일 기기의 플랫폼


             구조를 임의로 변경하지 말아야 하며, 업무목적으로 설정을 임의로 변경한 모바일


             기기에는 회사의 중요정보를 저장하지 않아야 합니다.


        제 19 조 【 모바일 앱 사용 통제 】

        1.   모바일 앱은 신뢰하는 사이트에서 다운받아 설치하고, 출처를 알 수 없는 모바일 앱은


             설치하지 않아야 합니다.


        2.   업무 목적으로 사용하는 모바일 기기는 외부에서 다운받은 모바일 앱을 직접 사용하는


             경우, 사전에 [백신 프로그램을 이용하여] 점검한 뒤 사용해야 합니다


        제 20 조 【 분실 및 도난 】

        1.   회사의 메일을 연동한 모바일 기기를 분실하거나 도난 당했을 시 [아래와 같은 방법을


             통해 모바일 기기를 초기화하고,] 회사 메일의 비밀번호를 변경해야 합니다.


                                                                                  9
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 192 of 213




             1) 운영체제(OS)에서 제공하는 원격 초기화 기능


             2) 단말기 제조사에서 제공하는 초기화 기능


             3) 사내 메일에서 제공하는 OWA를 이용한 초기화 기능




       제 7 장 ㅣ 네트워크 보안

        제 21 조 【 메일 및 메신저 보안 】

        1.   임직원은 회사에서 제공한 메일 시스템과 메신저를 사용해야 합니다. 단, 업무 특성상


             외부 메일 시스템 또는 외부 메신저의 사용이 필요한 경우, [전자결재, NCSR 등] 승인 및


             처리 내역을 체계적으로 관리할 수 있는 시스템을 이용하고 [부서별 보안책임자와


             정보보호 주관부서]의 검토를 받아야 합니다.


        2.   메일 시스템과 메신저를 이용하여 기밀정보 또는 중요정보를 전송하는 것은 제한되어야


             하며, 업무상 전달이 불가피한 경우 파일에 비밀번호를 설정하여 전달하고 비밀번호는


             수신자에게 전화나 문자 등 다른 채널을 통해 전달합니다.


        3.   기밀정보 또는 중요정보를 전송하는 경우 수신자가 정확한지 재확인하여 오발송되지


             않도록 주의해야 합니다. 만약 오발송이 확인 된 경우 아래와 같이 조치를 해야 합니다.


             1) 메일 회수 기능을 이용하여 오발송 된 메일을 회수


             2) 수신자를 확인하여 삭제할 수 있도록 요청


        4.   출처가 불분명한 메일이나 스팸 메일을 수신한 경우 열람하지 말고 정보보호 주관부서로



                                                                                  10
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 193 of 213




             신고합니다.


        제 22 조 【 인터넷 보안 】

        1.   업무와 관련되지 않은 음란, 도박 등 불법 사이트는 접속하지 않아야 하고, 보안이


             취약하거나 정보유출의 위험이 있는 사이트는 접속이 차단될 수 있습니다.


        2.   접속이 차단된 사이트 중 업무 목적상 접근이 필요한 경우, [전자결재, NCSR 등] 승인 및


             처리 내역을 체계적으로 관리할 수 있는 시스템을 이용하고 [부서별 보안책임자와


             정보보호 주관부서]의 검토를 받아야 합니다.


        3.   회사 네트워크를 통해 불법 음원, 동영상, 게임, 화보 등 법률에서 금지하는 불법 콘텐츠,


             저작물 등에 대한 다운로드ㆍ업로드 및 유통, 배포 등의 행위를 해서는 안 됩니다.


        4.   외부 공개 사이트의 게시판이나 SNS 등에 회사에 불이익을 주는 내용을 게시하지 않아야


             합니다.


        제 23 조 【 무선 네트워크 보안 】

        1.   사내 무선 네트워크는 회사에서 제공한 것 만을 사용해야 하고, 신뢰할 수 없는 무선


             네트워크는 사용하지 않아야 합니다.


        2.   무선 네트워크는 [WPA2] 등 안전한 보안 프로토콜과 사용자 인증 기능 등을 사용하여


             비인가자가 접근할 수 없도록 해야 합니다.


        3.   개발용 무선망과 같이 사내 시스템으로의 접근이 가능한 중요 무선 네트워크는 추가


             인증수단을 적용하고 업무목적으로 사전에 등록된 모바일 기기만 접근을 허용해야



                                                                                  11
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 194 of 213




             합니다.




       제 8 장 ㅣ 문서 보안

        제 24 조 【 출력ㆍ복사물 보안 】

        1.   중요정보가 포함된 출력ㆍ복사물은 최소화하고 사용 후 복구할 수 없는 방법으로 즉시


             파기하거나 문서 파쇄함을 이용합니다.


        2.   출력ㆍ복사물의 관리와 책임을 위해 [출력물에 사번, 일시, 일련번호 등을 표기하고],


             출력ㆍ복사 시 방치하지 말고 즉시 회수하여 분실을 예방합니다.


        3.   중요 문서의 FAX 전송 후 즉시 수신인에게 수신 확인을 요청합니다.


        4.   중요 문서의 출력ㆍ복사물 무단 배포는 원칙적으로 금합니다.


        5.   중요 문서 인쇄물의 원본 혹은 사본을 전달하는 경우 전달자가 내용을 알 수 없도록


             봉인하여 전달합니다.


        제 25 조 【 데이터 저장 및 열람 】

        1.   회사는 중요자산과 영업비밀 보호를 위해 임직원이 정보시스템을 통해 사용하거나 그


             과정에서 생성된 정보를 기록 및 보관할 수 있습니다.


        2.   회사는 저장한 데이터의 안전한 보관 및 비인가자의 열람을 방지하기 위해 적절한


             관리적/기술적 보호조치를 해야 합니다.




                                                                                  12
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
              Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 195 of 213




       제 9 장 ㅣ 원격 업무 보안

        제 26 조 【 원격 업무 보안 】

        1.   재택근무 등 회사 외부에서 원격으로 업무를 수행할 경우 [부서별 보안책임자]의 승인을


             받아 VPN 등 안전한 방법으로 정보시스템에 접근해야 합니다.


        2.   원격 업무 시 아래 유형의 단말기만 사용해야 합니다.


             1) 회사에서 지급한 PC와 모바일 기기


             2) 백신 프로그램 설치 등 보안 기능을 설정한 개인 PC와 모바일 기기


        3.   개인 PC와 모바일 기기에 회사의 중요정보를 저장해서는 안 됩니다. 단, 업무상 필요할


             경우 중요정보가 포함된 파일은 암호를 설정하고 업무 종료 후 복구 또는 재생이


             불가능한 방법으로 파기해야 합니다.


        4.   회사에서 제공하는 메신저, PC 원격 프로그램 등 안전한 소프트웨어만 사용해야 합니다.


        5.   신뢰할 수 없는 외부의 공용 네트워크 사용하여 회사의 정보시스템에 접근하지 않습니다.


        6.   개인용 무선 네트워크는 [WPA2] 등 안전한 보안 프로토콜과 사용자 인증 기능 등을


             사용하여 비인가자가 접근할 수 없도록 해야 합니다.




       제 10 장 ㅣ 예외규정

        제 27 조 【 예외적용 기준 】

        1.   본 절차서의 기준 적용에 있어 예외적용이 필요할 경우 아래 항목을 기준으로 [정보보호


                                                                                  13
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 196 of 213




             주관부서]의 검토 후 예외적용이 가능합니다.


             1) 해당 기준을 적용할 경우 서비스 운영에 영향성이 지대하거나 기술적으로 적용이


                어려울 경우


             2) 본 절차서 상에서 관련 기준 및 내용을 정의하지 않고 있는 경우


       부       칙

        제 1 조 【 시행일 】

             이 절차서는 2018 년 11 월 12 일부터 시행합니다.


             이 절차서는 2020 년 6 월 9 일부터 개정 시행합니다.


             이 절차서는 2020 년 8 월 26 일부터 개정 시행합니다.


        제 2 조 【 하위 문서와의 관계 】

        1.   세부사항이 별도로 정해져 있지 않은 경우 정보보호 관련 법률 등의 기준을 따릅니다.


        2.   본 절차서에서 정하지 않은 세부사항은 가이드라인 및 관련 문서 등을 따릅니다.




                                                                                   14
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.05.01 17:47, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 197 of 213




                                                                                ㅇ

                                                                                소
                                                                                갑
                                                                                0


                                                                                제
                                                                                ㅇ

                                                                                47
                                                                                ㅇ

                                                                                호
                                                                                증
                                                                                의
                                                                                0

                                                                                2
                                                                                ㅇ
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.05.01 17:47, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 198 of 213




                                                                                ㅇ

                                                                                소
                                                                                갑
                                                                                0


                                                                                제
                                                                                ㅇ

                                                                                47
                                                                                ㅇ

                                                                                호
                                                                                증
                                                                                의
                                                                                0

                                                                                1
                                                                                ㅇ
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 199 of 213




                                                                                ㅇ
                                                                                소
                                                                                갑
                                                                                제
                                                                                ㅇ
                                                                                20
                                                                                ㅇ
                                                                                호
                                                                                증
                                                                                1
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 200 of 213
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 201 of 213




                                                                                ㅇ
                                                                                소
                                                                                갑
                                                                                제
                                                                                ㅇ
                                                                                20
                                                                                ㅇ
                                                                                호
                                                                                증
                                                                                2
개인정보유출주의 제출자:은현호,박민정,손천우,김원,주진석,이수용, 제출일시:2023.04.14 17:15, 출력자:신동환, 다운로드일시:2023
            Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 202 of 213
Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 203 of 213




                 EXHIBIT 4
                   Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 204 of 213
      Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee,
                        at 5:15PM on Apr 14, 2023; Printed out by Dong Hwan Shin; Downloaded at [time and date cut off], 2023




                                                     Annual Salary Contract
Nexon Korea Corporation (hereinafter referred to as the “Company”) and Ju Hyun Choi (hereinafter referred to as the “Worker”) enter
into an annual salary contract as set out hereunder.

Section 1（Obligation to Maintain Salary Confidentiality）
 (1)    The Worker shall not disclose or divulge to a third party any information related to the annual salary set out in the contract.
 (2)    The Company may take measures such as salary reduction or dismissal in accordance with the internal disciplinary regulations
        of the company if the Worker discloses or leaks the information about the annual salary, and the Worker affirms that he or she
        shall not raise any objection about the disposition of the Company.

Section 2 (Salary Contract Period)
The annual salary payment application period of this annual salary contract is unless otherwise agreed in writing between the
Company and the employee.




                                                                                                                                           Plaintiff’s Exhibit 20-2
Valid from January 01, 2021, to December 31, 2021.


Article 3 (Annual Salary）
(1) The annual and basic salary of the Worker shall be as follows, and the components of the total annual salary, and the like,
shall be organized as shown in the following table.

                       Category                                  Amount                                    Remark

                                                  [REDACTED]                                [REDACTED]
                  Total annual salary

                                                  [REDACTED]                                [REDACTED]
                       Base Pay




(2) The Worker bears all taxes on the earned income above.
(3) Compensation from the 1st to the last day of each month is remitted to the account of the Worker on the 24th of the current month.
(4) If there is any undue gain due to attendance (absence) identified after the salary payment, it is deducted from the next month's salary.
(5) If the Worker does not work until the end of the month after the pay date, the amount of unworked work must be returned to the
    Company on a prorated basis.
(6) Severance pay is paid separately from the annual salary only for those who have worked for more than one (1) year, and its detailed
    regulations follow the Company regulations.

Section 4 (Benefits)
 (1)    Benefits such as vacation support for long-term service may be paid separately from the annual salary according to the
        Company's policy, and details are determined separately by the Company.
 (2)    Welfare benefits under Paragraph ® may be subject to change in payment status, time, content, etc. as determined separately
        by the Company.

Section 5 (Obligation to Comply with Trade Secrets, etc.)
 (1)    The Worker shall not disclose confidential information of the Company obtained during employment to a third party, not only
        during employment but also after departure from the Company.
 (2)    The Worker shall not bring trade secrets of any third party into the Company without the permission of the rights holder or take
        trade secrets of the Company out of the Company without the permission of the rights holder.
 (3)    The Worker shall not work in the same or similar industry that may infringe trade secrets for one (1) year after retirement
        without the prior consent of the Company.
        The Worker recognizes that the Worker shall bear all civil and criminal responsibilities to the Company or a third party in
        accordance with the Act on Prevention of Unfair Competition and Protection of Trade Secrets and the relevant laws and



                                                          For Viewing Only
        regulations.




                                               Plaintiff’s Exhibit 20-2
                Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 205 of 213




Section 6 (Termination of this Contract)
The Company may terminate this contract or refuse to renew the contract with 30 days’ prior notice if the Worker falls under any of the
following cases.
 (1)    In case of violating the obligations of Section 5
 (2)    In case the work, etc., submitted by the employee when applying for a job infringes the copyright of another person or the trade
        secret of another Company
 (3)    In case it is determined that the employee's performance is remarkably poor due to negligence in doing work, etc.
 (4)    In case the Worker engages in a misconduct in relation to work or receives dishonest money, etc.
 (5)    In case false information about education, career, etc., is found
 (6)    In case it is determined that the Worker is unable to faithfully perform his/her obligations under this Contract due to illness or
        other reasons
 (7)    In case of violating of other internal regulations of the Company


Section 7 (Miscellaneous)
 (1)    Matters not stipulated in this Contract shall be governed by relevant laws and decrees, Company regulations, etc., and if not
        otherwise stipulated, they shall be determined through mutual consultation.
 (2)    If there is a need to change the content of this Contract, the Company and the employee shall, in principle, reach agreement in
        writing to make changes.
 (3)    Both Parties pledge to faithfully abide by this contract, and the signed or seal-affixed contract is kept by the human resources
        team of the Company.
 (4)    In principle, if there is a difference of opinion between the Parties relating to this Agreement, it shall be dealt with through
        mutual agreement, but if the Parties fail to reach an amicable agreement in resolving the dispute, the competent court of
        jurisdiction shall be the Seoul Central District Court.
 (5)    This Contract becomes effective with the signatures placed or seals affixed by the Company and the Worker.




                         For Viewing Only
                                                                Jan. 1, 2021



The Company                                                         The Worker
Nexon Korea Corporation
                                                                    Date of Birth: Jan. 19, 1984
CEO: Jeong Heon Lee                                                 Name : Ju Hyun Choi

 [Round seal affixed: CEO, Nexon Korea corporation]


                                      I confirm that I have received this written document.          (seal)


                                                Plaintiff’s Exhibit 20-2
                                                                                             [“Ju Hyun Choi” is handwritten 4 times above]
           Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 206 of 213


                      CERTIFICATION OF TRANSLATION
                                                      and
                                          DECLARATION

State of California            )
                               )        S. S.
Los Angeles County             )


                I, Soomi Ko, the undersigned, declare that I am a duly certified Korean Court Interpreter
approved by the United States District Courts, certified by the State of California and the Los Angeles
County Superior Courts, with competent knowledge of Korean and English, and that I have truthfully and
correctly translated the document listed below re: Nexon Korea Corporation v. Ironmace Co., Ltd., et al.,
Case No. 2:23-cv-00576-MLP (W.D. Wash.) from Korean to English and that the said translation is, to
the best of my knowledge and belief, a true and correct translation. I further declare that I am neither
counsel for, related to, nor employed by any of the parties, and that I have no financial or other interest in
the outcome of any action related to this translation. I declare that the foregoing is true and correct.


                                   Description of Translated Documents

                                            Annual Salary Contract




Executed on June 14, 2023



Soomi Ko
California State Certified Court Interpreter
#300732
(213) 999-7848(Cell)
soomi@komartin.com
www.komartin.com



                             Ko & Martin Certified Interpreters and Translators
                                Specializing in Korean and Chinese Languages




                 KO & MARTIN Certified Interpreters and Translators www.komartin.com (213) 999-7848
Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 207 of 213




                 EXHIBIT 5
               Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 208 of 213
Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee,
                  at 5:47PM on Apr 10, 2023; Printed out by Dong Hwan Shin; Downloaded at [time and date cut off], 2023



       Confirmation of Rights Regarding Work-Related Intellectual Property

  Nexon Korea Corporation (hereinafter referred to as “Party A”) and Ju Hyun Choi (hereinafter referred to as “Party B”) enter into the
  following agreement in connection with the affirmation of the rights of business-related intellectual property.
               .

                                                                  AS FOLLOWS:

         Section 1 (Purpose)
         In relation to the creation of intellectual property, such as works of authorship, developments, demonstrations, inventions,




                                                                                                                                                  Plaintiff’s Exhibit 47-2
         and the like, that occur during the course of Party B’s employment with Party A, the purpose of this Agreement is to clarify
         the relationship between the rights of Party A and Party B in this regard.

         Section 2 (Definition of Terms)
               1. “Job Invention” means an invention made by an employee of the Party A while working as an employee of the
                    Party A in a field related to his/her work, and in connection with his/her work Inventions.
               2. "Work Product" means the result of any song lyrics writing, song composing, song arranging, performing, writing,
                      editing, designing, or any other creative activity that occurs while Party B is an employee of Party A and in the
                      course of Party B's conducting work as an employee.

         Section 3 (Automatic Succession of Inventions, etc., and Confirmation of Rights to Works)
               1. In the event of a Job Invention, etc., performed by Party B after joining the company, the right to be registered as
                       an intellectual property right in Korea or abroad for such Job Invention shall be deemed to be automatically
                       transferred to Party A at the same time as the invention, etc., is made.
               2.      However, if Party B has jointly invented an invention with a third party, the right to be registered as an intellectual
                       property right in Korea or abroad for the Job Invention that Party B has shall be deemed to be automatically succeeded
                       to Party A at the same time as the invention, etc., is made.
               3.      The parties affirm that intellectual property rights (including the right to create secondary works, the right to create
                       editorial works, and the right of work contiguity) in the Work Product created by Party B in the course of performing
                       his/her duties after joining the Company shall natively occur and belong to Party A in accordance with Article 9 of the
                       current Copyright Act.

         Section 4 (Rights and Obligations)
               1. If Party A inherits the rights in the preceding Section 1 from the Party A, it may provide a predetermined compensation to
                     Party B as stipulated in the bylaws of the Company.
               2. After this Agreement is concluded, if an invention, etc., is made in the course of duty and then a reason such as a change
                       of employment, etc., occurs to Party B, Party B may not use or recreate, outside of the Company, i.e., Party A, the same
                       or similar content as the invention, etc., inherited by Party A.
                   3. Party B shall notify Party A, in writing, of all inventions made by Party B during the continuation of the employment
                       relationship, and Party A shall be obligated to confirm it without delay.
                   4. After the execution of this Agreement, Party B shall not be entitled to assert any other rights in the subject Job Invention.

         Section 5 (Miscellaneous)
               1. Any matters not set forth in this Agreement and any disagreement between the Parties as to the interpretation of this
                    Agreement shall be resolved in accordance with general customary commercial practice.
               2. In the event of a dispute relating to this Agreement that cannot be resolved through consultation between the parties, the
                    Seoul Central District Court shall have exclusive jurisdiction of competence for the first instance.
               3. The Parties shall comply with this Agreement in good faith and in accordance with the principles of good faith, and this
                    Agreement shall be kept by the human resources team of Party A.

                                                                                                            April 13, 2018


  Party A                                                                              Party B
  Nexon Korea Corporation
  7, Pangyo-ro 256beon-gil, Bundang-gu, Seongnam-si, Gyeonggi-do                       Date of birth: Jan. 19, 1984
  CEO Jeong Heon Lee           (Seal)                                                  Name: Ju Hyun Choi                        (Seal)
  [Round seal affixed: CEO, Nexon Korea Corporation]                                           [signed] /s/ Ju Hyun Choi




                                                        Plaintiff’s Exhibit 47-2
           Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 209 of 213


                      CERTIFICATION OF TRANSLATION
                                                      and
                                          DECLARATION

State of California            )
                               )        S. S.
Los Angeles County             )


                I, Soomi Ko, the undersigned, declare that I am a duly certified Korean Court Interpreter
approved by the United States District Courts, certified by the State of California and the Los Angeles
County Superior Courts, with competent knowledge of Korean and English, and that I have truthfully and
correctly translated the document listed below re: Nexon Korea Corporation v. Ironmace Co., Ltd., et al.,
Case No. 2:23-cv-00576-MLP (W.D. Wash.) from Korean to English and that the said translation is, to
the best of my knowledge and belief, a true and correct translation. I further declare that I am neither
counsel for, related to, nor employed by any of the parties, and that I have no financial or other interest in
the outcome of any action related to this translation. I declare that the foregoing is true and correct.


                                   Description of Translated Documents

                  Confirmation of Rights Regarding Work-Related Intellectual Property
                between Nexon Korea Corporation and Ju Hyun Choi dated April 13, 2018



Executed on June 14, 2023



Soomi Ko
California State Certified Court Interpreter
#300732
(213) 999-7848(Cell)
soomi@komartin.com
www.komartin.com



                             Ko & Martin Certified Interpreters and Translators
                                Specializing in Korean and Chinese Languages




                 KO & MARTIN Certified Interpreters and Translators www.komartin.com (213) 999-7848
Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 210 of 213




                 EXHIBIT 6
                    Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 211 of 213
                Beware of personal information leaks; Submitted by Hyeon Ho Eun, Min Jeong Park, Cheon Woo Son, Won Kim, Jin Seok Ju, and Soo Yong Lee,
                                 at 5:47PM on Apr 10, 2023; Printed out by Dong Hwan Shin; Downloaded at [time and date cut off], 2023




            Confirmation of Rights Regarding Work-Related Intellectual Property
Nexon Korea Corporation (hereinafter referred to as “Party A”) and Seungha Park (hereinafter referred to as “Party B”) enter into the following
agreement in connection with the affirmation of the rights of business-related intellectual property.

                                                                      AS FOLLOWS:
Section 1 (Purpose)
In relation to the creation of intellectual property, such as works of authorship, developments, demonstrations, inventions, and the like, that occur
during the course of Party B’s employment with Party A, the purpose of this Agreement is to clarify the relationship between the rights of Party A and
Party B in this regard.

Section 2 (Definitions of Terms)
      1. “Job Invention” means an invention made by an employee of the Party A while working as an employee of the Party A in a field related
           to his/her work, and in connection with his/her work Inventions.
      2. “Work Product” means the result of any song lyrics writing, song composing, song arranging, performing, writing, editing, designing,
           or any other creative activity that occurs while Party B is an employee of Party A and in the course of Party B's conducting work as an
           employee.




                                                                                                                                                          Plaintiff’s Exhibit 47-1
Section 3 (Automatic Succession to Inventions and Confirmation of Rights in Work Product)
      1. In the event of a Job Invention, etc., performed by Party B after joining the company, the right to be registered as an intellectual
           property right in Korea or abroad for such Job Invention shall be deemed to be automatically transferred to Party A at the same time as
           the invention, etc., is made.
      2. However, if Party B has jointly invented an invention with a third party, the right to be registered as an intellectual property right in
           Korea or abroad for the Job Invention that Party B has shall be deemed to be automatically succeeded to Party A at the same time as the
           invention, etc., is made.
      3. The parties affirm that intellectual property rights (including the right to create secondary works, the right to create editorial works, and
           the right of work contiguity) in the Work Product created by Party B in the course of performing his/her duties after joining the
           Company shall natively occur and belong to Party A in accordance with Article 9 of the current Copyright Act.

Section 4 (Rights and Obligations)
      1. If Party A inherits the rights in the preceding Section 1 from the Party A, it may provide a predetermined compensation to Party B as
           stipulated in the bylaws of the Company.
      2. After this Agreement is executed, if an invention, etc., is made in the course of duty and then a reason such as a change of employment,
           etc., occurs to Party B, Party B may not use or recreate, outside of the Company, i.e., Party A, the same or similar content as the
           invention, etc., inherited by Party A.
      3. Party B shall notify Party A, in writing, of all inventions made by Party B during the continuation of the employment relationship, and
           Party A shall be obligated to confirm it without delay.
      4. After the execution of this Agreement, Party B shall not be entitled to assert any other rights in the subject Job Invention.

Section 5 (Miscellaneous)
                                                                              FOR VIEWING ONLY
      1. Any matters not set forth in this Agreement and any disagreement between the Parties as to the interpretation of this Agreement shall
           be resolved in accordance with general customary commercial practice.
      2. In the event of a dispute relating to this Agreement that cannot be resolved through consultation between the parties, the Seoul Central
           District Court shall have exclusive jurisdiction of competence for the first instance by agreement.
      3. The Parties shall comply with this Agreement in good faith and in accordance with the principles of good faith, and this Agreement
           shall be kept by the human resources team of Party A.
                                                                                            April 13, 2018

Party A                                                                                  Party B
Nexon Korea Corporation
7, Pangyo-ro 256beon-gil, Bundang-gu, Seongnam-si, Gyeonggi-do                           Date of birth: Nov. 1, 1978
CEO Jeong Heon Lee           (Seal)                                                      Name: Seungha Park                           (Seal)
[Round seal affixed: CEO, Nexon Korea Corporation]


                                                       Plaintiff's Exhibit 47-1
           Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 212 of 213


                      CERTIFICATION OF TRANSLATION
                                                      and
                                          DECLARATION

State of California            )
                               )        S. S.
Los Angeles County             )


                I, Soomi Ko, the undersigned, declare that I am a duly certified Korean Court Interpreter
approved by the United States District Courts, certified by the State of California and the Los Angeles
County Superior Courts, with competent knowledge of Korean and English, and that I have truthfully and
correctly translated the document listed below re: Nexon Korea Corporation v. Ironmace Co., Ltd., et al.,
Case No. 2:23-cv-00576-MLP (W.D. Wash.) from Korean to English and that the said translation is, to
the best of my knowledge and belief, a true and correct translation. I further declare that I am neither
counsel for, related to, nor employed by any of the parties, and that I have no financial or other interest in
the outcome of any action related to this translation. I declare that the foregoing is true and correct.


                                   Description of Translated Documents

                  Confirmation of Rights Regarding Work-Related Intellectual Property
                between Nexon Korea Corporation and Seungha Park dated April 13, 2018



Executed on June 14, 2023



Soomi Ko
California State Certified Court Interpreter
#300732
(213) 999-7848(Cell)
soomi@komartin.com
www.komartin.com



                             Ko & Martin Certified Interpreters and Translators
                                Specializing in Korean and Chinese Languages




                 KO & MARTIN Certified Interpreters and Translators www.komartin.com (213) 999-7848
           Case 2:23-cv-00576-MLP Document 31 Filed 06/22/23 Page 213 of 213



 1                                    CERTIFICATE OF SERVICE
 2            I hereby declare under penalty of perjury under the laws of the United States of
 3   America that on this date, the foregoing document was filed electronically with the Court and
 4   thus served simultaneously upon all counsel of record.
 5            I declare under penalty of perjury that the foregoing is true and correct.
 6            EXECUTED on June 22, 2023.
 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
                                                                          GREENBERG GLUSKER FIELDS
      CERTIFICATE OF SERVICE                                              CLAMAN & MACHTINGER LLP
      No. 2:23-CV-00576-MLP                                              2049 Century Park East, Suite 2600
                                                                           Los Angeles, California 90067
                                                                                  (310) 553-3610

     43223-00002/4846046.10
